Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 1 of 161 Page ID #:78




                Exhibit A

                                       1                             Exhibit A - 001
    Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 2 of 161 Page ID #:79




V   ProSight ®
•..(. Specialty Insurance

         October 1, 2019



          Via E-mail
         and U.S. Mail
         Amber Heard
         do Macias, Gini & O'Connell
         Attn: John Blakeman
         2029 Century Park East, #1500
         Los Angeles, CA 90067
         jblakernan@mgocpa.corn


         Re:      John C. Depp, II v. Amber Laura Heard
                  Circuit Court of Fairfax County, Virginia, Civil Action No. 2019 02911
                  Insureds:      Under the Black Sky, Inc.; Amber Heard, an individual
                  Insurer:       New York Marine and General Insurance Company
                  Policy No.: GL201800012500 eff. 7/18/2018 - 7/18/2019
                  Our File No.: LAX00177770

         Dear Ms. Heard:

         We are writing to advise you of New York Marine and General Insurance Company's
         determination of its potential obligation to provide coverage to you for defense and any
         potential liability arising out of the lawsuit referenced above. Based on our review of your
         insurance policy, the allegations at issue in the lawsuit and the facts of which we have been
         informed, New York Marine has determined that it will provide you with a legal defense
         under a reservation of rights. This defense will be effective as of September 4, 2019, the
         date this matter was first tendered to New York Marine.

         In providing your legal defense, we do not waive any rights under your policies or
         otherwise, all of which rights are reserved.

         Notwithstanding that New York Marine has determined that it will provide a legal defense
         to you, to the extent that California law does not permit an insurer to indemnify the insured,
         no indemnity can be provided.

         We have assigned defense counsel to represent and defend you in this
         matter. The assigned defense counsel is Cameron McEvoy, PLLC, 4100 Monument
         Corner Drive, #420, Fairfax, VA 22030 I Tel.: 703-273-8898 I Website:


               412 Mt. Kemble Ave., Suite 300C, Morristown, NJ 07960 W 800-774-2755 F 855-200-1158
                                                            2                                        Exhibit A - 002
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 3 of 161 Page ID #:80

     Amber Heard
     c/o Macias, Gini & O'Connell
     October 1, 2019
     Page 2 of 11



     http://www.cameronmcevoy.com. We ask you to cooperate fully with your attorneys in
     defending against the lawsuit.

     I have summarized and discussed below the allegations in the Complaint, however, we
     understand that the allegations may be incomplete, embellished, or untrue. We do not
     conclude that any allegation is true, and no statement in this letter shall be construed
     otherwise.

                                         THE COMPLAINT

     The Complaint alleges generally as follows: On December 18, 2018, you published an op-
     ed in the Washington Post in which you purported to write from the perspective of a public
     figure representing domestic abuse. You published another op-ed on December 19, 2018
     in the hardcopy edition of the Washington Post which contained similar implications. You
     also tweeted a link of the op-ed on December 19, 2018. Although the Plaintiff was not
     mentioned by name in the op-ed, the op-ed was about the Plaintiff, your former husband.
     You allegedly publicly accused the Plaintiff of domestic abuse occurring in 2016, which
     the Plaintiff denies. The Plaintiff alleges the 2016 allegations as well as the op-ed were part
     of an elaborate hoax to generate positive publicity you to advance your career. The Plaintiff
     alleges your actions were malicious, willful, and wanton. The also Plaintiff alleges your
     false implications in the op-ed prejudiced the Plaintiff in his career as a film actor and
     damaged his reputation as a public figure. The Plaintiffs seeks damages under three (3)
     causes of action, or Counts:

            Count One:      Defamation for statements in your December 18, 2018 op-ed in the
                            online edition of the Washington Post

            Count Two:      Defamation for statements in your December 19, 2018 op-ed in the
                            print edition of the Washington Post

            Count Three: Defamation for statements in your op-ed which you republished by
                         tweeting a link to the op-ed on December 19, 2018

     The Plaintiff requests that the Court enter an award against you for compensatory damages
     of not less than $50,000,000, for punitive damages no less than $50,000, for expenses and
     costs, including attorneys' fees, and for such other and further relief as the Court deems
     appropriate.

                                            THE POLICY

     New York Marine issued policy number GL201800012500 to Under the Black Sky, Inc.,
     for the policy period July 18, 2018 through July 18, 2019. Per a Named Insured Extension



                                                   3                                        Exhibit A - 003
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 4 of 161 Page ID #:81

     Amber Heard
     c/o Macias, Gini & O'Connell
     October 1, 2019
     Page 3 of 11



     Schedule, you are a named insured under the policy. The policy provides Commercial
     General Liability Coverage subject to limits of $1,000,000 Each Occurrence, $1,000,000
     Personal & Advertising Injury, $1,000,000 General Aggregate, and $1,000,000
     Products/Completed Operations Aggregate. The policy also provides Comprehensive
     Personal Liability Coverage subject to limits of $1,000,000 Each Occurrence for Personal
     Liability.

     The Commercial General Liability Coverage part provides, in pertinent part, as follows:

            SECTION I - COVERAGES
            COVERAGE A BODILY INJURY AND PROPERTY DAMAGE
            LIABILITY

            1. Insuring Agreement

                a. We will pay those sums that the insured becomes legally obligated to pay
                   as damages because of "bodily injury" or "property damage" to which
                   this insurance applies. We will have the right and duty to defend the
                   insured against any "suit" seeking those damages. However, we will have
                   no duty to defend the insured against any "suit" seeking damages for
                   "bodily injury" or "property damage" to which this insurance does not
                   apply. We may, at our discretion, investigate any "occurrence" and settle
                   any claim or "suit" that may result. But:

                   (1) The amount we will pay for damages is limited as described in
                       Section III - Limits Of Insurance; and

                   (2) Our right and duty to defend end when we have used up the
                       applicable limit of insurance in the payment of judgments or
                       settlements under Coverages A or B or medical expenses under
                       Coverage C.

                   No other obligation or liability to pay sums or perform acts or services
                   is covered unless explicitly provided for under Supplementary
                   Payments - Coverages A and B.

               b. This insurance applies to "bodily injury" and "property damage" only if:

                   (1) The "bodily injury" or "property damage" is caused by an "occurrence"
                       that takes place in the "coverage territory";

                   (2) The "bodily injury" or "property damage" occurs during the policy
                       period; and



                                                4                                      Exhibit A - 004
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 5 of 161 Page ID #:82

     Amber Heard
     c/o Macias, Gini & O'Connell
     October 1, 2019
     Page 4 of 11




                                                    ***



            COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY

            1. Insuring Agreement

                    a. We will pay those sums that the insured becomes legally obligated to pay
                       as damages because of "personal and advertising injury" to which this
                       insurance applies. We will have the right and duty to defend the insured
                       against any "suit" seeking those damages. However, we will have no duty
                       to defend the insured against any "suit" seeking damages for "personal and
                       advertising injury" to which this insurance does not apply. We may, at our
                       discretion, investigate any offense and settle any claim or "suit" that may
                       result. But:

                        (1) The amount we will pay for damages is limited as described in Section
                            III - Limits Of Insurance; and

                        (2) Our right and duty to defend end when we have used up the applicable
                            limit of insurance in the payment of judgments or settlements under
                            Coverages A or B or medical expenses under Coverage C.

                        No other obligation or liability to pay sums or perform acts or services is
                        covered unless explicitly provided for under Supplementary Payments —
                        Coverages A and B.

                    b. This insurance applies to "personal and advertising injury" caused by an
                       offense arising out of your business but only if the offense was committed
                       in the "coverage territory" during the policy period.


     Pursuant to Section II — "Who Is An Insured", the policy provides, in pertinent part:

            SECTION II - WHO IS AN INSURED

            1. If you are designated in the Declarations as:

                    a. An individual, you and your spouse are insureds, but only with respect to
                       the conduct of a business of which you are the sole owner.

            •   •   •




     The policy also contains the following relevant definitions:




                                                     5                                     Exhibit A - 005
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 6 of 161 Page ID #:83

     Amber Heard
     c/o Macias, Gini & O'Connell
     October 1, 2019
     Page 5 of 1 1




           SECTION V - DEFINITIONS
           •   •   •




           3. "Bodily injury" means bodily injury, sickness or disease sustained by a
              person, including death resulting from any of these at any time.

           •   •   •




           13. "Occurrence" means an accident, including continuous or repeated exposure
                to substantially the same general harmful conditions.

           14. "Personal and advertising injury" means injury, including consequential "bodily
               injury", arising out of one or more of the following offenses:

                   a. False arrest, detention or imprisonment;

                   b. Malicious prosecution;

                   c. The wrongful eviction from, wrongful entry into, or invasion of the right of
                      private occupancy of a room, dwelling or premises that a person occupies,
                      committed by or on behalf of its owner, landlord or lessor;

                   d. Oral or written publication, in any manner, of material that slanders or libels
                      a person or organization or disparages a person's or organization's goods,
                      products or services;

                   e. Oral or written publication, in any manner, of material that violates a
                      person's right of privacy;

                   f. The use of another's advertising idea in your "advertisement"; or

                   g. Infringing upon another's copyright, trade dress or slogan in your
                      "advertisement".
           .   •       •




           17. "Property damage" means:

                   a. Physical injury to tangible property, including all resulting loss of use of
                      that property. All such loss of use shall be deemed to occur at the time of
                      the physical injury that caused it; or




                                                     6                                       Exhibit A - 006
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 7 of 161 Page ID #:84

     Amber Heard
     c/o Macias, Gini & O'Connell
     October 1, 2019
     Page 6 of 11



                 b. Loss of use of tangible property that is not physically injured. All such loss
                    of use shall be deemed to occur at the time of the "occurrence" that caused
                    it.
                 •   •   •




     The Comprehensive Personal Liability Coverage part provides, in pertinent part, as
     follows:

            COVERAGE L. PERSONAL LIABILITY

            The Insuring Agreement of Coverage L states:

            If a claim is made or a suit is brought against any "Insured" for damages
            because of "bodily injury", "property damage" or "personal injury" caused
            by an "occurrence" to which this coverage applies, we will:

            a.           pay up to our limit of liability for the damages for which the
                         "Insured" is legally liable; and

            b.           provide a defense at our expense by counsel of our choice, even if
                         the suit is groundless, false or fraudulent. We may make any
                         investigation and settle any claim or suit that we decide is
                         appropriate. Our obligation to defend any claim or suit ends when
                         the amount we pay for damages resulting from the "occurrence"
                         equals our limit of liability.

     Coverage L contains the following exclusions as follows:

            EXCLUSIONS

            1.           COVERAGE L. — Personal Liability and Coverage M. Medical
                         Payments to Others do not apply to "bodily injury" or "property
                         damage":

                         a.     which is expected or intended by the "Insured"; or

                         b.     arising out of business pursuits of an "Insured" or the rental
                                or holding for rental of any part of any premises by an
                                "Insured."

                         This exclusion does not apply to:

                         (1)    activities which are ordinarily incidental to non-business
                                pursuits; or



                                                      7                                          Exhibit A - 007
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 8 of 161 Page ID #:85

     Amber Heard
     c/o Macias, Gini & O'Connell
     October 1, 2019
     Page 7 of 11




     The following relevant definitions apply to the Comprehensive Personal Liability
     Coverage part:

           DEFINITIONS


           1. "Bodily Injury" means bodily harm, sickness or disease, including required
              care, loss of services and death that results.

           2. "Business" includes trade, profession or occupation.



           5. "Personal Injury" means injury other than "bodily injury", arising out of one or
              more of the following offenses.



              d. oral or written publication of material that slanders or libels a person or
                 organization including other forms of defamation; or

              •    •   •




           6. "Occurrence" means an accident, including continuous or repeated exposure to
              conditions, which results during the policy period, in:

                  a. "bodily injury", or

                  b. "property damage"; or

                  c. "personal injury".

           7. "Property damage" means physical injury to, destruction of, or loss of use of
              tangible property.

    The Comprehensive Personal Liability Coverage part also provides as follows regarding
    other insurance:

           CONDITIONS




                                                8                                      Exhibit A - 008
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 9 of 161 Page ID #:86

     Amber Heard
     c/o Macias, Gini & O'Connell
     October 1, 2019
     Page 8 of 11



            8. Other Insurance — Coverage L — Personal Liability

               This insurance is excess over any other valid and collectible insurance written
               specifically to cover as excess over the limits of liability that apply in this
               policy.



     The policy also contains the following endorsement, which states, in pertinent part, as
     follows:

               LIMITATION - NO STACKING OF OCCURRENCE LIMITS
                                OF INSURANCE

               This endorsement modifies insurance provided under the following:

                   COMMERCIAL GENERAL LIABILITY COVERAGE PART

               The following condition is added to Section IV. — Commercial General
               Liability Conditions: Two or More Coverage Forms or Policies Issues By
               Us

               If this policy and any other policy, policies or coverage form(s) issued to you
               by use or any of our affiliated companies apply to the same or related damages,
               the most that will be paid by us and our affiliated companies either individually
               or collectively for the sum of all those damages is the single largest applicable
               Each Occurrence Limit or similar per occurrence limit of insurance available
               under any one of those policies or coverage forms. Same or related damages
               include the continuation of injury or damages from a prior policy period into a
               subsequent policy period, or any injury or damage resulting from the same
               cause or "occurrence."

               However, this provision does not apply to umbrella or similar policies or
               coverage forms that are purchased specifically to apply in excess of another
               policy or coverage form that is scheduled as underlying insurance.

               In no event will coverage be provided during the policy period after (1) the
               applicable aggregate Limit of Insurance under any one coverage form or policy
               has been exhausted, or (2) the applicable aggregate Limit of Insurance under
               any one coverage form or policy would have been exhausted had all covered
               claims been submitted under that one coverage form or policy rather than under
               two or more coverage forms or policies.




                                                9                                       Exhibit A - 009
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 10 of 161 Page ID #:87

      Amber Heard
      c/o Macias, Gini & O'Connell
      October 1, 2019
      Page 9 of 11




                The terms of this endorsement will govern as respect the application of any
                limits of insurance. If this policy or coverage form contains any other language
                regarding limits of insurance that is in conflict with the terms of this
                endorsement, such other language is subject to the terms of this endorsement.

               AN EXPLANATION OF NEW YORK MARINE'S COVERAGE
                              DETERMINATION

     Commercial General Liability Coverage Part

     The Commercial General Liability Coverage part provides commercial liability coverage;
     it provides coverage to insureds with respect to their business-related activities. The
     allegations in the Complaint make it clear that the events at issue arise from your personal
     activities. As an individual, you qualify as an insured only with respect to the conduct of
     a business of which you are the sole owner. Therefore, you do not qualify as an insured
     under the Commercial General Liability Coverage part in the policy. Accordingly, New
     York Marine must respectfully disclaim coverage under the Commercial General Liability
     Coverage part as this matter does not arise from your business-related activities.

     Comprehensive Personal Liability Coverage Part

     As stated in the insuring agreement of the Comprehensive Personal Liability Coverage
     part, if a suit is brought against an insured for damages because of "bodily injury",
     "property damage" or "personal injury" cause by an "occurrence" to which the coverage
     applies, New York Marine will pay up to our limit of liability for the damages for which
     the insured is legally liable. It is clear the Plaintiff is not seeking damages because of
     "bodily injury" or "property damage" in the Complaint. However, the Plaintiff is seeking
     damages for defamation, which falls under the definition of "personal injury", 5.d.; oral or
     written publication of material that slanders or libels a person or organization including
     other forms of defamation. Accordingly, New York Marine will provide you with a
     defense under the Comprehensive Personal Liability Coverage part. Notwithstanding that
     New York Marine has determined that it will provide you with a legal defense to, to the
     extent that California law does not permit an insurer to indemnify the insured, no indemnity
     can be provided.

     New York Marine also reserves the right to limit coverage under the policy pursuant to the
     "Limitation — No Stacking Of Occurrence Limits Of Insurance" endorsement outlined
     above.

                                          CONCLUSION




                                                 10                                      Exhibit A - 010
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 11 of 161 Page ID #:88

      Amber Heard
      c/o Macias, Gini & O'Connell
      October 1, 2019
      Page 10 of 11



      For the reasons set forth above, New York Marine will agree to defend you under a
      reservation of rights outlined above.

     By mentioning and/or quoting certain provisions from the policy in this correspondence,
     New York Marine is not waiving any of its rights to assert or rely on additional policy
     provisions in the policy. Actions taken by New York Marine, its agents, representatives or
     attorneys in investigating this matter do not constitute, and are not intended as, a waiver of
     any rights or defenses available to New York Marine. The specific issues raised herein
     shall not be interpreted as limiting the scope of the rights reserved by New York Marine.
     Accordingly, New York Marine shall not be precluded from asserting any rights or
     defenses that may be available now or at any time. All rights and defenses are hereby
     expressly reserved.

     If you disagree with the coverage determination outlined above, or believe that New York
     Marine's coverage determination is incorrect or that New York Marine does not have
     complete information, please contact the undersigned. We will review and evaluate any
     additional information that you feel would assist in the determination of coverage under
     the policy.

     Additionally, if you believe that New York Marine has incorrectly denied this claim, or
     any portion thereof, or if you or disagree with any other coverage determination taken with
     regard to this claim, you are entitled to have the matter reviewed by the California
     Department of Insurance. The contact information for the California Department of
     Insurance is as follows:

                                 Consumer Communications Bureau
                                 California Department of Insurance
                                 300 S. Spring Street, South Tower
                                       Los Angeles, CA 90013
                                    Telephone: 1-800-927-4357

     Please feel free to contact the undersigned should you wish to discuss the content of this
     letter.

     Sincerely,

               ,A,--->"
      teven Battaglia
     Claims Specialist
     Tel.: 973.532.6395
     E-mail: sbattaglia@prosightspecialty.com




                                                  11                                       Exhibit A - 011
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 12 of 161 Page ID #:89

      Amber Heard
      do Macias, Gini & O'Connell
      October 1, 2019
      Page 11 of 11



      cc:


      Claire Boxer
      Integro USA, Inc.
      Via E-mail Only: claire. boxer@epicbrokers. corn

      Richard A. Schwartz
      Browne George Ross, LLP
      Via E-mail Only: rschwartz@bgrfirm.corn




                                                12                   Exhibit A - 012
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 13 of 161 Page ID #:90




                 Exhibit B

                                       13                            Exhibit B - 001
     Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 14 of 161 Page ID #:91




          REPORT
          A CLAIM
      QUICK. CONVENIENT.
      FOCUSED.

         TELL US WHAT HAPPENED AND WE’LL IMMEDIATELY BEGIN TO DELIVER THE
                 AWESOME SERVICE THAT IS THE HALLMARK OF PROSIGHT.


   We’ll focus first on assuring your well-being. Then, we’ll tend to every detail of your claim with care.




                                        EMAIL                  claims@prosightspecialty.com



                                        FAX                    1-855-657-3534


                                                              ProSight Specialty Insurance Claims Department
                                        MAIL                  412 Mt. Kemble Avenue Suite 300C
                                                              Morristown, NJ 07960


                                        PHONE                  1-800-774-2755
                                                               Press ‘1’ to Report a Claim / Anytime - days, nights & weekends
                                                               For inquiries on previously reported claims:
                                                               Press ‘2’ Workers’ Compensation Claims
                                                               Press ‘3’ All Other Claims



                                         ONLINE                customer.prosightspecialty.com




PN 04 99 37   11/17   As used herein, “ProSight” refers to the insurers of ProSight Specialty Insurance Group underwriting insurance policies or bonds, which include
                      New York Marine and General Insurance Company, Gotham Insurance Company and Southwest Marine and General Insurance Company.
                      Actual coverage is specified by the policies or bonds issued. ProSight Specialty, 412 Mt Kemble Ave, Morristown, NJ 07960.

                                                                                14                                                              Exhibit B - 002
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 15 of 161 Page ID #:92
NEW YORK MARINE AND GENERAL INSURANCE COMPANY
                                59 Maiden Lane, 27th Floor
                                New York, NY 10038-4647

                 COMMON POLICY DECLARATIONS
POLICY NUMBER: GL201800012500                PREVIOUS POLICY NUMBER: NEW
            COMPANY NAME                                    PRODUCER NAME                   00609
New York Marine and General Insurance           Integro USA, Inc.
Company                                         21650 Oxnard St., Suite 2350
59 Maiden Lane, 27th Floor                      Woodland Hills, CA 91367-7824
New York, NY 10038-4647



NAMED INSURED: Under the Black Sky, Inc.
               As Per Named Insured Extension Schedule

MAILING ADDRESS: c/o MACIAS, GINI & O'CONNELL
                 2029 Century Park East, #1500
                 Los Angeles, CA 90067
POLICY PERIOD: FROM      07/18/2018      TO    07/18/2019
               AT 12:01 A.M. STANDARD TIME AT YOUR MAILING ADDRESS SHOWN ABOVE.

BUSINESS DESCRIPTION Shell Corporation

IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS
POLICY, WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.

     THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS FOR WHICH A PREMIUM IS
                 INDICATED. THIS PREMIUM MAY BE SUBJECT TO ADJUSTMENT.
                                                                          PREMIUM
 COMMERCIAL GENERAL LIABILITY COVERAGE PART
 TERRORISM - CERTIFIED ACTS (GENERAL LIABILITY)
                                                                TOTAL:




IL DS 00 09 08                  c ISO Properties, Inc.,   2007                  Page 1 of 3
                                            Original
                                              15                                Exhibit B - 003
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 16 of 161 Page ID #:93




POLICY NUMBER: GL201800012500

FORMS APPLICABLE TO ALL COVERAGE PARTS (SHOW NUMBERS):

 See Schedule of Forms and Endorsements.




Countersigned                                   By:

                  (Date)                                         (Authorized Representative)




IL DS 00 09 08                  c ISO Properties, Inc.,   2007                          Page 2 of 3
                                            Original
                                              16                                        Exhibit B - 004
  Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 17 of 161 Page ID #:94


                    NAMED INSURED EXTENSION SCHEDULE

 POLICY NUMBER:                             EFFECTIVE DATE:
   GL201800012500                              07/18/2018


Under the Black Sky, Inc.
Amber Heard, an Individual




IL DS 00 09 08                          17
                                     Original                          Exhibit B - 005
                                                                        Page 3 of 3
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 18 of 161 Page ID #:95




                                             SIGNATURE PAGE

  In witness whereof, New York Marine and General Insurance Company has caused this policy
  to be signed by its president and secretary.




  Joseph J. Beneducci                                  Frank D. Papalia
  President                                            Secretary




  Named Insured: Under the Black Sky, Inc.
  Policy #:      GL201800012500
  Policy Period: 07/18/2018 - 07/18/2019

  IL 0001 (1010)
                                                  18                                    Exhibit B - 006
 Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 19 of 161 Page ID #:96

                   SCHEDULE OF FORMS AND ENDORSEMENTS

 POLICY NUMBER:                                EFFECTIVE DATE:
   GL201800012500                                 07/18/2018

NUMBER              TITLE

                    COMMON

IL DS 00 (09-08)    Common Policy Declarations
IL 0001 (10-10)     Signature Page
IL 00 03 (09-08)    Calculation Of Premium
IL 09 85 (01-15)    Disclosure Pursuant To Terrorism Risk Insurance Act
IL 00 17 (11-98)    Common Policy Conditions
IL 00 21 (09-08)    Nuclear Energy Liability Exclusion Endorsement (Broad Form)
IL 02 70 (09-12)    California Changes - Cancellation And Nonrenewal

                    GENERAL LIABILITY

DL 24 33 (05-04)    Workers Compensation Certain Residence Employees - California
CG DS 01 (10-01)    Commercial General Liability Declarations
CG 00 01 (12-07)    Commercial General Liability Coverage Form
CG 00 68 (05-09)    Recording And Distribution Of Material Or Information In Violation Of
                    Law Exclusion
CG 20 11 (01-96)    Additional Insured - Managers Or Lessors Of Premises
CG 20 23 (10-93)    Additional Insured - Executors, Administrators, Trustees Or
                    Beneficiaries
CG 20 34 (07-04)    Additional Insured - Lessor Of Leased Equipment - Automatic Status
                    When Required In Lease Agreement With You
CG 21 46 (07-98)    Abuse or Molestation Exclusion
CG 21 47 (12-07)    Employment-Related Practices Exclusion
CG 21 67 (12-04)    Fungi or Bacteria Exclusion
CG 21 70 (01-15)    Cap on Losses From Certified Acts of Terrorism
CG 21 76 (01-15)    Exclusion of Punitive Damages Related to a Certified Act of Terrorism
CG 21 84 (01-15)    Exclusion Of Certified Nuclear, Biological, Chemical Or Radiological
                    Acts Of Terrorism; Cap On Losses From Certified Acts Of Terrorism
CG 21 96 (03-05)    Silica Or Silica-Related Dust Exclusion
GL 0001 (06-10)     Absolute Asbestos Exclusion
GL 0002 (06-10)     Absolute Lead Exclusion
GL 0008 (06-10)     Amendment of Employee Definition (Temporary Employee)
GL 0011 (06-10)     Comprehensive Personal Liability Coverage
GL 0019 (06-10)     Cross Liability Exclusion
GL 0025 (06-10)     Exclusion - Communicable Diseases
GL 0029 (06-10)     Exclusion - Designated Activites
GL 0030 (06-10)     Exclusion - Fireworks With Exception for Concussion Effects,
                    Flashpots and Smokepots
GL 0035 (06-10)     Exclusion - Personal And Advertising Injury Liability - Entertainment
                    Industry
GL 0041 (06-10)     Knowledge Of Occurrence
GL 0042 (06-10)     Limitation - No Stacking Of Occurrence Limits of Insurance
GL 0065 (10-10)     Comprehensive Personal Liability Coverage Declarations
GL 0452 (04-16)     CALIFORNIA EXCLUSION - ACCESS OR DISCLOSURE OF CONFIDENTIAL OR
                    PERSONAL INFORMATION AND DATA-RELATED LIABILITY - WITH LIMITED BODILY
                    INJURY EXCEPTION




                                            19
                                          Original                          Exhibit B - 007
                                                                                Page 1 of 1
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 20 of 161 Page ID #:97



                                                                     IL 00 03 09 08

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            CALCULATION OF PREMIUM
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART

The following is added:
The premium shown in the Declarations was com-
puted based on rates in effect at the time the policy
was issued. On each renewal, continuation, or anni-
versary of the effective date of this policy, we will
compute the premium in accordance with our rates
and rules then in effect.




IL 00 03 09 08                                      20 Inc., 2007
                                          © ISO Properties,          Exhibit
                                                                         PageB - 008
                                                                                  1 of 1   
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 21 of 161 Page ID #:98


POLICY NUMBER: GL201800012500
                                                                                                  IL 09 85 01 15

    THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN
    RESPONSE TO THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK
   INSURANCE ACT. THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR
  CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

         DISCLOSURE PURSUANT TO TERRORISM RISK
                     INSURANCE ACT
                                                  SCHEDULE

 SCHEDULE PART I
 Terrorism Premium (Certified Acts)
 This premium is the total Certified Acts premium attributable to the following Coverage Part(s),
 Coverage Form(s) and/or Policy(ies):
 Certified Acts - General Liability




 Additional information, if any, concerning the terrorism premium:




 SCHEDULE PART II
 Federal share of terrorism losses              % Year: 20 18
 (Refer to Paragraph B. in this endorsement.)

 Federal share of terrorism losses              % Year: 20 19
 (Refer to Paragraph B. in this endorsement.)

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Disclosure Of Premium
   In accordance with the federal Terrorism Risk
   Insurance Act, we are required to provide you with
   a notice disclosing the portion of your premium, if
   any, attributable to coverage for terrorist acts
   certified under the Terrorism Risk Insurance Act.
   The portion of your premium attributable to such
   coverage is shown in the Schedule of this
   endorsement or in the policy Declarations.




IL 09 85 01 15                                           21
                                     c Insurance Services Office, Inc., 2015                      Exhibit
                                                                                                   PageB 1- 009
                                                                                                              of   2
 Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 22 of 161 Page ID #:99


 B. Disclosure Of Federal Participation In Payment             C. Cap On Insurer Participation In Payment Of
    Of Terrorism Losses                                           Terrorism Losses
    The United States Government, Department of the               If aggregate insured losses attributable to terrorist
    Treasury, will pay a share of terrorism losses                acts certified under the Terrorism Risk Insurance
    insured under the federal program. The federal                Act exceed $100 billion in a calendar year and we
    share equals a percentage (as shown in Part II of             have met our insurer deductible under the
    the Schedule of this endorsement or in the policy             Terrorism Risk Insurance Act, we shall not be
    Declarations) of that portion of the amount of such           liable for the payment of any portion of the amount
    insured losses that exceeds the applicable insurer            of such losses that exceeds $100 billion, and in
    retention. However, if aggregate insured losses               such case insured losses up to that amount are
    attributable to terrorist acts certified under the            subject to pro rata allocation in accordance with
    Terrorism Risk Insurance Act exceed $100 billion              procedures established by the Secretary of the
    in a calendar year, the Treasury shall not make               Treasury.
    any payment for any portion of the amount of such
    losses that exceeds $100 billion.




Page 2 of 2
                                                          22
                                      c Insurance Services Office, Inc., 2015                         Exhibit
                                                                                                       IL 09B85
                                                                                                              - 010
                                                                                                                 01 15
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 23 of 161 Page ID #:100


                                                                                                    IL 00 17 11 98


                           COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                     b. Give you reports on the conditions we find;
   1. The first Named Insured shown in the Declara-                     and
       tions may cancel this policy by mailing or de-               c. Recommend changes.
       livering to us advance written notice of cancel-         2. We are not obligated to make any inspections,
       lation.                                                      surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or deliv-                such actions we do undertake relate only to in-
       ering to the first Named Insured written notice              surability and the premiums to be charged. We
       of cancellation at least:                                    do not make safety inspections. We do not un-
       a. 10 days before the effective date of cancel-              dertake to perform the duty of any person or
           lation if we cancel for nonpayment of pre-               organization to provide for the health or safety
           mium; or                                                 of workers or the public. And we do not warrant
                                                                    that conditions:
       b. 30 days before the effective date of cancel-
           lation if we cancel for any other reason.                a. Are safe or healthful; or
   3. We will mail or deliver our notice to the first               b. Comply with laws, regulations, codes or
       Named Insured's last mailing address known to                    standards.
       us.                                                      3. Paragraphs 1. and 2. of this condition apply
   4. Notice of cancellation will state the effective               not only to us, but also to any rating, advisory,
       date of cancellation. The policy period will end             rate service or similar organization which
       on that date.                                                makes insurance inspections, surveys, reports
                                                                    or recommendations.
   5. If this policy is cancelled, we will send the first
       Named Insured any premium refund due. If we              4. Paragraph 2. of this condition does not apply
       cancel, the refund will be pro rata. If the first            to any inspections, surveys, reports or recom-
       Named Insured cancels, the refund may be                     mendations we may make relative to certifica-
       less than pro rata. The cancellation will be ef-             tion, under state or municipal statutes, ordi-
       fective even if we have not made or offered a                nances or regulations, of boilers, pressure ves-
       refund.                                                      sels or elevators.
   6. If notice is mailed, proof of mailing will be suf-     E. Premiums
       ficient proof of notice.                                 The first Named Insured shown in the Declara-
B. Changes                                                      tions:
   This policy contains all the agreements between              1. Is responsible for the payment of all premiums;
   you and us concerning the insurance afforded.                    and
   The first Named Insured shown in the Declara-                2. Will be the payee for any return premiums we
   tions is authorized to make changes in the terms                 pay.
   of this policy with our consent. This policy's terms      F. Transfer Of Your Rights And Duties Under
   can be amended or waived only by endorsement                 This Policy
   issued by us and made a part of this policy.
                                                                Your rights and duties under this policy may not
C. Examination Of Your Books And Records                        be transferred without our written consent except
   We may examine and audit your books and rec-                 in the case of death of an individual named in-
   ords as they relate to this policy at any time during        sured.
   the policy period and up to three years afterward.           If you die, your rights and duties will be trans-
D. Inspections And Surveys                                      ferred to your legal representative but only while
   1. We have the right to:                                     acting within the scope of duties as your legal rep-
                                                                resentative. Until your legal representative is ap-
       a. Make inspections and surveys at any time;             pointed, anyone having proper temporary custody
                                                                of your property will have your rights and duties
                                                                but only with respect to that property.




IL 00 17 11 98                                         23 Office, Inc., 1998
                                 Copyright, Insurance Services                                      Exhibit
                                                                                                        PageB - 011
                                                                                                                 1 of 1   o
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 24 of 161 Page ID #:101



                                                                                                 IL 00 21 09 08

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                 (Broad Form)

This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

1. The insurance does not apply:                            C. Under any Liability Coverage, to "bodily injury"
   A. Under any Liability Coverage, to "bodily injury"         or "property damage" resulting from "hazard-
      or "property damage":                                    ous properties" of "nuclear material", if:
     (1) With respect to which an "insured" under             (1) The "nuclear material" (a) is at any "nuclear
         the policy is also an insured under a nu-                facility" owned by, or operated by or on be-
         clear energy liability policy issued by Nu-              half of, an "insured" or (b) has been dis-
         clear Energy Liability Insurance Associa-                charged or dispersed therefrom;
         tion, Mutual Atomic Energy Liability                 (2) The "nuclear material" is contained in
         Underwriters, Nuclear Insurance Associa-                 "spent fuel" or "waste" at any time pos-
         tion of Canada or any of their successors,               sessed, handled, used, processed, stored,
         or would be an insured under any such pol-               transported or disposed of, by or on behalf
         icy but for its termination upon exhaustion              of an "insured"; or
         of its limit of liability; or                        (3) The "bodily injury" or "property damage"
     (2) Resulting from the "hazardous properties"                arises out of the furnishing by an "insured"
         of "nuclear material" and with respect to                of services, materials, parts or equipment in
         which (a) any person or organization is re-              connection with the planning, construction,
         quired to maintain financial protection pur-             maintenance, operation or use of any "nu-
         suant to the Atomic Energy Act of 1954, or               clear facility", but if such facility is located
         any law amendatory thereof, or (b) the "in-              within the United States of America, its terri-
         sured" is, or had this policy not been issued            tories or possessions or Canada, this ex-
         would be, entitled to indemnity from the                 clusion (3) applies only to "property dam-
         United States of America, or any agency                  age" to such "nuclear facility" and any
         thereof, under any agreement entered into                property thereat.
         by the United States of America, or any         2. As used in this endorsement:
         agency thereof, with any person or organi-
         zation.                                            "Hazardous properties" includes radioactive, toxic
                                                            or explosive properties.
   B. Under any Medical Payments coverage, to
      expenses incurred with respect to "bodily in-         "Nuclear material" means "source material", "spe-
      jury" resulting from the "hazardous properties"       cial nuclear material" or "by-product material".
      of "nuclear material" and arising out of the op-
      eration of a "nuclear facility" by any person or
      organization.




IL 00 21 09 08                                      24 Inc., 2007
                                          © ISO Properties,                                      Exhibit
                                                                                                     PageB - 012
                                                                                                              1 of 2   
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 25 of 161 Page ID #:102


   "Source material", "special nuclear material", and         (c) Any equipment or device used for the proc-
   "by-product material" have the meanings given                  essing, fabricating or alloying of "special
   them in the Atomic Energy Act of 1954 or in any                nuclear material" if at any time the total
   law amendatory thereof.                                        amount of such material in the custody of
   "Spent fuel" means any fuel element or fuel com-               the "insured" at the premises where such
   ponent, solid or liquid, which has been used or ex-            equipment or device is located consists of
   posed to radiation in a "nuclear reactor".                     or contains more than 25 grams of pluto-
                                                                  nium or uranium 233 or any combination
   "Waste" means any waste material (a) containing                thereof, or more than 250 grams of uranium
   "by-product material" other than the tailings or               235;
   wastes produced by the extraction or concentra-
   tion of uranium or thorium from any ore processed          (d) Any structure, basin, excavation, premises
   primarily for its "source material" content, and (b)           or place prepared or used for the storage or
   resulting from the operation by any person or or-              disposal of "waste";
   ganization of any "nuclear facility" included under      and includes the site on which any of the foregoing
   the first two paragraphs of the definition of "nu-       is located, all operations conducted on such site
   clear facility".                                         and all premises used for such operations.
   "Nuclear facility" means:                                "Nuclear reactor" means any apparatus designed
      (a) Any "nuclear reactor";                            or used to sustain nuclear fission in a self-
                                                            supporting chain reaction or to contain a critical
      (b) Any equipment or device designed or used          mass of fissionable material.
           for (1) separating the isotopes of uranium or
           plutonium, (2) processing or utilizing "spent    "Property damage" includes all forms of radioac-
           fuel", or (3) handling, processing or packag-    tive contamination of property.
           ing "waste";




Page 2 of 2                                           25 Inc., 2007
                                            © ISO Properties,                                  Exhibit
                                                                                                IL 00B21
                                                                                                       - 013
                                                                                                          09 08   
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 26 of 161 Page ID #:103



                                                                                                  IL 02 70 09 12

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 CALIFORNIA CHANGES – CANCELLATION
                          AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

A. Paragraphs 2. and 3. of the Cancellation                  3. All Policies In Effect For More Than 60 Days
   Common Policy Condition are replaced by the                  a. If this policy has been in effect for more
   following:                                                       than 60 days, or is a renewal of a policy we
   2. All Policies In Effect For 60 Days Or Less                    issued, we may cancel this policy only upon
      If this policy has been in effect for 60 days or              the occurrence, after the effective date of
      less, and is not a renewal of a policy we have                the policy, of one or more of the following:
      previously issued, we may cancel this policy by              (1) Nonpayment of premium, including
      mailing or delivering to the first Named Insured,                payment due on a prior policy we issued
      at the mailing address shown in the policy, and                  and due during the current policy term
      to the producer of record, advance written                       covering the same risks.
      notice of cancellation, stating the reason for               (2) Discovery      of   fraud    or     material
      cancellation, at least:                                          misrepresentation by:
      a. 10 days before the effective date of                          (a) Any insured or his or her
           cancellation if we cancel for:                                  representative in obtaining this
          (1) Nonpayment of premium; or                                    insurance; or
          (2) Discovery of fraud by:                                   (b) You or your representative in
              (a) Any insured or his or her                                pursuing a claim under this policy.
                  representative in obtaining this                  (3) A judgment by a court or an
                  insurance; or                                         administrative tribunal that you have
             (b) You or your representative in                          violated a California or Federal law,
                  pursuing a claim under this policy.                   having as one of its necessary elements
                                                                        an act which materially increases any of
      b. 30 days before the effective date of                           the risks insured against.
           cancellation if we cancel for any other
           reason.




IL 02 70 09 12                                        26 Office, Inc., 2012
                                      © Insurance Services                                        Exhibit
                                                                                                      PageB - 014
                                                                                                               1 of 4
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 27 of 161 Page ID #:104



        (4) Discovery of willful or grossly negligent     B. The following provision is added to the
            acts or omissions, or of any violations of       Cancellation Common Policy Condition:
            state laws or regulations establishing           7. Residential Property
            safety standards, by you or your
            representative,      which      materially          This provision applies to coverage on real
            increase any of the risks insured                   property which is used predominantly for
            against.                                            residential purposes and consisting of not more
                                                                than four dwelling units, and to coverage on
        (5) Failure by you or your representative to            tenants' household personal property in a
            implement reasonable loss control                   residential unit, if such coverage is written
            requirements, agreed to by you as a                 under one of the following:
            condition of policy issuance, or which
            were conditions precedent to our use of             Commercial Property Coverage Part
            a particular rate or rating plan, if that           Farm Coverage Part – Farm Property – Farm
            failure materially increases any of the             Dwellings,    Appurtenant     Structures    And
            risks insured against.                              Household Personal Property Coverage Form
        (6) A determination by the Commissioner of              a. If such coverage has been in effect for 60
            Insurance that the:                                    days or less, and is not a renewal of
           (a) Loss of, or changes in, our                         coverage we previously issued, we may
                reinsurance covering all or part of                cancel this coverage for any reason, except
                                                                   as provided in b. and c. below.
                the risk would threaten our financial
                integrity or solvency; or                       b. We may not cancel this policy solely
           (b) Continuation of the policy coverage                 because the first Named Insured has:
                would:                                            (1) Accepted an offer of earthquake
                                                                       coverage; or
                (i) Place us in violation of California
                    law or the laws of the state where            (2) Cancelled or did not renew a policy
                    we are domiciled; or                               issued by the California Earthquake
               (ii) Threaten our solvency.                             Authority (CEA) that included an
                                                                       earthquake policy premium surcharge.
        (7) A change by you or your representative
            in the activities or property of the                   However, we shall cancel this policy if the
                                                                   first Named Insured has accepted a new or
            commercial or industrial enterprise,
            which results in a materially added,                   renewal policy issued by the CEA that
            increased or changed risk, unless the                  includes an earthquake policy premium
                                                                   surcharge but fails to pay the earthquake
            added, increased or changed risk is
            included in the policy.                                policy premium surcharge authorized by the
                                                                   CEA.
      b. We will mail or deliver advance written
         notice of cancellation, stating the reason for         c. We may not cancel such coverage solely
                                                                   because corrosive soil conditions exist on
         cancellation, to the first Named Insured, at
         the mailing address shown in the policy,                  the premises. This restriction (c.) applies
         and to the producer of record, at least:                  only if coverage is subject to one of the
                                                                   following, which exclude loss or damage
        (1) 10 days before the effective date of                   caused by or resulting from corrosive soil
            cancellation  if  we    cancel    for                  conditions:
            nonpayment of premium or discovery of
            fraud; or                                             (1) Commercial Property Coverage Part –
                                                                       Causes Of Loss – Special Form; or
        (2) 30 days before the effective date of
            cancellation if we cancel for any other                (2) Farm Coverage Part – Causes Of Loss
            reason listed in Paragraph 3.a.                            Form – Farm Property, Paragraph D.
                                                                       Covered Causes Of Loss – Special.




Page 2 of 4                                           27 Office, Inc., 2012
                                      © Insurance Services                                     Exhibit
                                                                                                IL 02B70
                                                                                                       - 015
                                                                                                          09 12
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 28 of 161 Page ID #:105



C. The following is added and supersedes any                      (2) The Commissioner of Insurance finds
   provisions to the contrary:                                          that the exposure to potential losses will
   Nonrenewal                                                           threaten our solvency or place us in a
                                                                        hazardous condition. A hazardous
   1. Subject to the provisions of Paragraphs C.2.                      condition includes, but is not limited to, a
      and C.3. below, if we elect not to renew this                     condition in which we make claims
      policy, we will mail or deliver written notice,                   payments for losses resulting from an
      stating the reason for nonrenewal, to the first                   earthquake that occurred within the
      Named Insured shown in the Declarations, and                      preceding two years and that required a
      to the producer of record, at least 60 days, but                  reduction in policyholder surplus of at
      not more than 120 days, before the expiration                     least 25% for payment of those claims;
      or anniversary date.                                              or
      We will mail or deliver our notice to the first             (3) We have:
      Named Insured, and to the producer of record,
      at the mailing address shown in the policy.                      (a) Lost or experienced a substantial
                                                                            reduction in the availability or scope
   2. Residential Property                                                  of reinsurance coverage; or
      This provision applies to coverage on real                       (b) Experienced a substantial increase
      property used predominantly for residential                           in the premium charged for
      purposes and consisting of not more than four                         reinsurance     coverage      of    our
      dwelling units, and to coverage on tenants'                           residential    property      insurance
      household property contained in a residential                         policies; and
      unit, if such coverage is written under one of
      the following:                                                    the Commissioner has approved a plan
                                                                        for the nonrenewals that is fair and
      Commercial Property Coverage Part
                                                                        equitable, and that is responsive to the
      Farm Coverage Part – Farm Property – Farm                         changes in our reinsurance position.
      Dwellings,     Appurtenant     Structures   And
      Household Personal Property Coverage Form                 c. We will not refuse to renew such coverage
                                                                   solely because the first Named Insured has
      a. We may elect not to renew such coverage                   cancelled or did not renew a policy, issued
          for any reason, except as provided in b., c.             by the California Earthquake Authority, that
          and d. below.                                            included an earthquake policy premium
      b. We will not refuse to renew such coverage                 surcharge.
         solely because the first Named Insured has             d. We will not refuse to renew such coverage
         accepted an offer of earthquake coverage.                 solely because corrosive soil conditions
         However, the following applies only to                    exist on the premises. This restriction (d.)
         insurers who are associate participating                  applies only if coverage is subject to one of
         insurers as established by Cal. Ins. Code                 the following, which exclude loss or
         Section 10089.16. We may elect not to                     damage caused by or resulting from
         renew such coverage after the first Named                 corrosive soil conditions:
         Insured has accepted an offer of                         (1) Commercial Property Coverage Part –
         earthquake coverage, if one or more of the                     Causes Of Loss – Special Form; or
         following reasons applies:
                                                                  (2) Farm Coverage Part – Causes Of Loss
         (1) The nonrenewal is based on sound                           Form – Farm Property, Paragraph D.
             underwriting principles that relate to the                 Covered Causes Of Loss – Special.
             coverages provided by this policy and
             that are consistent with the approved           3. We are not required to send notice of
             rating plan and related documents filed            nonrenewal in the following situations:
             with the Department of Insurance as                a. If the transfer or renewal of a policy, without
             required by existing law;                             any changes in terms, conditions or rates,
                                                                   is between us and a member of our
                                                                   insurance group.




IL 02 70 09 12                                        28 Office, Inc., 2012
                                      © Insurance Services                                        Exhibit
                                                                                                      PageB - 016
                                                                                                               3 of 4
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 29 of 161 Page ID #:106



      b. If the policy has been extended for 90 days            e. If the first Named Insured requests a
         or less, provided that notice has been given              change in the terms or conditions or risks
         in accordance with Paragraph C.1.                         covered by the policy within 60 days of the
      c. If you have obtained replacement coverage,                end of the policy period.
         or if the first Named Insured has agreed, in           f. If we have made a written offer to the first
         writing, within 60 days of the termination of             Named Insured, in accordance with the
         the policy, to obtain that coverage.                      timeframes shown in Paragraph C.1., to
      d. If the policy is for a period of no more than             renew the policy under changed terms or
         60 days and you are notified at the time of               conditions or at an increased premium rate,
         issuance that it will not be renewed.                     when the increase exceeds 25%.




Page 4 of 4                                          29 Office, Inc., 2012
                                     © Insurance Services                                      Exhibit
                                                                                                IL 02B70
                                                                                                       - 017
                                                                                                          09 12
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 30 of 161 Page ID #:107


                                                                                                      DWELLING
                                                                                                   DL 24 33 05 04

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 WORKERS COMPENSATION RESIDENCE EMPLOYEES –
                CALIFORNIA
A. Agreement                                                       J. Subrogation.
   We agree, with respect to "residence employees":             2. Under Additional Policy Conditions:
   Under Coverage I                                                B. Waiver or Change of Policy Provisions.
   To pay when due all benefits required of an "in-                C. Assignment.
   sured" by the California Workers' Compensation                  E. Cancellation.
   Law; and
                                                                3. Our agreement to defend an "insured" as pro-
   Under Coverage II                                               vided under Coverage L – Personal Liability.
   To pay on behalf of an "insured" all damages for             4. Under Additional Coverages:
   which the "insured" is legally liable because of
   "bodily injury" sustained by a "residence employ-               A. Claim Expenses.
   ee". The "bodily injury" must be caused by acci-                B. First Aid Expenses.
   dent or disease and arise out of and in the course           5. The definitions of "bodily injury", "business",
   of employment by the "insured" while:                           "insured" and "residence employee".
   1. In the United States of America, its territories or    E. Additional Provisions Applicable To Coverage I
      possessions, or Canada, or
                                                                The following provisions are applicable to Cover-
   2. Temporarily elsewhere if the "residence em-               age I:
      ployee" is a citizen or resident of the United
      States or Canada.                                         1. We shall be directly and primarily liable to any
                                                                   "residence employee" of an "insured" entitled to
   Coverage II does not apply to any suit brought in or            the benefits of the California Workers' Com-
   judgment rendered by any court outside the United               pensation Law.
   States of America, its territories and possessions,
   or Canada, or to any action on such judgment.                2. As between the "residence employee" and us,
                                                                   notice to or knowledge of the occurrence of the
B. Who Is Covered                                                  injury on the part of an "insured" will be
   A "residence employee" is covered if during the 90              deemed notice or knowledge on our part.
   calendar days immediately before the date of injury          3. The jurisdiction of an "insured" will, for the
   the employee has:                                               purpose of the law imposing liability for com-
   1. Actually been engaged in such employment by                  pensation, be our jurisdiction.
      the "insured" for no less than 52 hours, and              4. We will be subject to the orders, findings, deci-
   2. Earned no less than one hundred dollars                      sions or awards rendered against an "insured",
      ($100) in wages.                                             under the provisions of the law imposing liability
C. Application Of Coverage                                         for compensation, subject to the provisions,
                                                                   conditions and limitations of this policy.
   This insurance applies only to "bodily injury" which
   occurs during the policy period. If the "bodily injury"         This policy shall govern as between an "in-
   is a disease, it must be caused or aggravated by                sured" and us as to payments by either in dis-
   the conditions of the "residence employee's" em-                charge of an "insured's" liability for compensa-
   ployment by the "insured".                                      tion.
D. Policy Provisions                                            5. The "residence employee" has a first lien upon
                                                                   any amount which we owe you on account of
   This insurance is subject to all the provisions of              this insurance. In case of your legal incapacity
   this endorsement and the following provisions of                or inability to receive the money and pay it to
   this policy:                                                    the "residence employee", we will pay it directly
   1. Under Conditions:                                            to the "residence employee". Your obligation to
      C. Duties After "Occurrence".                                the "residence employee" will be discharged to
                                                                   the extent of such payment.
      F. Suit Against Us.




DL 24 33 05 04                                          30 Inc., 2004
                                             © ISO Properties,                                      Exhibit
                                                                                                        PageB - 018
                                                                                                                 1 of 2
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 31 of 161 Page ID #:108



F. Limits Of Liability Coverage II                          I. Exclusions
   Our total limit of liability will not exceed $100,000       This policy does not apply:
   for all damages because of "bodily injury":                 1. To liability for additional compensation imposed
   1. Sustained by one or more "residence employ-                 on an "insured" under Sections 4553 and 4557,
      ees" in any one accident; or                                Division IV, Labor Code of the State of Califor-
   2. Caused by disease and sustained by a "resi-                 nia, because of the serious and willful miscon-
      dence employee".                                            duct of an "insured", or because of "bodily inju-
                                                                  ry" to an employee under 16 years of age and
   Our total limit of liability will not exceed $500,000          illegally employed at the time of injury;
   for all damages arising out of "bodily injury" by dis-
   ease regardless of the number of "residence em-             2. To liability for "bodily injury" arising out of or in
   ployees" who sustain "bodily injury" by disease.               connection with a "business" engaged in by an
                                                                  "insured".
G. Other Insurance
                                                               3. Under Coverage II:
   This insurance does not apply to any loss to which
   other valid and collectible Workers' Compensation               a. To liability assumed by the "insured" under
   or Employers' Liability Insurance applies                          any contract or agreement.
H. Conformity To Statute                                           b. To "bodily injury" by disease unless a writ-
                                                                      ten claim is made or suit brought against
   Terms of this insurance which are in conflict with                 the "insured" within 36 months after the end
   the California Workers' Compensation Law are                       of the policy period.
   amended to conform to that law.
                                                                   c. To any obligation under a workers' compen-
                                                                      sation, unemployment or disability benefits
                                                                      law or any similar law.
                                                            All other provisions of this policy apply.




Page 2 of 2                                            31 Inc., 2004
                                            © ISO Properties,                                        Exhibit
                                                                                                     DL 24B33- 019
                                                                                                                05 04
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 32 of 161 Page ID #:109


POLICY NUMBER: GL201800012500                                     COMMERCIAL GENERAL LIABILITY
                                                                                CG DS 01 10 01

    COMMERCIAL GENERAL LIABILITY DECLARATIONS
            COMPANY NAME                                     PRODUCER NAME                       00609
New York Marine and General Insurance            Integro USA, Inc.
Company                                          21650 Oxnard St., Suite 2350
59 Maiden Lane, 27th Floor                       Woodland Hills, CA 91367-7824
New York, NY 10038-4647



NAMED INSURED Under the Black Sky, Inc.
              As Per Named Insured Extension Schedule

MAILING ADDRESS c/o MACIAS, GINI & O'CONNELL
                2029 Century Park East, #1500
                Los Angeles, CA 90067
POLICY PERIOD: FROM    07/18/2018           TO     07/18/2019            AT 12:01 A.M. TIME AT
YOUR MAILING ADDRESS SHOWN ABOVE

IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS
POLICY, WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.

                                  LIMITS OF INSURANCE
EACH OCCURRENCE LIMIT                             $1,000,000
      DAMAGE TO PREMISES
      RENTED TO YOU LIMIT                      $300,000 Any one premises
      MEDICAL EXPENSE LIMIT                      $5,000 Any one person
PERSONAL & ADVERTISING INJURY LIMIT          $1,000,000 Any one person or organization
GENERAL AGGREGATE LIMIT                                                 $1,000,000
PRODUCTS/COMPLETED OPERATIONS AGGREGATE LIMIT                           $1,000,000



                            RETROACTIVE DATE (CG 00 02 ONLY)
THIS INSURANCE DOES NOT APPLY TO "BODILY INJURY", "PROPERTY DAMAGE" OR "PERSONAL AND
ADVERTISING INJURY" WHICH OCCURS BEFORE THE RETROACTIVE DATE, IF ANY, SHOWN BELOW.
RETROACTIVE DATE:
                    (ENTER DATE OR "NONE" IF NO RETROACTIVE DATE APPLIES)


                                DESCRIPTION OF BUSINESS
FORM OF BUSINESS:

  INDIVIDUAL          PARTNERSHIP             JOINT VENTURE               TRUST

  LIMITED LIABILITY COMPANY   X ORGANIZATION, INCLUDING A CORPORATION (BUT NOT IN-
                              CLUDING A PARTNERSHIP, JOINT VENTURE OR LIMITED LIABILITY
                              COMPANY)

BUSINESS DESCRIPTION: Shell Corporation



CG DS 01 10 01                   c ISO Properties, Inc.,   2000                       Page 1 of 2
                                            32
                                          Original                                  Exhibit B - 020
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 33 of 161 Page ID #:110


 POLICY NUMBER: GL201800012500                                  COMMERCIAL GENERAL LIABILITY
                                                                               CG DS 01 10 01


                             ALL PREMISES YOU OWN, RENT OR OCCUPY
LOCATION NUMBER                      ADDRESS OF ALL PREMISES YOU OWN, RENT OR OCCUPY
1




                                  CLASSIFICATION AND PREMIUM
LOCA        CLASSIFICATION         CODE       PREMIUM             RATE          ADVANCE PREMIUM
TION
NUMB                               NO.         BASE       Prem/      Prod/Com       Prem/        Prod/
 ER                                                        Ops           p           Ops         Comp
                                                                        Ops                       Ops
       Shell Corp ‐
       Includes office                    1              Flat       Included
 1
       liability at loc 1

-      Increased Premises                 $300,000
                                                         Flat       Included
       Rented To You Limit                Limit

                                    STATE TAX OR OTHER (if applicable)          $
                                    TOTAL PREMIUM (SUBJECT TO AUDIT)
                                                                                $

PREMIUM SHOWN IS PAYABLE:           AT INCEPTION                            $
                                    AT EACH ANNIVERSARY                     $
                                    (IF POLICY PERIOD IS MORE THAN ONE YEAR AND PREMIUM IS
                                    PAID IN ANNUAL INSTALLMENTS)

AUDIT PERIOD (IF APPLICABLE)  ANNUALLY               SEMI-    QUARTERLY MONTHLY
                                                        ANNUALLY

                                  ENDORSEMENTS
ENDORSEMENTS ATTACHED TO THIS POLICY:
   See Schedule of Forms and Endorsements.



THESE DECLARATIONS, TOGETHER WITH THE COMMON POLICY CONDITIONS AND COVERAGE
FORM(S) AND ANY ENDORSEMENT(S), COMPLETE THE ABOVE NUMBERED POLICY.

Countersigned:                                   By:

                    (Date)                                 (Authorized Representative)

NOTE
OFFICERS' FACSIMILE SIGNATURES MAY BE INSERTED HERE, ON THE POLICY COVER OR
ELSEWHERE AT THE COMPANY'S OPTION.
CG DS 01 10 01
                              © ISO Properties, Inc., 2000
                                                                    Page 2 of 2
                                                                             
                                                33                                   Exhibit B - 021
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 34 of 161 Page ID #:111


                                                                    COMMERCIAL GENERAL LIABILITY
                                                                                   CG 00 01 12 07

   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.      b. This insurance applies to "bodily injury" and
Read the entire policy carefully to determine rights,        "property damage" only if:
duties and what is and is not covered.                      (1) The "bodily injury" or "property damage" is
Throughout this policy the words "you" and "your"               caused by an "occurrence" that takes place
refer to the Named Insured shown in the Declarations,           in the "coverage territory";
and any other person or organization qualifying as a        (2) The "bodily injury" or "property damage"
Named Insured under this policy. The words "we",                occurs during the policy period; and
"us" and "our" refer to the company providing this
insurance.                                                  (3) Prior to the policy period, no insured listed
                                                                under Paragraph 1. of Section II – Who Is
The word "insured" means any person or organization             An Insured and no "employee" authorized
qualifying as such under Section II – Who Is An In-             by you to give or receive notice of an "oc-
sured.                                                          currence" or claim, knew that the "bodily in-
Other words and phrases that appear in quotation                jury" or "property damage" had occurred, in
marks have special meaning. Refer to Section V –                whole or in part. If such a listed insured or
Definitions.                                                    authorized "employee" knew, prior to the
SECTION I – COVERAGES                                           policy period, that the "bodily injury" or
                                                                "property damage" occurred, then any con-
COVERAGE A BODILY INJURY AND PROPERTY                           tinuation, change or resumption of such
DAMAGE LIABILITY                                                "bodily injury" or "property damage" during
1. Insuring Agreement                                           or after the policy period will be deemed to
                                                                have been known prior to the policy period.
   a. We will pay those sums that the insured be-
      comes legally obligated to pay as damages           c. "Bodily injury" or "property damage" which
      because of "bodily injury" or "property damage"        occurs during the policy period and was not,
      to which this insurance applies. We will have          prior to the policy period, known to have oc-
      the right and duty to defend the insured against       curred by any insured listed under Paragraph
      any "suit" seeking those damages. However,             1. of Section II – Who Is An Insured or any
      we will have no duty to defend the insured             "employee" authorized by you to give or re-
      against any "suit" seeking damages for "bodily         ceive notice of an "occurrence" or claim, in-
      injury" or "property damage" to which this in-         cludes any continuation, change or resumption
      surance does not apply. We may, at our discre-         of that "bodily injury" or "property damage" af-
      tion, investigate any "occurrence" and settle          ter the end of the policy period.
      any claim or "suit" that may result. But:           d. "Bodily injury" or "property damage" will be
      (1) The amount we will pay for damages is              deemed to have been known to have occurred
          limited as described in Section III – Limits       at the earliest time when any insured listed un-
          Of Insurance; and                                  der Paragraph 1. of Section II – Who Is An In-
      (2) Our right and duty to defend ends when we          sured or any "employee" authorized by you to
          have used up the applicable limit of insur-        give or receive notice of an "occurrence" or
                                                             claim:
          ance in the payment of judgments or set-
          tlements under Coverages A or B or medi-          (1) Reports all, or any part, of the "bodily injury"
          cal expenses under Coverage C.                        or "property damage" to us or any other in-
                                                                surer;
      No other obligation or liability to pay sums or
      perform acts or services is covered unless ex-        (2) Receives a written or verbal demand or
      plicitly provided for under Supplementary Pay-            claim for damages because of the "bodily
      ments – Coverages A and B.                                injury" or "property damage"; or
                                                            (3) Becomes aware by any other means that
                                                                "bodily injury" or "property damage" has oc-
                                                                curred or has begun to occur.




CG 00 01 12 07                                      34 Inc., 2006
                                          © ISO Properties,                                   Exhibit
                                                                                                Page  B -1
                                                                                                         022
                                                                                                           of 16   
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 35 of 161 Page ID #:112



   e. Damages because of "bodily injury" include            c. Liquor Liability
      damages claimed by any person or organiza-               "Bodily injury" or "property damage" for which
      tion for care, loss of services or death resulting       any insured may be held liable by reason of:
      at any time from the "bodily injury".
                                                              (1) Causing or contributing to the intoxication of
2. Exclusions                                                     any person;
   This insurance does not apply to:                          (2) The furnishing of alcoholic beverages to a
   a. Expected Or Intended Injury                                 person under the legal drinking age or un-
      "Bodily injury" or "property damage" expected               der the influence of alcohol; or
      or intended from the standpoint of the insured.         (3) Any statute, ordinance or regulation relating
      This exclusion does not apply to "bodily injury"            to the sale, gift, distribution or use of alco-
      resulting from the use of reasonable force to               holic beverages.
      protect persons or property.                             This exclusion applies only if you are in the
   b. Contractual Liability                                    business of manufacturing, distributing, selling,
      "Bodily injury" or "property damage" for which           serving or furnishing alcoholic beverages.
      the insured is obligated to pay damages by            d. Workers' Compensation And Similar Laws
      reason of the assumption of liability in a con-          Any obligation of the insured under a workers'
      tract or agreement. This exclusion does not              compensation, disability benefits or unem-
      apply to liability for damages:                          ployment compensation law or any similar law.
     (1) That the insured would have in the absence         e. Employer's Liability
          of the contract or agreement; or
                                                               "Bodily injury" to:
     (2) Assumed in a contract or agreement that is
         an "insured contract", provided the "bodily          (1) An "employee" of the insured arising out of
         injury" or "property damage" occurs subse-                and in the course of:
         quent to the execution of the contract or                (a) Employment by the insured; or
         agreement. Solely for the purposes of liabil-            (b) Performing duties related to the conduct
         ity assumed in an "insured contract", rea-                   of the insured's business; or
         sonable attorney fees and necessary litiga-
         tion expenses incurred by or for a party             (2) The spouse, child, parent, brother or sister
         other than an insured are deemed to be                   of that "employee" as a consequence of
         damages because of "bodily injury" or                    Paragraph (1) above.
         "property damage", provided:                          This exclusion applies whether the insured
        (a) Liability to such party for, or for the cost       may be liable as an employer or in any other
             of, that party's defense has also been            capacity and to any obligation to share dam-
             assumed in the same "insured contract";           ages with or repay someone else who must
             and                                               pay damages because of the injury.
        (b) Such attorney fees and litigation ex-              This exclusion does not apply to liability as-
             penses are for defense of that party              sumed by the insured under an "insured con-
             against a civil or alternative dispute            tract".
             resolution proceeding in which damages
             to which this insurance applies are al-
             leged.




Page 2 of 16                                          35 Inc., 2006
                                            © ISO Properties,                                   Exhibit
                                                                                                CG  00B01
                                                                                                        - 023
                                                                                                           12 07    
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 36 of 161 Page ID #:113



   f. Pollution                                                (d) At or from any premises, site or location
     (1) "Bodily injury" or "property damage" arising              on which any insured or any contractors
         out of the actual, alleged or threatened dis-             or subcontractors working directly or in-
         charge, dispersal, seepage, migration, re-                directly on any insured's behalf are per-
         lease or escape of "pollutants":                          forming operations if the "pollutants" are
                                                                   brought on or to the premises, site or lo-
        (a) At or from any premises, site or location              cation in connection with such opera-
            which is or was at any time owned or                   tions by such insured, contractor or sub-
            occupied by, or rented or loaned to, any               contractor. However, this subparagraph
            insured. However, this subparagraph                    does not apply to:
            does not apply to:
                                                                    (i) "Bodily injury" or "property damage"
            (i) "Bodily injury" if sustained within a                   arising out of the escape of fuels, lu-
                building and caused by smoke,                           bricants or other operating fluids
                fumes, vapor or soot produced by or                     which are needed to perform the
                originating from equipment that is                      normal electrical, hydraulic or me-
                used to heat, cool or dehumidify the                    chanical functions necessary for the
                building, or equipment that is used to                  operation of "mobile equipment" or
                heat water for personal use, by the                     its parts, if such fuels, lubricants or
                building's occupants or their guests;                   other operating fluids escape from a
           (ii) "Bodily injury" or "property damage"                    vehicle part designed to hold, store
                for which you may be held liable, if                    or receive them. This exception does
                you are a contractor and the owner                      not apply if the "bodily injury" or
                or lessee of such premises, site or                     "property damage" arises out of the
                location has been added to your pol-                    intentional discharge, dispersal or re-
                icy as an additional insured with re-                   lease of the fuels, lubricants or other
                spect to your ongoing operations                        operating fluids, or if such fuels, lu-
                performed for that additional insured                   bricants or other operating fluids are
                at that premises, site or location and                  brought on or to the premises, site or
                such premises, site or location is not                  location with the intent that they be
                and never was owned or occupied                         discharged, dispersed or released as
                by, or rented or loaned to, any in-                     part of the operations being per-
                sured, other than that additional in-                   formed by such insured, contractor
                sured; or                                               or subcontractor;
           (iii) "Bodily injury" or "property damage"              (ii) "Bodily injury" or "property damage"
                 arising out of heat, smoke or fumes                    sustained within a building and
                 from a "hostile fire";                                 caused by the release of gases,
        (b) At or from any premises, site or location                   fumes or vapors from materials
             which is or was at any time used by or                     brought into that building in connec-
                                                                        tion with operations being performed
             for any insured or others for the han-
             dling, storage, disposal, processing or                    by you or on your behalf by a con-
             treatment of waste;                                        tractor or subcontractor; or
                                                                  (iii) "Bodily injury" or "property damage"
        (c) Which are or were at any time trans-
                                                                        arising out of heat, smoke or fumes
            ported, handled, stored, treated, dis-
            posed of, or processed as waste by or                       from a "hostile fire".
            for:                                               (e) At or from any premises, site or location
                                                                    on which any insured or any contractors
            (i) Any insured; or
                                                                    or subcontractors working directly or in-
           (ii) Any person or organization for whom                 directly on any insured's behalf are per-
                you may be legally responsible; or                  forming operations if the operations are
                                                                    to test for, monitor, clean up, remove,
                                                                    contain, treat, detoxify or neutralize, or
                                                                    in any way respond to, or assess the ef-
                                                                    fects of, "pollutants".




CG 00 01 12 07                                      36 Inc., 2006
                                          © ISO Properties,                                   Exhibit
                                                                                                Page  B -3
                                                                                                         024
                                                                                                           of 16   
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 37 of 161 Page ID #:114



     (2) Any loss, cost or expense arising out of             (5) "Bodily injury" or "property damage" arising
         any:                                                       out of:
        (a) Request, demand, order or statutory or                 (a) The operation of machinery or equip-
            regulatory requirement that any insured                    ment that is attached to, or part of, a
            or others test for, monitor, clean up, re-                 land vehicle that would qualify under the
            move, contain, treat, detoxify or neutral-                 definition of "mobile equipment" if it were
            ize, or in any way respond to, or assess                   not subject to a compulsory or financial
            the effects of, "pollutants"; or                           responsibility law or other motor vehicle
         (b) Claim or "suit" by or on behalf of a gov-                 insurance law in the state where it is li-
             ernmental authority for damages be-                       censed or principally garaged; or
             cause of testing for, monitoring, cleaning            (b) the operation of any of the machinery or
             up, removing, containing, treating, de-                   equipment listed in Paragraph f.(2) or
             toxifying or neutralizing, or in any way                  f.(3) of the definition of "mobile equip-
             responding to, or assessing the effects                   ment".
             of, "pollutants".                              h. Mobile Equipment
          However, this paragraph does not apply to            "Bodily injury" or "property damage" arising out
          liability for damages because of "property           of:
          damage" that the insured would have in the
          absence of such request, demand, order or           (1) The transportation of "mobile equipment" by
          statutory or regulatory requirement, or such            an "auto" owned or operated by or rented or
          claim or "suit" by or on behalf of a govern-            loaned to any insured; or
          mental authority.                                   (2) The use of "mobile equipment" in, or while
   g. Aircraft, Auto Or Watercraft                                in practice for, or while being prepared for,
                                                                  any prearranged racing, speed, demolition,
      "Bodily injury" or "property damage" arising out            or stunting activity.
      of the ownership, maintenance, use or en-
      trustment to others of any aircraft, "auto" or wa-    i. War
      tercraft owned or operated by or rented or               "Bodily injury" or "property damage", however
      loaned to any insured. Use includes operation            caused, arising, directly or indirectly, out of:
      and "loading or unloading".
                                                              (1) War, including undeclared or civil war;
      This exclusion applies even if the claims
                                                              (2) Warlike action by a military force, including
      against any insured allege negligence or other
                                                                  action in hindering or defending against an
      wrongdoing in the supervision, hiring, employ-              actual or expected attack, by any govern-
      ment, training or monitoring of others by that              ment, sovereign or other authority using
      insured, if the "occurrence" which caused the
                                                                  military personnel or other agents; or
      "bodily injury" or "property damage" involved
      the ownership, maintenance, use or entrust-             (3) Insurrection, rebellion, revolution, usurped
      ment to others of any aircraft, "auto" or water-            power, or action taken by governmental au-
      craft that is owned or operated by or rented or             thority in hindering or defending against any
      loaned to any insured.                                      of these.
      This exclusion does not apply to:                     j. Damage To Property
     (1) A watercraft while ashore on premises you             "Property damage" to:
          own or rent;                                        (1) Property you own, rent, or occupy, including
     (2) A watercraft you do not own that is:                     any costs or expenses incurred by you, or
                                                                  any other person, organization or entity, for
        (a) Less than 26 feet long; and                           repair, replacement, enhancement, restora-
        (b) Not being used to carry persons or                    tion or maintenance of such property for
             property for a charge;                               any reason, including prevention of injury to
     (3) Parking an "auto" on, or on the ways next                a person or damage to another's property;
         to, premises you own or rent, provided the           (2) Premises you sell, give away or abandon, if
         "auto" is not owned by or rented or loaned               the "property damage" arises out of any
         to you or the insured;                                   part of those premises;
     (4) Liability assumed under any "insured con-            (3) Property loaned to you;
         tract" for the ownership, maintenance or
                                                              (4) Personal property in the care, custody or
         use of aircraft or watercraft; or
                                                                  control of the insured;




Page 4 of 16                                          37 Inc., 2006
                                            © ISO Properties,                                   Exhibit
                                                                                                CG  00B01
                                                                                                        - 025
                                                                                                           12 07     
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 38 of 161 Page ID #:115



     (5) That particular part of real property on               This exclusion does not apply to the loss of use
          which you or any contractors or subcontrac-           of other property arising out of sudden and ac-
          tors working directly or indirectly on your           cidental physical injury to "your product" or
          behalf are performing operations, if the              "your work" after it has been put to its intended
          "property damage" arises out of those op-             use.
          erations; or                                       n. Recall Of Products, Work Or Impaired
     (6) That particular part of any property that              Property
          must be restored, repaired or replaced be-            Damages claimed for any loss, cost or ex-
          cause "your work" was incorrectly per-                pense incurred by you or others for the loss of
          formed on it.                                         use, withdrawal, recall, inspection, repair, re-
      Paragraphs (1), (3) and (4) of this exclusion do          placement, adjustment, removal or disposal of:
      not apply to "property damage" (other than               (1) "Your product";
      damage by fire) to premises, including the con-
      tents of such premises, rented to you for a pe-          (2) "Your work"; or
      riod of 7 or fewer consecutive days. A separate          (3) "Impaired property";
      limit of insurance applies to Damage To Prem-             if such product, work, or property is withdrawn
      ises Rented To You as described in Section III            or recalled from the market or from use by any
      – Limits Of Insurance.
                                                                person or organization because of a known or
      Paragraph (2) of this exclusion does not apply            suspected defect, deficiency, inadequacy or
      if the premises are "your work" and were never            dangerous condition in it.
      occupied, rented or held for rental by you.
                                                             o. Personal And Advertising Injury
      Paragraphs (3), (4), (5) and (6) of this exclu-
                                                                "Bodily injury" arising out of "personal and ad-
      sion do not apply to liability assumed under a
                                                                vertising injury".
      sidetrack agreement.
                                                             p. Electronic Data
      Paragraph (6) of this exclusion does not apply
      to "property damage" included in the "products-           Damages arising out of the loss of, loss of use
      completed operations hazard".                             of, damage to, corruption of, inability to access,
                                                                or inability to manipulate electronic data.
   k. Damage To Your Product
                                                                As used in this exclusion, electronic data
      "Property damage" to "your product" arising out           means information, facts or programs stored as
      of it or any part of it.                                  or on, created or used on, or transmitted to or
   l. Damage To Your Work                                       from computer software, including systems and
      "Property damage" to "your work" arising out of           applications software, hard or floppy disks, CD-
      it or any part of it and included in the "products-       ROMS, tapes, drives, cells, data processing
      completed operations hazard".                             devices or any other media which are used
                                                                with electronically controlled equipment.
      This exclusion does not apply if the damaged
      work or the work out of which the damage               q. Distribution Of Material In Violation Of
      arises was performed on your behalf by a sub-             Statutes
      contractor.                                               "Bodily injury" or "property damage" arising di-
  m. Damage To Impaired Property Or Property                    rectly or indirectly out of any action or omission
     Not Physically Injured                                     that violates or is alleged to violate:
     "Property damage" to "impaired property" or               (1) The Telephone Consumer Protection Act
     property that has not been physically injured,                (TCPA), including any amendment of or
     arising out of:                                               addition to such law; or
     (1) A defect, deficiency, inadequacy or danger-           (2) The CAN-SPAM Act of 2003, including any
         ous condition in "your product" or "your                  amendment of or addition to such law; or
         work"; or                                             (3) Any statute, ordinance or regulation, other
     (2) A delay or failure by you or anyone acting                than the TCPA or CAN-SPAM Act of 2003,
         on your behalf to perform a contract or                   that prohibits or limits the sending, transmit-
         agreement in accordance with its terms.                   ting, communicating or distribution of mate-
                                                                   rial or information.




CG 00 01 12 07                                         38 Inc., 2006
                                             © ISO Properties,                                   Exhibit
                                                                                                   Page  B -5
                                                                                                            026
                                                                                                              of 16   
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 39 of 161 Page ID #:116



   Exclusions c. through n. do not apply to damage           c. Material Published Prior To Policy Period
   by fire to premises while rented to you or tempo-            "Personal and advertising injury" arising out of
   rarily occupied by you with permission of the                oral or written publication of material whose
   owner. A separate limit of insurance applies to this         first publication took place before the beginning
   coverage as described in Section III – Limits Of             of the policy period.
   Insurance.
                                                             d. Criminal Acts
COVERAGE B PERSONAL AND ADVERTISING
INJURY LIABILITY                                                "Personal and advertising injury" arising out of
                                                                a criminal act committed by or at the direction
1. Insuring Agreement                                           of the insured.
   a. We will pay those sums that the insured be-            e. Contractual Liability
       comes legally obligated to pay as damages
       because of "personal and advertising injury" to          "Personal and advertising injury" for which the
       which this insurance applies. We will have the           insured has assumed liability in a contract or
       right and duty to defend the insured against             agreement. This exclusion does not apply to li-
       any "suit" seeking those damages. However,               ability for damages that the insured would have
       we will have no duty to defend the insured               in the absence of the contract or agreement.
       against any "suit" seeking damages for "per-          f. Breach Of Contract
       sonal and advertising injury" to which this in-
                                                                "Personal and advertising injury" arising out of
       surance does not apply. We may, at our discre-
                                                                a breach of contract, except an implied con-
       tion, investigate any offense and settle any             tract to use another's advertising idea in your
       claim or "suit" that may result. But:                    "advertisement".
      (1) The amount we will pay for damages is
                                                             g. Quality Or Performance Of Goods – Failure
           limited as described in Section III – Limits
                                                                 To Conform To Statements
           Of Insurance; and
                                                                 "Personal and advertising injury" arising out of
      (2) Our right and duty to defend end when we               the failure of goods, products or services to
           have used up the applicable limit of insur-           conform with any statement of quality or per-
           ance in the payment of judgments or set-
                                                                 formance made in your "advertisement".
           tlements under Coverages A or B or medi-
           cal expenses under Coverage C.                    h. Wrong Description Of Prices
       No other obligation or liability to pay sums or           "Personal and advertising injury" arising out of
       perform acts or services is covered unless ex-            the wrong description of the price of goods,
       plicitly provided for under Supplementary Pay-            products or services stated in your "advertise-
       ments – Coverages A and B.                                ment".
   b. This insurance applies to "personal and adver-          i. Infringement Of Copyright, Patent,
       tising injury" caused by an offense arising out           Trademark Or Trade Secret
       of your business but only if the offense was              "Personal and advertising injury" arising out of
       committed in the "coverage territory" during the          the infringement of copyright, patent, trade-
       policy period.                                            mark, trade secret or other intellectual property
2. Exclusions                                                    rights. Under this exclusion, such other intellec-
                                                                 tual property rights do not include the use of
   This insurance does not apply to:                             another's advertising idea in your "advertise-
   a. Knowing Violation Of Rights Of Another                     ment".
      "Personal and advertising injury" caused by or             However, this exclusion does not apply to in-
      at the direction of the insured with the knowl-            fringement, in your "advertisement", of copy-
      edge that the act would violate the rights of an-          right, trade dress or slogan.
      other and would inflict "personal and advertis-
                                                              j. Insureds In Media And Internet Type
      ing injury".                                               Businesses
   b. Material Published With Knowledge Of                       "Personal and advertising injury" committed by
      Falsity                                                    an insured whose business is:
      "Personal and advertising injury" arising out of
                                                               (1) Advertising, broadcasting, publishing or
      oral or written publication of material, if done by
                                                                   telecasting;
      or at the direction of the insured with knowl-
      edge of its falsity.                                     (2) Designing or determining content of web-
                                                                   sites for others; or




Page 6 of 16                                           39 Inc., 2006
                                             © ISO Properties,                                   Exhibit
                                                                                                 CG  00B01
                                                                                                         - 027
                                                                                                            12 07     
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 40 of 161 Page ID #:117



     (3) An Internet search, access, content or                (3) Insurrection, rebellion, revolution, usurped
          service provider.                                        power, or action taken by governmental au-
      However, this exclusion does not apply to                    thority in hindering or defending against any
      Paragraphs 14.a., b. and c. of "personal and                 of these.
      advertising injury" under the Definitions Sec-        p. Distribution Of Material In Violation Of
      tion.                                                    Statutes
      For the purposes of this exclusion, the placing          "Personal and advertising injury" arising di-
      of frames, borders or links, or advertising, for         rectly or indirectly out of any action or omission
      you or others anywhere on the Internet, is not           that violates or is alleged to violate:
      by itself, considered the business of advertis-          (1) The Telephone Consumer Protection Act
      ing, broadcasting, publishing or telecasting.                (TCPA), including any amendment of or
   k. Electronic Chatrooms Or Bulletin Boards                      addition to such law; or
      "Personal and advertising injury" arising out of         (2) The CAN-SPAM Act of 2003, including any
      an electronic chatroom or bulletin board the in-             amendment of or addition to such law; or
      sured hosts, owns, or over which the insured             (3) Any statute, ordinance or regulation, other
      exercises control.                                           than the TCPA or CAN-SPAM Act of 2003,
   l. Unauthorized Use Of Another's Name Or                        that prohibits or limits the sending, transmit-
      Product                                                      ting, communicating or distribution of mate-
     "Personal and advertising injury" arising out of              rial or information.
     the unauthorized use of another's name or           COVERAGE C MEDICAL PAYMENTS
     product in your e-mail address, domain name         1. Insuring Agreement
     or metatag, or any other similar tactics to mis-
     lead another's potential customers.                    a. We will pay medical expenses as described
                                                                below for "bodily injury" caused by an accident:
  m. Pollution
                                                               (1) On premises you own or rent;
     "Personal and advertising injury" arising out of
     the actual, alleged or threatened discharge,              (2) On ways next to premises you own or rent;
     dispersal, seepage, migration, release or es-                 or
     cape of "pollutants" at any time.                        (3) Because of your operations;
  n. Pollution-Related                                         provided that:
     Any loss, cost or expense arising out of any:                (a) The accident takes place in the "cover-
    (1) Request, demand, order or statutory or                         age territory" and during the policy pe-
        regulatory requirement that any insured or                     riod;
        others test for, monitor, clean up, remove,               (b) The expenses are incurred and reported
        contain, treat, detoxify or neutralize, or in                  to us within one year of the date of the
        any way respond to, or assess the effects                      accident; and
        of, "pollutants"; or
                                                                  (c) The injured person submits to examina-
    (2) Claim or suit by or on behalf of a govern-                     tion, at our expense, by physicians of
        mental authority for damages because of                        our choice as often as we reasonably
        testing for, monitoring, cleaning up, remov-                   require.
        ing, containing, treating, detoxifying or neu-
                                                            b. We will make these payments regardless of
        tralizing, or in any way responding to, or             fault. These payments will not exceed the ap-
        assessing the effects of, "pollutants".                plicable limit of insurance. We will pay reason-
  o. War                                                       able expenses for:
     "Personal and advertising injury", however               (1) First aid administered at the time of an
     caused, arising, directly or indirectly, out of:              accident;
     (1) War, including undeclared or civil war;              (2) Necessary medical, surgical, x-ray and
     (2) Warlike action by a military force, including             dental services, including prosthetic de-
         action in hindering or defending against an               vices; and
         actual or expected attack, by any govern-            (3) Necessary ambulance, hospital, profes-
         ment, sovereign or other authority using                  sional nursing and funeral services.
         military personnel or other agents; or




CG 00 01 12 07                                      40 Inc., 2006
                                          © ISO Properties,                                      Exhibit
                                                                                                   Page  B -7
                                                                                                            028
                                                                                                              of 16   
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 41 of 161 Page ID #:118



2. Exclusions                                                 f. Prejudgment interest awarded against the
   We will not pay expenses for "bodily injury":                 insured on that part of the judgment we pay. If
                                                                 we make an offer to pay the applicable limit of
   a. Any Insured                                                insurance, we will not pay any prejudgment in-
      To any insured, except "volunteer workers".                terest based on that period of time after the of-
                                                                 fer.
   b. Hired Person
                                                              g. All interest on the full amount of any judgment
      To a person hired to do work for or on behalf of
                                                                 that accrues after entry of the judgment and
      any insured or a tenant of any insured.
                                                                 before we have paid, offered to pay, or depos-
   c. Injury On Normally Occupied Premises                       ited in court the part of the judgment that is
      To a person injured on that part of premises               within the applicable limit of insurance.
      you own or rent that the person normally occu-          These payments will not reduce the limits of insur-
      pies.                                                   ance.
   d. Workers Compensation And Similar Laws                2. If we defend an insured against a "suit" and an
      To a person, whether or not an "employee" of            indemnitee of the insured is also named as a party
      any insured, if benefits for the "bodily injury"        to the "suit", we will defend that indemnitee if all of
      are payable or must be provided under a work-           the following conditions are met:
      ers' compensation or disability benefits law or a       a. The "suit" against the indemnitee seeks dam-
      similar law.                                                ages for which the insured has assumed the li-
   e. Athletics Activities                                        ability of the indemnitee in a contract or agree-
                                                                  ment that is an "insured contract";
      To a person injured while practicing, instructing
      or participating in any physical exercises or           b. This insurance applies to such liability as-
      games, sports, or athletic contests.                        sumed by the insured;
    f. Products-Completed Operations Hazard                   c. The obligation to defend, or the cost of the
                                                                  defense of, that indemnitee, has also been as-
       Included within the "products-completed opera-             sumed by the insured in the same "insured
       tions hazard".                                             contract";
   g. Coverage A Exclusions                                   d. The allegations in the "suit" and the information
       Excluded under Coverage A.                                 we know about the "occurrence" are such that
SUPPLEMENTARY PAYMENTS – COVERAGES A                              no conflict appears to exist between the inter-
AND B                                                             ests of the insured and the interests of the in-
                                                                  demnitee;
1. We will pay, with respect to any claim we investi-
   gate or settle, or any "suit" against an insured we        e. The indemnitee and the insured ask us to
   defend:                                                       conduct and control the defense of that indem-
                                                                 nitee against such "suit" and agree that we can
   a. All expenses we incur.                                     assign the same counsel to defend the insured
   b. Up to $250 for cost of bail bonds required                 and the indemnitee; and
       because of accidents or traffic law violations         f. The indemnitee:
       arising out of the use of any vehicle to which
       the Bodily Injury Liability Coverage applies. We         (1) Agrees in writing to:
       do not have to furnish these bonds.                          (a) Cooperate with us in the investigation,
   c. The cost of bonds to release attachments, but                     settlement or defense of the "suit";
       only for bond amounts within the applicable                  (b) Immediately send us copies of any
       limit of insurance. We do not have to furnish                    demands, notices, summonses or legal
       these bonds.                                                     papers received in connection with the
   d. All reasonable expenses incurred by the in-                       "suit";
       sured at our request to assist us in the investi-            (c) Notify any other insurer whose coverage
       gation or defense of the claim or "suit", includ-                is available to the indemnitee; and
       ing actual loss of earnings up to $250 a day
                                                                    (d) Cooperate with us with respect to coor-
       because of time off from work.
                                                                        dinating other applicable insurance
   e. All court costs taxed against the insured in the                  available to the indemnitee; and
      "suit". However, these payments do not include             (2) Provides us with written authorization to:
      attorneys' fees or attorneys' expenses taxed
      against the insured.                                          (a) Obtain records and other information
                                                                        related to the "suit"; and




Page 8 of 16                                          41 Inc., 2006
                                            © ISO Properties,                                      Exhibit
                                                                                                   CG  00B01
                                                                                                           - 029
                                                                                                              12 07     
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 42 of 161 Page ID #:119



          (b) Conduct and control the defense of the      2. Each of the following is also an insured:
              indemnitee in such "suit".                     a. Your "volunteer workers" only while performing
   So long as the above conditions are met, attor-              duties related to the conduct of your business,
   neys' fees incurred by us in the defense of that in-         or your "employees", other than either your
   demnitee, necessary litigation expenses incurred             "executive officers" (if you are an organization
   by us and necessary litigation expenses incurred             other than a partnership, joint venture or limited
   by the indemnitee at our request will be paid as             liability company) or your managers (if you are
   Supplementary Payments. Notwithstanding the                  a limited liability company), but only for acts
   provisions of Paragraph 2.b.(2) of Section I – Cov-          within the scope of their employment by you or
   erage A – Bodily Injury And Property Damage Li-              while performing duties related to the conduct
   ability, such payments will not be deemed to be              of your business. However, none of these "em-
   damages for "bodily injury" and "property damage"            ployees" or "volunteer workers" are insureds
   and will not reduce the limits of insurance.                 for:
   Our obligation to defend an insured's indemnitee            (1) "Bodily injury" or "personal and advertising
   and to pay for attorneys' fees and necessary litiga-              injury":
   tion expenses as Supplementary Payments ends                    (a) To you, to your partners or members (if
   when we have used up the applicable limit of in-                    you are a partnership or joint venture),
   surance in the payment of judgments or settle-                      to your members (if you are a limited li-
   ments or the conditions set forth above, or the                     ability company), to a co-"employee"
   terms of the agreement described in Paragraph f.                    while in the course of his or her em-
   above, are no longer met.                                           ployment or performing duties related to
SECTION II – WHO IS AN INSURED                                         the conduct of your business, or to your
1. If you are designated in the Declarations as:                       other "volunteer workers" while perform-
                                                                       ing duties related to the conduct of your
   a. An individual, you and your spouse are insur-                    business;
       eds, but only with respect to the conduct of a
       business of which you are the sole owner.                   (b) To the spouse, child, parent, brother or
                                                                       sister of that co-"employee" or "volun-
   b. A partnership or joint venture, you are an in-                   teer worker" as a consequence of Para-
       sured. Your members, your partners, and their                   graph (1)(a) above;
       spouses are also insureds, but only with re-
       spect to the conduct of your business.                      (c) For which there is any obligation to
                                                                       share damages with or repay someone
   c. A limited liability company, you are an insured.                 else who must pay damages because of
       Your members are also insureds, but only with                   the injury described in Paragraphs (1)(a)
       respect to the conduct of your business. Your                   or (b) above; or
       managers are insureds, but only with respect
       to their duties as your managers.                           (d) Arising out of his or her providing or
                                                                       failing to provide professional health
   d. An organization other than a partnership, joint                  care services.
      venture or limited liability company, you are an
      insured. Your "executive officers" and directors          (2) "Property damage" to property:
      are insureds, but only with respect to their du-             (a) Owned, occupied or used by,
      ties as your officers or directors. Your stock-              (b) Rented to, in the care, custody or con-
      holders are also insureds, but only with respect                 trol of, or over which physical control is
      to their liability as stockholders.                              being exercised for any purpose by
   e. A trust, you are an insured. Your trustees are                you, any of your "employees", "volunteer
      also insureds, but only with respect to their du-             workers", any partner or member (if you are
      ties as trustees.                                             a partnership or joint venture), or any mem-
                                                                    ber (if you are a limited liability company).




CG 00 01 12 07                                       42 Inc., 2006
                                           © ISO Properties,                                     Exhibit
                                                                                                   Page  B -9
                                                                                                            030
                                                                                                              of 16   
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 43 of 161 Page ID #:120



   b. Any person (other than your "employee" or              3. The Products-Completed Operations Aggregate
      "volunteer worker"), or any organization while             Limit is the most we will pay under Coverage A for
      acting as your real estate manager.                        damages because of "bodily injury" and "property
   c. Any person or organization having proper                   damage" included in the "products-completed op-
      temporary custody of your property if you die,             erations hazard".
      but only:                                              4. Subject to Paragraph 2. above, the Personal and
     (1) With respect to liability arising out of the            Advertising Injury Limit is the most we will pay un-
          maintenance or use of that property; and               der Coverage B for the sum of all damages be-
                                                                 cause of all "personal and advertising injury" sus-
     (2) Until your legal representative has been                tained by any one person or organization.
          appointed.
                                                             5. Subject to Paragraph 2. or 3. above, whichever
   d. Your legal representative if you die, but only             applies, the Each Occurrence Limit is the most we
      with respect to duties as such. That represen-             will pay for the sum of:
      tative will have all your rights and duties under
      this Coverage Part.                                        a. Damages under Coverage A; and
3. Any organization you newly acquire or form, other             b. Medical expenses under Coverage C
    than a partnership, joint venture or limited liability       because of all "bodily injury" and "property dam-
    company, and over which you maintain ownership               age" arising out of any one "occurrence".
    or majority interest, will qualify as a Named In-        6. Subject to Paragraph 5. above, the Damage To
    sured if there is no other similar insurance avail-          Premises Rented To You Limit is the most we will
    able to that organization. However:                          pay under Coverage A for damages because of
    a. Coverage under this provision is afforded only            "property damage" to any one premises, while
       until the 90th day after you acquire or form the          rented to you, or in the case of damage by fire,
       organization or the end of the policy period,             while rented to you or temporarily occupied by you
       whichever is earlier;                                     with permission of the owner.
    b. Coverage A does not apply to "bodily injury" or       7. Subject to Paragraph 5. above, the Medical Ex-
       "property damage" that occurred before you                pense Limit is the most we will pay under Cover-
       acquired or formed the organization; and                  age C for all medical expenses because of "bodily
    c. Coverage B does not apply to "personal and                injury" sustained by any one person.
       advertising injury" arising out of an offense         The Limits of Insurance of this Coverage Part apply
       committed before you acquired or formed the           separately to each consecutive annual period and to
       organization.                                         any remaining period of less than 12 months, starting
No person or organization is an insured with respect         with the beginning of the policy period shown in the
to the conduct of any current or past partnership, joint     Declarations, unless the policy period is extended
venture or limited liability company that is not shown       after issuance for an additional period of less than 12
as a Named Insured in the Declarations.                      months. In that case, the additional period will be
                                                             deemed part of the last preceding period for purposes
SECTION III – LIMITS OF INSURANCE                            of determining the Limits of Insurance.
1. The Limits of Insurance shown in the Declarations         SECTION IV – COMMERCIAL GENERAL LIABILITY
    and the rules below fix the most we will pay re-         CONDITIONS
    gardless of the number of:
                                                             1. Bankruptcy
   a. Insureds;
                                                                 Bankruptcy or insolvency of the insured or of the
   b. Claims made or "suits" brought; or                         insured's estate will not relieve us of our obliga-
   c. Persons or organizations making claims or                  tions under this Coverage Part.
      bringing "suits".                                      2. Duties In The Event Of Occurrence, Offense,
2. The General Aggregate Limit is the most we will               Claim Or Suit
   pay for the sum of:                                           a. You must see to it that we are notified as soon
   a. Medical expenses under Coverage C;                             as practicable of an "occurrence" or an offense
   b. Damages under Coverage A, except damages                       which may result in a claim. To the extent pos-
      because of "bodily injury" or "property damage"                sible, notice should include:
      included in the "products-completed operations                (1) How, when and where the "occurrence" or
      hazard"; and                                                       offense took place;
   c. Damages under Coverage B.                                    (2) The names and addresses of any injured
                                                                       persons and witnesses; and




Page 10 of 16                                          43 Inc., 2006
                                             © ISO Properties,                                      Exhibit
                                                                                                    CG  00B01
                                                                                                            - 031
                                                                                                               12 07    
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 44 of 161 Page ID #:121



     (3) The nature and location of any injury or        4. Other Insurance
          damage arising out of the "occurrence" or         If other valid and collectible insurance is available
          offense.                                          to the insured for a loss we cover under Cover-
   b. If a claim is made or "suit" is brought against       ages A or B of this Coverage Part, our obligations
      any insured, you must:                                are limited as follows:
     (1) Immediately record the specifics of the            a. Primary Insurance
          claim or "suit" and the date received; and           This insurance is primary except when Para-
     (2) Notify us as soon as practicable.                     graph b. below applies. If this insurance is pri-
      You must see to it that we receive written no-           mary, our obligations are not affected unless
      tice of the claim or "suit" as soon as practica-         any of the other insurance is also primary.
      ble.                                                     Then, we will share with all that other insur-
                                                               ance by the method described in Paragraph c.
   c. You and any other involved insured must:                 below.
     (1) Immediately send us copies of any de-              b. Excess Insurance
         mands, notices, summonses or legal pa-
         pers received in connection with the claim           (1) This insurance is excess over:
         or "suit";                                              (a) Any of the other insurance, whether
     (2) Authorize us to obtain records and other                     primary, excess, contingent or on any
         information;                                                 other basis:
     (3) Cooperate with us in the investigation or                    (i) That is Fire, Extended Coverage,
         settlement of the claim or defense against                       Builder's Risk, Installation Risk or
         the "suit"; and                                                  similar coverage for "your work";
     (4) Assist us, upon our request, in the en-                     (ii) That is Fire insurance for premises
           forcement of any right against any person                      rented to you or temporarily occu-
           or organization which may be liable to the                     pied by you with permission of the
           insured because of injury or damage to                         owner;
           which this insurance may also apply.                     (iii) That is insurance purchased by you
   d. No insured will, except at that insured's own                       to cover your liability as a tenant for
      cost, voluntarily make a payment, assume any                        "property damage" to premises
      obligation, or incur any expense, other than for                    rented to you or temporarily occu-
      first aid, without our consent.                                     pied by you with permission of the
                                                                          owner; or
3. Legal Action Against Us
                                                                     (iv) If the loss arises out of the mainte-
   No person or organization has a right under this                        nance or use of aircraft, "autos" or
   Coverage Part:                                                          watercraft to the extent not subject to
   a. To join us as a party or otherwise bring us into                     Exclusion g. of Section I – Coverage
      a "suit" asking for damages from an insured; or                      A – Bodily Injury And Property Dam-
                                                                           age Liability.
   b. To sue us on this Coverage Part unless all of
       its terms have been fully complied with.                   (b) Any other primary insurance available to
                                                                       you covering liability for damages aris-
   A person or organization may sue us to recover on
   an agreed settlement or on a final judgment                         ing out of the premises or operations, or
   against an insured; but we will not be liable for                   the products and completed operations,
                                                                       for which you have been added as an
   damages that are not payable under the terms of
   this Coverage Part or that are in excess of the ap-                 additional insured by attachment of an
   plicable limit of insurance. An agreed settlement                   endorsement.
   means a settlement and release of liability signed          (2) When this insurance is excess, we will have
   by us, the insured and the claimant or the claim-               no duty under Coverages A or B to defend
   ant's legal representative.                                     the insured against any "suit" if any other
                                                                   insurer has a duty to defend the insured
                                                                   against that "suit". If no other insurer de-
                                                                   fends, we will undertake to do so, but we
                                                                   will be entitled to the insured's rights
                                                                   against all those other insurers.




CG 00 01 12 07                                      44 Inc., 2006
                                          © ISO Properties,                                      Exhibit
                                                                                                  PageB11- 032
                                                                                                             of 16   
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 45 of 161 Page ID #:122



      (3) When this insurance is excess over other              c. We have issued this policy in reliance upon
          insurance, we will pay only our share of the             your representations.
          amount of the loss, if any, that exceeds the       7. Separation Of Insureds
          sum of:
                                                                Except with respect to the Limits of Insurance, and
         (a) The total amount that all such other               any rights or duties specifically assigned in this
              insurance would pay for the loss in the           Coverage Part to the first Named Insured, this in-
              absence of this insurance; and                    surance applies:
         (b) The total of all deductible and self-              a. As if each Named Insured were the only
              insured amounts under all that other in-             Named Insured; and
              surance.
                                                                b. Separately to each insured against whom claim
      (4) We will share the remaining loss, if any,                is made or "suit" is brought.
          with any other insurance that is not de-
          scribed in this Excess Insurance provision         8. Transfer Of Rights Of Recovery Against Others
          and was not bought specifically to apply in           To Us
          excess of the Limits of Insurance shown in            If the insured has rights to recover all or part of
          the Declarations of this Coverage Part.               any payment we have made under this Coverage
   c. Method Of Sharing                                         Part, those rights are transferred to us. The in-
                                                                sured must do nothing after loss to impair them. At
      If all of the other insurance permits contribution        our request, the insured will bring "suit" or transfer
      by equal shares, we will follow this method               those rights to us and help us enforce them.
      also. Under this approach each insurer con-
      tributes equal amounts until it has paid its ap-       9. When We Do Not Renew
      plicable limit of insurance or none of the loss           If we decide not to renew this Coverage Part, we
      remains, whichever comes first.                           will mail or deliver to the first Named Insured
      If any of the other insurance does not permit             shown in the Declarations written notice of the
      contribution by equal shares, we will contribute          nonrenewal not less than 30 days before the expi-
      by limits. Under this method, each insurer's              ration date.
      share is based on the ratio of its applicable             If notice is mailed, proof of mailing will be sufficient
      limit of insurance to the total applicable limits of      proof of notice.
      insurance of all insurers.                             SECTION V – DEFINITIONS
5. Premium Audit                                             1. "Advertisement" means a notice that is broadcast
   a. We will compute all premiums for this Cover-              or published to the general public or specific mar-
      age Part in accordance with our rules and                 ket segments about your goods, products or ser-
      rates.                                                    vices for the purpose of attracting customers or
   b. Premium shown in this Coverage Part as ad-                supporters. For the purposes of this definition:
      vance premium is a deposit premium only. At               a. Notices that are published include material
      the close of each audit period we will compute               placed on the Internet or on similar electronic
      the earned premium for that period and send                  means of communication; and
      notice to the first Named Insured. The due date           b. Regarding web-sites, only that part of a web-
      for audit and retrospective premiums is the                  site that is about your goods, products or ser-
      date shown as the due date on the bill. If the
                                                                   vices for the purposes of attracting customers
      sum of the advance and audit premiums paid                   or supporters is considered an advertisement.
      for the policy period is greater than the earned
      premium, we will return the excess to the first        2. "Auto" means:
      Named Insured.                                            a. A land motor vehicle, trailer or semitrailer de-
   c. The first Named Insured must keep records of                 signed for travel on public roads, including any
      the information we need for premium computa-                 attached machinery or equipment; or
      tion, and send us copies at such times as we              b. Any other land vehicle that is subject to a com-
      may request.                                                 pulsory or financial responsibility law or other
6. Representations                                                 motor vehicle insurance law in the state where
                                                                   it is licensed or principally garaged.
   By accepting this policy, you agree:
                                                                However, "auto" does not include "mobile equip-
   a. The statements in the Declarations are accu-              ment".
      rate and complete;
   b. Those statements are based upon representa-
      tions you made to us; and



Page 12 of 16                                          45 Inc., 2006
                                             © ISO Properties,                                        Exhibit
                                                                                                      CG  00B01
                                                                                                              - 033
                                                                                                                 12 07     
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 46 of 161 Page ID #:123



3. "Bodily injury" means bodily injury, sickness or        9. "Insured contract" means:
   disease sustained by a person, including death re-         a. A contract for a lease of premises. However,
   sulting from any of these at any time.                         that portion of the contract for a lease of prem-
4. "Coverage territory" means:                                    ises that indemnifies any person or organiza-
   a. The United States of America (including its                 tion for damage by fire to premises while
       territories and possessions), Puerto Rico and              rented to you or temporarily occupied by you
       Canada;                                                    with permission of the owner is not an "insured
                                                                  contract";
   b. International waters or airspace, but only if the
       injury or damage occurs in the course of travel        b. A sidetrack agreement;
       or transportation between any places included          c. Any easement or license agreement, except in
       in Paragraph a. above; or                                 connection with construction or demolition op-
   c. All other parts of the world if the injury or dam-         erations on or within 50 feet of a railroad;
       age arises out of:                                     d. An obligation, as required by ordinance, to
      (1) Goods or products made or sold by you in               indemnify a municipality, except in connection
           the territory described in Paragraph a.               with work for a municipality;
           above;                                             e. An elevator maintenance agreement;
      (2) The activities of a person whose home is in         f. That part of any other contract or agreement
           the territory described in Paragraph a.               pertaining to your business (including an in-
           above, but is away for a short time on your           demnification of a municipality in connection
           business; or                                          with work performed for a municipality) under
      (3) "Personal and advertising injury" offenses             which you assume the tort liability of another
           that take place through the Internet or simi-         party to pay for "bodily injury" or "property dam-
           lar electronic means of communication                 age" to a third person or organization. Tort li-
                                                                 ability means a liability that would be imposed
   provided the insured's responsibility to pay dam-             by law in the absence of any contract or
   ages is determined in a "suit" on the merits, in the          agreement.
   territory described in Paragraph a. above or in a
   settlement we agree to.                                       Paragraph f. does not include that part of any
                                                                 contract or agreement:
5. "Employee" includes a "leased worker". "Em-
   ployee" does not include a "temporary worker".               (1) That indemnifies a railroad for "bodily injury"
                                                                     or "property damage" arising out of con-
6. "Executive officer" means a person holding any of                 struction or demolition operations, within 50
   the officer positions created by your charter, con-               feet of any railroad property and affecting
   stitution, by-laws or any other similar governing                 any railroad bridge or trestle, tracks, road-
   document.                                                         beds, tunnel, underpass or crossing;
7. "Hostile fire" means one which becomes uncon-                (2) That indemnifies an architect, engineer or
   trollable or breaks out from where it was intended                surveyor for injury or damage arising out of:
   to be.
                                                                    (a) Preparing, approving, or failing to pre-
8. "Impaired property" means tangible property, other                    pare or approve, maps, shop drawings,
   than "your product" or "your work", that cannot be                    opinions, reports, surveys, field orders,
   used or is less useful because:                                       change orders or drawings and specifi-
   a. It incorporates "your product" or "your work"                      cations; or
       that is known or thought to be defective, defi-              (b) Giving directions or instructions, or
       cient, inadequate or dangerous; or                                failing to give them, if that is the primary
   b. You have failed to fulfill the terms of a contract                 cause of the injury or damage; or
       or agreement;                                             (3) Under which the insured, if an architect,
   if such property can be restored to use by the re-                engineer or surveyor, assumes liability for
   pair, replacement, adjustment or removal of "your                 an injury or damage arising out of the in-
   product" or "your work" or your fulfilling the terms              sured's rendering or failure to render pro-
   of the contract or agreement.                                     fessional services, including those listed in
                                                                     (2) above and supervisory, inspection, ar-
                                                                     chitectural or engineering activities.




CG 00 01 12 07                                        46 Inc., 2006
                                            © ISO Properties,                                      Exhibit
                                                                                                    PageB13- 034
                                                                                                               of 16    
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 47 of 161 Page ID #:124



10. "Leased worker" means a person leased to you by                  However, self-propelled vehicles with the fol-
    a labor leasing firm under an agreement between                  lowing types of permanently attached equip-
    you and the labor leasing firm, to perform duties                ment are not "mobile equipment" but will be
    related to the conduct of your business. "Leased                 considered "autos":
    worker" does not include a "temporary worker".                   (1) Equipment designed primarily for:
11. "Loading or unloading" means the handling of                        (a) Snow removal;
    property:
                                                                        (b) Road maintenance, but not construction
    a. After it is moved from the place where it is                          or resurfacing; or
        accepted for movement into or onto an aircraft,
        watercraft or "auto";                                           (c) Street cleaning;
    b. While it is in or on an aircraft, watercraft or               (2) Cherry pickers and similar devices mounted
        "auto"; or                                                       on automobile or truck chassis and used to
                                                                         raise or lower workers; and
    c. While it is being moved from an aircraft, water-
        craft or "auto" to the place where it is finally de-         (3) Air compressors, pumps and generators,
        livered;                                                         including spraying, welding, building clean-
                                                                         ing, geophysical exploration, lighting and
    but "loading or unloading" does not include the                      well servicing equipment.
    movement of property by means of a mechanical
    device, other than a hand truck, that is not at-               However, "mobile equipment" does not include
    tached to the aircraft, watercraft or "auto".                  any land vehicles that are subject to a compulsory
                                                                   or financial responsibility law or other motor vehi-
12. "Mobile equipment" means any of the following                  cle insurance law in the state where it is licensed
    types of land vehicles, including any attached ma-             or principally garaged. Land vehicles subject to a
    chinery or equipment:                                          compulsory or financial responsibility law or other
   a. Bulldozers, farm machinery, forklifts and other              motor vehicle insurance law are considered
      vehicles designed for use principally off public             "autos".
      roads;                                                   13. "Occurrence" means an accident, including con-
   b. Vehicles maintained for use solely on or next to             tinuous or repeated exposure to substantially the
      premises you own or rent;                                    same general harmful conditions.
   c. Vehicles that travel on crawler treads;                  14. "Personal and advertising injury" means injury,
   d. Vehicles, whether self-propelled or not, main-               including consequential "bodily injury", arising out
      tained primarily to provide mobility to perma-               of one or more of the following offenses:
      nently mounted:                                              a. False arrest, detention or imprisonment;
     (1) Power cranes, shovels, loaders, diggers or                b. Malicious prosecution;
          drills; or                                               c. The wrongful eviction from, wrongful entry into,
     (2) Road construction or resurfacing equipment                    or invasion of the right of private occupancy of
         such as graders, scrapers or rollers;                         a room, dwelling or premises that a person oc-
   e. Vehicles not described in Paragraph a., b., c.                   cupies, committed by or on behalf of its owner,
      or d. above that are not self-propelled and are                  landlord or lessor;
      maintained primarily to provide mobility to per-            d. Oral or written publication, in any manner, of
      manently attached equipment of the following                   material that slanders or libels a person or or-
      types:                                                         ganization or disparages a person's or organi-
     (1) Air compressors, pumps and generators,                      zation's goods, products or services;
         including spraying, welding, building clean-             e. Oral or written publication, in any manner, of
         ing, geophysical exploration, lighting and                  material that violates a person's right of pri-
         well servicing equipment; or                                vacy;
     (2) Cherry pickers and similar devices used to               f. The use of another's advertising idea in your
         raise or lower workers;                                     "advertisement"; or
    f. Vehicles not described in Paragraph a., b., c.             g. Infringing upon another's copyright, trade dress
       or d. above maintained primarily for purposes                 or slogan in your "advertisement".
       other than the transportation of persons or
       cargo.




Page 14 of 16                                            47 Inc., 2006
                                               © ISO Properties,                                      Exhibit
                                                                                                      CG  00B01
                                                                                                              - 035
                                                                                                                 12 07    
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 48 of 161 Page ID #:125



15. "Pollutants" mean any solid, liquid, gaseous or            b. Loss of use of tangible property that is not
    thermal irritant or contaminant, including smoke,             physically injured. All such loss of use shall be
    vapor, soot, fumes, acids, alkalis, chemicals and             deemed to occur at the time of the "occur-
    waste. Waste includes materials to be recycled,               rence" that caused it.
    reconditioned or reclaimed.                                 For the purposes of this insurance, electronic data
16. "Products-completed operations hazard":                     is not tangible property.
    a. Includes all "bodily injury" and "property dam-          As used in this definition, electronic data means
        age" occurring away from premises you own or            information, facts or programs stored as or on,
        rent and arising out of "your product" or "your         created or used on, or transmitted to or from com-
        work" except:                                           puter software, including systems and applications
       (1) Products that are still in your physical pos-        software, hard or floppy disks, CD-ROMS, tapes,
            session; or                                         drives, cells, data processing devices or any other
                                                                media which are used with electronically controlled
       (2) Work that has not yet been completed or              equipment.
            abandoned. However, "your work" will be
            deemed completed at the earliest of the fol-    18. "Suit" means a civil proceeding in which damages
            lowing times:                                       because of "bodily injury", "property damage" or
                                                                "personal and advertising injury" to which this in-
           (a) When all of the work called for in your          surance applies are alleged. "Suit" includes:
               contract has been completed.
                                                                a. An arbitration proceeding in which such dam-
         (b) When all of the work to be done at the                 ages are claimed and to which the insured
             job site has been completed if your con-               must submit or does submit with our consent;
             tract calls for work at more than one job              or
             site.
                                                                b. Any other alternative dispute resolution pro-
        (c) When that part of the work done at a job                ceeding in which such damages are claimed
             site has been put to its intended use by               and to which the insured submits with our con-
             any person or organization other than                  sent.
             another contractor or subcontractor
             working on the same project.                   19. "Temporary worker" means a person who is fur-
                                                                nished to you to substitute for a permanent "em-
         Work that may need service, maintenance,               ployee" on leave or to meet seasonal or short-term
         correction, repair or replacement, but which           workload conditions.
         is otherwise complete, will be treated as
         completed.                                         20. "Volunteer worker" means a person who is not
                                                                your "employee", and who donates his or her work
   b. Does not include "bodily injury" or "property             and acts at the direction of and within the scope of
      damage" arising out of:                                   duties determined by you, and is not paid a fee,
     (1) The transportation of property, unless the             salary or other compensation by you or anyone
         injury or damage arises out of a condition in          else for their work performed for you.
         or on a vehicle not owned or operated by           21. "Your product":
         you, and that condition was created by the
         "loading or unloading" of that vehicle by any          a. Means:
         insured;                                                  (1) Any goods or products, other than real
     (2) The existence of tools, uninstalled equip-                     property, manufactured, sold, handled, dis-
         ment or abandoned or unused materials; or                      tributed or disposed of by:
     (3) Products or operations for which the classi-                (a) You;
         fication, listed in the Declarations or in a                (b) Others trading under your name; or
         policy schedule, states that products-                      (c) A person or organization whose busi-
         completed operations are subject to the                          ness or assets you have acquired; and
         General Aggregate Limit.
                                                                  (2) Containers (other than vehicles), materials,
17. "Property damage" means:                                          parts or equipment furnished in connection
    a. Physical injury to tangible property, including                with such goods or products.
       all resulting loss of use of that property. All         b. Includes:
       such loss of use shall be deemed to occur at
       the time of the physical injury that caused it; or        (1) Warranties or representations made at any
                                                                      time with respect to the fitness, quality, du-
                                                                      rability, performance or use of "your prod-
                                                                      uct"; and




CG 00 01 12 07                                         48 Inc., 2006
                                             © ISO Properties,                                     Exhibit
                                                                                                    PageB15- 036
                                                                                                               of 16   
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 49 of 161 Page ID #:126



     (2) The providing of or failure to provide warn-
         ings or instructions.
   c. Does not include vending machines or other
      property rented to or located for the use of oth-
      ers but not sold.
22. "Your work":
    a. Means:
      (1) Work or operations performed by you or on
           your behalf; and
      (2) Materials, parts or equipment furnished in
           connection with such work or operations.
    b. Includes:
      (1) Warranties or representations made at any
           time with respect to the fitness, quality, du-
           rability, performance or use of "your work",
           and
      (2) The providing of or failure to provide warn-
           ings or instructions.




Page 16 of 16                                          49 Inc., 2006
                                             © ISO Properties,         Exhibit
                                                                       CG  00B01
                                                                               - 037
                                                                                  12 07   
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 50 of 161 Page ID #:127


                                                                           COMMERCIAL GENERAL LIABILITY
                                                                                          CG 00 68 05 09

      RECORDING AND DISTRIBUTION OF MATERIAL OR
      INFORMATION IN VIOLATION OF LAW EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. Exclusion q. of Paragraph 2. Exclusions of Sec-         B. Exclusion p. of Paragraph 2. Exclusions of Sec-
   tion I – Coverage A – Bodily Injury And Prop-              tion I – Coverage B – Personal And Advertising
   erty Damage Liability is replaced by the follow-           Injury Liability is replaced by the following:
   ing:                                                       2. Exclusions
   2. Exclusions                                                  This insurance does not apply to:
       This insurance does not apply to:                          p. Recording And Distribution Of Material
       q. Recording And Distribution Of Material                      Or Information In Violation Of Law
          Or Information In Violation Of Law                          "Personal and advertising injury" arising di-
         "Bodily injury" or "property damage" arising                 rectly or indirectly out of any action or omis-
         directly or indirectly out of any action or                  sion that violates or is alleged to violate:
         omission that violates or is alleged to vio-                (1) The Telephone Consumer Protection
         late:                                                           Act (TCPA), including any amendment
         (1) The Telephone Consumer Protection                           of or addition to such law;
             Act (TCPA), including any amendment                     (2) The CAN-SPAM Act of 2003, including
             of or addition to such law;                                 any amendment of or addition to such
         (2) The CAN-SPAM Act of 2003, including                         law;
             any amendment of or addition to such                    (3) The Fair Credit Reporting Act (FCRA),
             law;                                                        and any amendment of or addition to
         (3) The Fair Credit Reporting Act (FCRA),                       such law, including the Fair and Accu-
             and any amendment of or addition to                         rate Credit Transaction Act (FACTA); or
             such law, including the Fair and Accu-                  (4) Any federal, state or local statute, ordi-
             rate Credit Transaction Act (FACTA); or                     nance or regulation, other than the
         (4) Any federal, state or local statute, ordi-                  TCPA, CAN-SPAM Act of 2003 or
             nance or regulation, other than the                         FCRA and their amendments and addi-
             TCPA, CAN-SPAM Act of 2003 or                               tions, that addresses, prohibits, or limits
             FCRA and their amendments and addi-                         the printing, dissemination, disposal,
             tions, that addresses, prohibits, or limits                 collecting, recording, sending, transmit-
             the printing, dissemination, disposal,                      ting, communicating or distribution of
             collecting, recording, sending, transmit-                   material or information.
             ting, communicating or distribution of
             material or information.




CG 00 68 05 09                                        50 Office, Inc., 2008
                                      © Insurance Services                                          Exhibit
                                                                                                        PageB - 038
                                                                                                                 1 of 1   
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 51 of 161 Page ID #:128


POLICY NUMBER: GL201800012500                                           COMMERCIAL GENERAL LIABILITY
                                                                                       CG 20 11 01 96

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

   ADDITIONAL INSURED - MANAGERS OR LESSORS OF
                     PREMISES
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                   SCHEDULE

1. Designation of Premises (Part Leased to You):   Per Locations on Declarations page
2. Name of Person or Organization (Additional Insured): As per written contract
3. Additional Premium: None

(If no entry appears above, the information required to complete this endorsement will be shown in the Declara-
tions as applicable to this endorsement.)

WHO IS AN INSURED (Section II) is amended to include as an insured the person or organization shown in the
Schedule but only with respect to liability arising out of the ownership, maintenance or use of that part of the
premises leased to you and shown in the Schedule and subject to the following additional exclusions:
This insurance does not apply to:
1. Any "occurrence" which takes place after you cease to be a tenant in that premises.
2. Structural alterations, new construction or demolition operations performed by or on behalf of the person or
   organization shown in the Schedule.




CG 20 11 01 96                                       51 Office, Inc., 1994
                               Copyright, Insurance Services                              Page Exhibit
                                                                                                 1 ofB -1039
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 52 of 161 Page ID #:129


                                                                    COMMERCIAL GENERAL LIABILITY
                                                                                   CG 20 23 10 93

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           ADDITIONAL INSURED – EXECUTORS,
      ADMINISTRATORS, TRUSTEES OR BENEFICIARIES
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

WHO IS AN INSURED (Section II) is amended to include as an insured any executor, administrator, trustee or
beneficiary of your estate or living trust while acting within the scope of their duties as such.




CG 20 23 10 93                                      52 Office, Inc., 1992
                            Copyright, Insurance Services                                 Exhibit
                                                                                        Page 1 ofB 1
                                                                                                   - 040   o
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 53 of 161 Page ID #:130


                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 20 34 07 04

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             ADDITIONAL INSURED – LESSOR OF LEASED
              EQUIPMENT – AUTOMATIC STATUS WHEN
             REQUIRED IN LEASE AGREEMENT WITH YOU
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. Who Is An Insured (Section II) is amended to                  A person’s or organization’s status as an additional
   include as an additional insured any person or or-            insured under this endorsement ends when their
   ganization from whom you lease equipment when                 contract or agreement with you for such leased
   you and such person or organization have agreed               equipment ends.
   in writing in a contract or agreement that such per-       B. With respect to the insurance afforded to these
   son or organization be added as an additional in-             additional insureds, this insurance does not apply
   sured on your policy. Such person or organization             to any "occurrence" which takes place after the
   is an insured only with respect to liability for "bodily      equipment lease expires.
   injury", "property damage" or "personal and adver-
   tising injury" caused, in whole or in part, by your
   maintenance, operation or use of equipment
   leased to you by such person or organization.




CG 20 34 07 04                                          53 Inc., 2004
                                              © ISO Properties,                                     Exhibit
                                                                                                        PageB - 041
                                                                                                                 1 of 1   !
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 54 of 161 Page ID #:131


                                                                       COMMERCIAL GENERAL LIABILITY
                                                                                      CG 21 46 07 98

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 ABUSE OR MOLESTATION EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


The following exclusion is added to Paragraph 2.,         2. The negligent:
Exclusions of Section I – Coverage A – Bodily                a. Employment;
Injury And Property Damage Liability and Para-
graph 2., Exclusions of Section I – Coverage B –             b. Investigation;
Personal And Advertising Injury Liability:                   c. Supervision;
This insurance does not apply to "bodily injury",            d. Reporting to the proper authorities, or failure
"property damage" or "personal and advertising                   to so report; or
injury" arising out of:                                      e. Retention;
1. The actual or threatened abuse or molestation by          of a person for whom any insured is or ever was
    anyone of any person while in the care, custody          legally responsible and whose conduct would be
    or control of any insured, or                            excluded by Paragraph 1. above.




CG 21 46 07 98                                       54
                               Copyright, Insurance Services Office, Inc., 1997                Exhibit
                                                                                                   PageB - 042
                                                                                                            1 of 1   o
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 55 of 161 Page ID #:132


                                                                        COMMERCIAL GENERAL LIABILITY
                                                                                       CG 21 47 12 07

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,     B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I – Coverage A – Bodily            Exclusions of Section I – Coverage B – Per-
   Injury And Property Damage Liability:                    sonal And Advertising Injury Liability:
   This insurance does not apply to:                        This insurance does not apply to:
   "Bodily injury" to:                                      "Personal and advertising injury" to:
  (1) A person arising out of any:                         (1) A person arising out of any:
      (a) Refusal to employ that person;                      (a) Refusal to employ that person;
      (b) Termination of that person's employment;            (b) Termination of that person's employment;
          or                                                       or
     (c) Employment-related practices, policies,               (c) Employment-related practices, policies,
          acts or omissions, such as coercion, demo-                acts or omissions, such as coercion, demo-
          tion, evaluation, reassignment, discipline,               tion, evaluation, reassignment, discipline,
          defamation, harassment, humiliation, dis-                 defamation, harassment, humiliation, dis-
          crimination or malicious prosecution di-                  crimination or malicious prosecution di-
          rected at that person; or                                 rected at that person; or
  (2) The spouse, child, parent, brother or sister of       (2) The spouse, child, parent, brother or sister of
      that person as a consequence of "bodily injury"           that person as a consequence of "personal and
      to that person at whom any of the employment-             advertising injury" to that person at whom any
      related practices described in Paragraphs (a),            of the employment-related practices described
      (b), or (c) above is directed.                            in Paragraphs (a), (b), or (c) above is directed.
   This exclusion applies:                                   This exclusion applies:
  (1) Whether the injury-causing event described in         (1) Whether the injury-causing event described in
      Paragraphs (a), (b) or (c) above occurs before            Paragraphs (a), (b) or (c) above occurs before
      employment, during employment or after em-                employment, during employment or after em-
      ployment of that person;                                  ployment of that person;
  (2) Whether the insured may be liable as an em-           (2) Whether the insured may be liable as an em-
      ployer or in any other capacity; and                      ployer or in any other capacity; and
  (3) To any obligation to share damages with or            (3) To any obligation to share damages with or
      repay someone else who must pay damages                   repay someone else who must pay damages
      because of the injury.                                    because of the injury.




CG 21 47 12 07                                     55 Inc., 2006
                                         © ISO Properties,                                      Exhibit
                                                                                                    PageB - 043
                                                                                                             1 of 1   
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 56 of 161 Page ID #:133


                                                                         COMMERCIAL GENERAL LIABILITY
                                                                                        CG 21 67 12 04

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       FUNGI OR BACTERIA EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.        B. The following exclusion is added to Paragraph 2.
   Exclusions of Section I – Coverage A – Bodily              Exclusions of Section I – Coverage B – Per-
   Injury And Property Damage Liability:                      sonal And Advertising Injury Liability:
   2. Exclusions                                              2. Exclusions
      This insurance does not apply to:                          This insurance does not apply to:
      Fungi Or Bacteria                                          Fungi Or Bacteria
      a. "Bodily injury" or "property damage" which               a. "Personal and advertising injury" which
         would not have occurred, in whole or in part,               would not have taken place, in whole or in
         but for the actual, alleged or threatened in-               part, but for the actual, alleged or threat-
         halation of, ingestion of, contact with, expo-              ened inhalation of, ingestion of, contact
         sure to, existence of, or presence of, any                  with, exposure to, existence of, or presence
         "fungi" or bacteria on or within a building or              of any "fungi" or bacteria on or within a
         structure, including its contents, regardless               building or structure, including its contents,
         of whether any other cause, event, material                 regardless of whether any other cause,
         or product contributed concurrently or in any               event, material or product contributed con-
         sequence to such injury or damage.                          currently or in any sequence to such injury.
      b. Any loss, cost or expenses arising out of the           b. Any loss, cost or expense arising out of the
         abating, testing for, monitoring, cleaning up,             abating, testing for, monitoring, cleaning up,
         removing, containing, treating, detoxifying,               removing, containing, treating, detoxifying,
         neutralizing, remediating or disposing of, or              neutralizing, remediating or disposing of, or
         in any way responding to, or assessing the                 in any way responding to, or assessing the
         effects of, "fungi" or bacteria, by any insured            effects of, "fungi" or bacteria, by any insured
         or by any other person or entity.                          or by any other person or entity.
      This exclusion does not apply to any "fungi" or      C. The following definition is added to the Definitions
      bacteria that are, are on, or are contained in, a       Section:
      good or product intended for bodily consump-            "Fungi" means any type or form of fungus, includ-
      tion.                                                   ing mold or mildew and any mycotoxins, spores,
                                                              scents or byproducts produced or released by
                                                              fungi.




CG 21 67 12 04                                        56 Inc., 2003
                                           © ISO Properties,                                      Exhibit
                                                                                                      PageB - 044
                                                                                                               1 of 1   !
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 57 of 161 Page ID #:134


                                                                           COMMERCIAL GENERAL LIABILITY
                                                                                          CG 21 70 01 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

A. If aggregate insured losses attributable to terrorist      2. The act is a violent act or an act that is
   acts certified under the federal Terrorism Risk                dangerous to human life, property or
   Insurance Act exceed $100 billion in a calendar                infrastructure and is committed by an individual
   year and we have met our insurer deductible                    or individuals as part of an effort to coerce the
   under the Terrorism Risk Insurance Act, we shall               civilian population of the United States or to
   not be liable for the payment of any portion of the            influence the policy or affect the conduct of the
   amount of such losses that exceeds $100 billion,               United States Government by coercion.
   and in such case insured losses up to that amount       B. The terms and limitations of any terrorism
   are subject to pro rata allocation in accordance           exclusion, or the inapplicability or omission of a
   with procedures established by the Secretary of            terrorism exclusion, do not serve to create
   the Treasury.                                              coverage for injury or damage that is otherwise
   "Certified act of terrorism" means an act that is          excluded under this Coverage Part.
   certified by the Secretary of the Treasury, in
   accordance with the provisions of the federal
   Terrorism Risk Insurance Act, to be an act of
   terrorism pursuant to such Act. The criteria
   contained in the Terrorism Risk Insurance Act for
   a "certified act of terrorism" include the following:
   1. The act resulted in insured losses in excess of
       $5 million in the aggregate, attributable to all
       types of insurance subject to the Terrorism
       Risk Insurance Act; and




CG 21 70 01 15                                        57 Office, Inc., 2015
                                      © Insurance Services                                        Exhibit
                                                                                                      PageB - 045
                                                                                                               1 of 1
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 58 of 161 Page ID #:135


                                                                           COMMERCIAL GENERAL LIABILITY
                                                                                          CG 21 76 01 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              EXCLUSION OF PUNITIVE DAMAGES
          RELATED TO A CERTIFIED ACT OF TERRORISM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

A. The following exclusion is added:                          2. The act is a violent act or an act that is
   This insurance does not apply to:                              dangerous to human life, property or
                                                                  infrastructure and is committed by an individual
   TERRORISM PUNITIVE DAMAGES                                     or individuals as part of an effort to coerce the
   Damages arising, directly or indirectly, out of a              civilian population of the United States or to
   "certified act of terrorism" that are awarded as               influence the policy or affect the conduct of the
   punitive damages.                                              United States Government by coercion.
B. The following definition is added:                      C. The terms and limitations of any terrorism
                                                              exclusion, or the inapplicability or omission of a
   "Certified act of terrorism" means an act that is
                                                              terrorism exclusion, do not serve to create
   certified by the Secretary of the Treasury, in
   accordance with the provisions of the federal              coverage for injury or damage that is otherwise
   Terrorism Risk Insurance Act, to be an act of              excluded under this Coverage Part.
   terrorism pursuant to such Act. The criteria
   contained in the Terrorism Risk Insurance Act for
   a "certified act of terrorism" include the following:
   1. The act resulted in insured losses in excess of
      $5 million in the aggregate, attributable to all
      types of insurance subject to the Terrorism
      Risk Insurance Act; and




CG 21 76 01 15                                        58 Office, Inc., 2015
                                      © Insurance Services                                        Exhibit
                                                                                                      PageB - 046
                                                                                                               1 of 1
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 59 of 161 Page ID #:136


                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 21 84 01 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           EXCLUSION OF CERTIFIED NUCLEAR,
     BIOLOGICAL, CHEMICAL OR RADIOLOGICAL ACTS
     OF TERRORISM; CAP ON LOSSES FROM CERTIFIED
                 ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

A. The following exclusion is added:                            2. "Certified act of terrorism" means an act that is
   This insurance does not apply to:                               certified by the Secretary of the Treasury, in
                                                                   accordance with the provisions of the federal
   TERRORISM                                                       Terrorism Risk Insurance Act, to be an act of
   "Any injury or damage" arising, directly or                     terrorism pursuant to such Act. The criteria
   indirectly, out of a "certified act of terrorism".              contained in the Terrorism Risk Insurance Act
   However, this exclusion applies only when one or                for a "certified act of terrorism" include the
   more of the following are attributed to such act:               following:
   1. The terrorism involves the use, release or                   a. The act resulted in insured losses in excess
       escape of nuclear materials, or directly or                     of $5 million in the aggregate, attributable to
       indirectly results in nuclear reaction or radiation             all types of insurance subject to the
       or radioactive contamination; or                                Terrorism Risk Insurance Act; and
   2. The terrorism is carried out by means of the                 b. The act is a violent act or an act that is
       dispersal or application of pathogenic or                       dangerous to human life, property or
       poisonous biological or chemical materials; or                  infrastructure and is committed by an
                                                                       individual or individuals as part of an effort
   3. Pathogenic or poisonous biological or chemical
                                                                       to coerce the civilian population of the
      materials are released, and it appears that one
      purpose of the terrorism was to release such                     United States or to influence the policy or
      materials.                                                       affect the conduct of the United States
                                                                       Government by coercion.
B. The following definitions are added:
                                                             C. The terms and limitations of any terrorism
   1. For the purposes of this endorsement, "any                exclusion, or the inapplicability or omission of a
      injury or damage" means any injury or damage              terrorism exclusion, do not serve to create
      covered under any Coverage Part to which this             coverage for injury or damage that is otherwise
      endorsement is applicable, and includes but is            excluded under this Coverage Part.
      not limited to "bodily injury", "property
      damage", "personal and advertising injury",
      "injury" or "environmental damage" as may be
      defined in any applicable Coverage Part.




CG 21 84 01 15                                          59 Office, Inc., 2015
                                        © Insurance Services                                         Exhibit
                                                                                                         PageB - 047
                                                                                                                  1 of 2
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 60 of 161 Page ID #:137



D. If aggregate insured losses attributable to terrorist
   acts certified under the federal Terrorism Risk
   Insurance Act exceed $100 billion in a calendar
   year and we have met our insurer deductible
   under the Terrorism Risk Insurance Act, we shall
   not be liable for the payment of any portion of the
   amount of such losses that exceeds $100 billion,
   and in such case insured losses up to that amount
   are subject to pro rata allocation in accordance
   with procedures established by the Secretary of
   the Treasury.




Page 2 of 2                                           60 Office, Inc., 2015
                                      © Insurance Services                    Exhibit
                                                                              CG  21B84
                                                                                      - 048
                                                                                         01 15
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 61 of 161 Page ID #:138


                                                                           COMMERCIAL GENERAL LIABILITY
                                                                                          CG 21 96 03 05

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          SILICA OR SILICA-RELATED DUST EXCLUSION

This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART



A. The following exclusion is added to Paragraph 2.,         B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I – Coverage A – Bodily                Exclusions of Section I – Coverage B – Per-
   Injury And Property Damage Liability:                        sonal And Advertising Injury Liability:
   2. Exclusions                                                2. Exclusions
      This insurance does not apply to:                            This insurance does not apply to:
      Silica Or Silica-Related Dust                                Silica Or Silica-Related Dust
      a. "Bodily injury" arising, in whole or in part, out         a. "Personal and advertising injury" arising, in
         of the actual, alleged, threatened or sus-                   whole or in part, out of the actual, alleged,
         pected inhalation of, or ingestion of, "silica"              threatened or suspected inhalation of, in-
         or "silica-related dust".                                    gestion of, contact with, exposure to, exis-
      b. "Property damage" arising, in whole or in                    tence of, or presence of, "silica" or "silica-
         part, out of the actual, alleged, threatened                 related dust".
         or suspected contact with, exposure to, ex-               b. Any loss, cost or expense arising, in whole
         istence of, or presence of, "silica" or "silica-             or in part, out of the abating, testing for,
         related dust".                                               monitoring, cleaning up, removing, contain-
      c. Any loss, cost or expense arising, in whole                  ing, treating, detoxifying, neutralizing, reme-
         or in part, out of the abating, testing for,                 diating or disposing of, or in any way re-
         monitoring, cleaning up, removing, contain-                  sponding to or assessing the effects of,
         ing, treating, detoxifying, neutralizing, reme-              "silica" or "silica-related dust", by any in-
         diating or disposing of, or in any way re-                   sured or by any other person or entity.
         sponding to or assessing the effects of,            C. The following definitions are added to the Defini-
         "silica" or "silica-related dust", by any in-          tions Section:
         sured or by any other person or entity.                1. "Silica" means silicon dioxide (occurring in
                                                                   crystalline, amorphous and impure forms), sil-
                                                                   ica particles, silica dust or silica compounds.
                                                                2. "Silica-related dust" means a mixture or combi-
                                                                   nation of silica and other dust or particles.




CG 21 96 03 05                                         61 Inc., 2004
                                             © ISO Properties,                                      Exhibit
                                                                                                        PageB - 049
                                                                                                                 1 of 1   !
  Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 62 of 161 Page ID #:139


                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY


                        ABSOLUTE ASBESTOS EXCLUSION

   This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART


   This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" involving
   or arising out of, directly or indirectly, asbestos, in any manner or form.

   This exclusion includes, but is not limited to, claims or "suits" concerning exposure or alleged exposure to
   asbestos, as well as claims or "suits" concerning the incorporation, presence, or removal of asbestos in any
   building, structure, or product.




GL 0001 0610              Includes copyrighted material of Insurance Services Office, Inc., with               Page 1 of 1
                                                  its permission.
                                                          62                                          Exhibit B - 050
  Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 63 of 161 Page ID #:140



                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY


                               ABSOLUTE LEAD EXCLUSION

   This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART


   This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" arising
   out of the existence or control of the hazardous properties of lead, irrespective of the form or source of such
   lead.

   This exclusion applies, but is not limited to the following:

       1. To liability assumed under any contract or agreement;

       2. To any obligation to pay or indemnify any person, organization, or governmental agency for any portion
           of the injury, damage, or expense; and

       3. To any supervision, instructions, recommendations, requests, warranties or representations (expressed
           or implied), warnings, or advice given or which should have been given regarding the existence or
           control of the lead.

   When used in this exclusion:

   I. "Control" includes, but is not limited to testing, monitoring, abatement, clean-up, removal, containment,
       treatment, or disposal.

   II. "Form" means anything containing lead, including, but not limited to air, water, earth, dust, paint, plumbing
       solder, and pipes and fixtures.




GL 0002 0610               Includes copyrighted material of Insurance Services Office, Inc., with               Page 1 of 1
                                                   its permission.
                                                             63                                        Exhibit B - 051
  Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 64 of 161 Page ID #:141


                                                                             COMMERCIAL GENERAL LIABILITY


                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                  AMENDMENT OF EMPLOYEE DEFINITION
                       (TEMPORARY EMPLOYEE)

   This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART


   The definition of "Employee" in the Definitions Section is deleted and replaced by the following:
       "Employee" includes a "leased worker" or a "temporary worker".




GL 0008 0610              Includes copyrighted material of Insurance Services Office, Inc., with                Page 1 of 1
                                                  its permission.

                                                          64                                           Exhibit B - 052
     Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 65 of 161 Page ID #:142


                                                                                   COMPREHENSIVE PERSONAL LIABILITY




       COMPREHENSIVE PERSONAL LIABILITY COVERAGE
Throughout this policy, "you" and "your" refer to the Named           EXCLUSIONS
Insured shown in the Declarations. The words "we", "us"               1. COVERAGE L. - Personal Liability and
and "our" refer to the Company providing this insurance.
                                                                          Coverage M. Medical Payments to Others do not apply
LIABILITY COVERAGES                                                       to "bodily injury" or "property damage":
COVERAGE L. PERSONAL LIABILITY                                            a. which is expected or intended by the "Insured"; or
If a claim is made or a suit is brought against any "Insured"             b. arising out of business pursuits of an "Insured" or
for damages because of "bodily injury", "property damage"                    the rental or holding for rental of any part of any
or "personal injury" caused by an "occurrence" to which                      premises by an "Insured".
this coverage applies, we will:
                                                                          This exclusion does not apply to:
a. pay up to our limit of liability for the damages for which
   the "Insured" is legally liable; and                                   (1) activities which are ordinarily incidental to non-
                                                                              business pursuits; or
b. provide a defense at our expense by counsel of our
   choice, even if the suit is groundless, false or                       (2) the rental or holdings for rental of a residence of
   fraudulent. We may make any investigation and settle                       yours:
   any claim or suit that we decide is appropriate. Our                       (a) on an occasional basis for the exclusive use
   obligation to defend any claim or suit ends when the                           as a residence; or
   amount we pay for damages resulting from the                               (b) in part for use only as a residence, unless a
   "occurrence" equals our limit of liability.                                    single family unit is intended for use by the
COVERAGE M. MEDICAL PAYMENTS TO OTHERS                                            occupying family to lodge more than two
We will pay the necessary medical expenses incurred or                            roomers or boarders; or
medically ascertained within three years from the date of                     (c) in part, as an office, school, studio or private
any accident causing "bodily injury". Medical expenses                            garage;
means reasonable charges for medical, surgical, x-ray,                    c. arising out of the rendering or failing to render
dental, ambulance, hospital professional nursing,                            professional services; or
prosthetic devices and funeral services. This coverage
does not apply to you or regular residents of your                        d. arising out of an oral or written publication or other
household other than "resident employees". As to others,                     forms of defamation that occurred prior to the
this coverage applies only:                                                  inception date of this policy; or
a. to a person on the "insured location" with the                         e. arising out of:
    permission of an "Insured"; or                                            (1) the ownership, maintenance, use, loading or
b. to a person off the "insured location", if the "bodily                         unloading of motor vehicles or all other
    injury":                                                                      motorized land conveyances, including
                                                                                  trailers, owned or operated by or rented or
    (1) arises out of a condition in the "insured location" or                    loaned to an "Insured"; or
        the ways immediately adjoining;
                                                                              (2) the entrustment by an "Insured" of a motor
        or                                                                        vehicle or any other motorized land
    (2) is caused by the activities of an "Insured"; or                           conveyance to any person; or
    (3) is caused by a "residence employee" in the course                     (3) statutorily imposed vicarious parental liability
        of the "residence employee's" employment by an                            for the actions of a child or minor using a
        "Insured"; or                                                             conveyance excluded in paragraph 1. or 2.
    (4) is caused by an animal owned by or in the care of                         above.
        an "Insured".                                                             This exclusion does not apply to:
                                                                                  (1) a trailer not towed by or carried on a
                                                                                      motorized land conveyance; or



  GL 0011 0610                  Includes copyrighted material of Insurance Services Office, Inc., with                 Page 1 of 6
                                                        its permission.
                                                                 65                                           Exhibit B - 053
      Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 66 of 161 Page ID #:143


         (2) a motorized land conveyance designed for                       An aircraft means any contrivance used or designed
             recreational use off public roads, not subject to              for flight, except model or hobby aircraft not used or
             motor vehicle registration; or                                 designed to carry people or cargo.
         (3) a motorized golf cart; or                                    h. arising out of war, whether or not declared, or any
         (4) a vehicle or conveyance not subject to motor                    act or condition incident to war. War includes civil
             vehicle registration which is:                                  war, insurrection, rebellion or revolution.
             (a) used to service an "lnsured's" residence;                    Exclusions d., e., f., and g. do not apply to "bodily
                 or                                                           injury", property damage or personal injury to a
                                                                              residence employee arising out of and in the
             (b) designed for assisting the handicapped; or                   course of the residence employee's employment
             (c) in dead storage on an "insured location".                    by an Insured.
f. arising out of:                                                    2. Coverage L. - Personal Liability, does not apply to:
  (1) the ownership, maintenance, use, loading or                         a. liability:
      unloading of a watercraft described as follows:                         (1) for your share of any loss assessment
      (a) with inboard or inboard-outdrive motor power                            charged against all members of an
          more than 50 horsepower; or                                             association, corporation or community of
      (b) that is a sailing vessel, with or without auxiliary                     property owners; or
          power, 26 feet or more in length owned by or                        (2) under any contract or agreement.
          rented to an "Insured"; or                                               However, this exclusion does not apply to
      (c) powered by one or more outboard motors with                              written contracts:
          more than 50 total horsepower if the outboard                            (a) that directly relate to the ownership,
          motor is owned by an "Insured". But, outboard                                maintenance or use of an "insured
          motors of more than 50 horsepower are covered                                location"; or
          for the policy period if:
                                                                                   (b) where the liability of others is assumed by
           (i) you acquire them prior to the policy period                             the "insured" prior to an "occurrence";
               and you declare them at policy inception; or                            unless excluded in 1. above or elsewhere
           (ii) your intention to insure is reported to us in                          in this policy;
                writing within 45 days after you acquire the                  b. "property damage" to property owned by the
                outboard motors;                                                 Insured; or
           (iii) you acquire them during the policy period.                   c. "property damage" to property rented to,
           This exclusion does not apply while the                                occupied or used by or in the care, custody or
           watercraft is stored.                                                  control of the "Insured". This exclusion does
  (2) the entrustment by an "Insured" of a watercraft                             not apply to "property damage" caused by fire,
      described above to any person; or                                           smoke, explosion or water damage; or
  (3) statutorily imposed vicarious parental liability for the                d. "bodily injury" to any person eligible to receive
      actions of a child or minor using a watercraft                             any benefits required to be provided or
      described above.                                                           voluntarily provided by the "Insured" under any
                                                                                 Workers' or Workmen's Compensation, non-
g. arising out of:                                                               occupational disability, or occupational
  (1) the ownership, maintenance, use, loading or                                disease law; or
      unloading of an aircraft; or                                            e. "bodily Injury" or "property damage" for which
  (2) the entrustment by an "Insured" of an aircraft to any                      any "Insured" under this policy is also an
      person; or                                                                 "Insured" under a nuclear energy liability policy
                                                                                 or would be an "Insured" but for its termination
  (3) statutorily imposed vicarious parental liability for the
                                                                                 upon exhaustion of its limit of liability. A
      actions of a child or minor using an aircraft.
                                                                                 nuclear energy liability policy is a




  GL 0011 0610                  Includes copyrighted material of Insurance Services Office, Inc., with                Page 2 of 6
                                                        its permission.
                                                                 66                                          Exhibit B - 054
   Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 67 of 161 Page ID #:144


             policy issued by Nuclear Energy Liability                 2. First Aid Expenses
             Insurance Association, Mutual Atomic Energy                  We will pay expenses for first aid to others
             Liability Underwriters, Nuclear Insurance                    incurred by any "Insured" for "bodily injury"
             Association of Canada, or any of their                       covered under this policy. We will not pay
             successors.                                                  for first aid to you or any other "Insured".
    3. Coverage M - Medical Payments to Others,                        3. Damage to Property of Others in Your Care
       does not apply to bodily injury:                                   Custody or Control
        a.     to a residence employee if the "bodily                  We will pay up $500 per occurrence for
              injury" occurs off the "insured" location and            "property damage" to Property of Others
              does not arise out of or in the course of the            caused by an "Insured". We will not pay for
              "residence employee's" employment by any                 "property damage":
              "Insured"; or
                                                                       a. caused intentionally by an "Insured" who is
        b. to any person eligible to receive any                          16 years of age or older; or
            benefits required to be provided or
            voluntarily provided under any Workers' or                 b. to property owned by an "Insured"; or
            Workmen's Compensation, non-                               c. to property owned by or rented to a tenant
            occupational disability or occupational                        of an "Insured" or a resident in your
            disease law; or                                                household; or
        c. from any nuclear reaction, radiation or                     d. arising out of:
            radioactive contamination, all whether                         (1) business pursuits; or
            controlled or uncontrolled or however
            caused, or any consequence of any of                           (2) any act or omission in connection with
            these; or                                                          a premises owned, rented or controlled
                                                                               by an Insured, other than the insured
        d. to any person, other than a "residence                              location; or
            employee" of an "Insured", regularly
            residing on any part of the "insured                           (3) the ownership, maintenance, or use of
            location".                                                         aircraft, watercraft or motor vehicles or
                                                                               all other motorized land conveyances.
    ADDITIONAL COVERAGES                                                       This exclusion does not apply to a
                                                                               motorized land conveyance designed
    We cover the following in addition to the limits of
                                                                               for recreational use off public roads, not
    liability:
                                                                               subject to motor vehicle registration
    1. Claim Expenses                                                          and not owned by an Insured.
        We pay:
                                                                   DEFINITIONS
              a. expenses incurred by us and costs                 1. "Bodily Injury" means bodily harm, sickness or
                 taxed against any "Insured" in any suit              disease, including required care, loss of
                 we defend; and                                       services and death that results.
              b. premiums on bonds required in a suit              2. "Business" includes trade, profession or
                 defended by us, but not for bond                     occupation.
                 amount greater than the limit of liability
                 for Coverage L. We need not apply for             3. "Insured" means you and:
                 or furnish a bond; and                                a. your relatives who are part of your
              c. reasonable expenses incurred by an                    household; and
                  "Insured" at our request, including                  b. other persons under age 21 living with you
                  actual loss of earnings (but not loss of                and under the care of a person named
                  other income) up to $100 per day for                    above; and
                  assisting us in the investigation or
                                                                       c. with respect to animals or watercraft to
                  defense of a claim or suit; and                         which this policy applies, any person or
           d. interest on the entire judgment which                       organization legally responsible for these
               accrues after entry of the judgment and                    animals or watercraft which are owned by
               before we pay or tender or deposit in                      you or any person included in 3a. or 3b. A
               court the part of the judgment which                       person or organization using or having
               does not exceed the limit of liability that                custody of these animals or watercraft in
               applies.                                                   the course of any business, or without
                                                                          consent of the owner is not an Insured; and
GL 0011 0610              Includes copyrighted material of Insurance Services Office, Inc., with                Page 3 of 6
                                                       its permission.
                                                              67                                         Exhibit B - 055
   Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 68 of 161 Page ID #:145


        d. with respect to any vehicle to which this                 b. "property damage"; or
           policy applies:                                           c. "personal injury".
           (1) persons while engaged in your employ              7. "Property damage" means physical injury to,
               or that of any person included in 3a. or             destruction of, or loss of use of tangible
               3b. above; or                                        property.
           (2) other persons using the vehicle on an
                                                                 8. "Residence employee" means:
               "insured location" with your consent.
                                                                     a. an employee of an Insured whose duties
    4. "Insured location" means:
                                                                        are related to maintenance or use of the
        a. the residence premises; and                                  residence premises, including household or
        b. that part of any other premises, other                       domestic services; or
            structures and grounds, used by you as a                 b. one who performs similar duties elsewhere
            residence and which is shown in the                         not related to the business of an Insured.
            Declarations or which is acquired by you
                                                                 9. "Residence premises" means a one to four
            during the policy period for your use as a
                                                                    family dwelling, other structures and grounds or
            residence; and
                                                                    that part of any other building where you reside
        c. any premises used by you in connection                   and which is shown as the "residence
           with the premises included in 4a. or 4b.;                premises" in the Declarations.
           and
        d. any part of a premises not owned by any               CONDITIONS
           "Insured" but where any "Insured" is                  1. Limit of Liability
           temporarily residing; and
                                                                     Regardless of the number of Insureds, claims
        e. vacant land, other than farm land, owned by               made, or persons injured, total liability under
           or rented to an "Insured"; and                            Coverage L stated in this policy for all damages
        f.   land owned by or rented to any "Insured" on             resulting from any one "occurrence" shall not
              which a one or two family dwelling is being            exceed the limit of liability for Coverage L stated
              constructed as a residence for an                      in the policy. The limit is the same regardless of
              "Insured";and                                          the number of "Insureds", claims made or
                                                                     persons injured.
        g. individual or family cemetery plots or burial
            vaults of an "Insured"; and                              Our total liability under Coverage M for all
                                                                     medical expense payable for bodily injury to
        h. any part of a premises occasionally rented
                                                                     one person as the result of one accident will not
           to any "Insured" for other than business
                                                                     exceed the limit of liability for Coverage M
           purposes.
                                                                     stated in this policy.
    5. "Personal Injury" means injury other than "bodily
                                                                 2. Severability of Insurance
       injury", arising out of one or more of the
       following offenses:                                           This insurance applies separately to each
                                                                     "Insured". This condition will not increase our
        a. false arrest, detention or imprisonment;
                                                                     limit of liability for any one "occurrence".
        b. malicious prosecution;
                                                                 3. Duties after Loss
        c. the wrongful eviction from wrongful entry
                                                                     In case of an accident or "occurrence", the
            into, or invasion of the right of private
                                                                     "Insured" will perform the following duties that
            occupancy of a room, dwelling or premises
                                                                     apply. You will help us by seeing that these
            that a person occupies by or on behalf of its
                                                                     duties are performed:
            owner, landlord or lessor;
                                                                     a. give written notice to us or our agent as
        d. oral or written publication of material that
                                                                        soon as practicable, which sets forth:
           slanders or libels a person or organization
           including other forms of defamation; or                       (1) the identity of the policy and "Insured";
                                                                             and
        e. oral or written publication of material
           including other forms of defamation that                      (2) reasonably available information as to
           violates a person's right of privacy.                             the time, place and circumstances of
                                                                             the accident or "occurrence"; and
    6. "Occurrence" means an accident, including
       continuous or repeated exposure to conditions,                    (3) names and addresses of any claimants
       which results during the policy period, in:                           and witnesses;
       a. "bodily Injury"; or
GL 0011 0610               Includes copyrighted material of Insurance Services Office, Inc., with                Page 4 of 6
                                                   its permission.
                                                            68                                          Exhibit B - 056
  Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 69 of 161 Page ID #:146


       b. promptly forward to us every notice,                  8. Other Insurance - Coverage L      Personal
          demand, summons or other process                         Liability
          relating to the accident or "occurrence"; and             This insurance is excess over any other valid
       c. at our request, help us:                                  and collectible insurance except insurance
           (1) to make settlement; and                              written specifically to cover as excess over the
                                                                    limits of liability that apply in this policy.
           (2) to enforce any right of contribution or
               indemnity against any person or                  9. Policy Period
               organization who may be liable to an                 This insurance applies only to "bodily injury" or
               "Insured"; and                                       "property damage" which occurs on and after
           (3) with the conduct of suits and attend                 the policy effective date and during the policy
               hearings and trials; and                             term.
           (4) to secure and give evidence and obtain           10. Subrogation
               the attendance of witnesses.                         Any "Insured" may waive in writing before a loss
       d. under the coverage "Damage to the                         all rights of recovery against any person. If not
          Property of Others" submit to us within 60                waived, we may require an assignment of rights
          days after the loss, a sworn statement of                 of recovery for a loss to the extent that payment
          loss and exhibit the damaged property, if                 is made by us.
          within the "Insured's" control; and                       If an assignment is sought, any "Insured" shall
       e. the "Insured" will not, except at the                     sign and deliver all related papers and
           "lnsured's" own cost, voluntarily make any               cooperate with us in any reasonable manner.
           payment, assume any obligation or incur                  Subrogation does not apply to Medical
           any expense other than for first aid to                  Payments to Others or Damage to Property of
           others at the time of the "bodily injury".               Others.
   4. Duties of an Injured Person-Coverage M -                  11. Concealment or Fraud.
      Medical Payments to Others The injured person                 We do not provide coverage for an "Insured"
      or someone acting for the injured person will:                   who has:
       a. give us written proof of claim, under oath if             a. intentionally concealed or misrepresented
          required, as soon as is practical; and                        any material fact or circumstance; or
       b. execute authorization to allow us to obtain               b. made false statements or engaged in
          copies of medical reports and records; and                   fraudulent conduct relating to this
       c. the injured person will submit to physical                   insurance.
           examination by a physician selected by us            12. Liberalization Clause
           when and as often as we reasonably
           require.                                                 If we adopt any revision which would broaden
                                                                    the coverage under this policy without
   5. Payment of Claim - Coverage M Medical                         additional premium within 60 days prior to or
      Payments to Others Payment under this                         during the policy period, the broadened
      coverage is not an admission of liability by any              coverage will immediately apply to this policy.
      insured or us.
                                                                13. Waiver or Change of Policy Provisions
   6. Suit Against Us
                                                                    A waiver or change of any provision of this
       No action shall be brought against us unless                 policy must be in writing by us to be valid. Our
       there has been compliance with the policy                    request for an appraisal or examination shall
       provisions.                                                  not waive any of our rights.
       No one will have any right to join us as a party         14. Assignment
       to any action against an "Insured". Also, no
       action with respect to Coverage L will be                    Assignment of this policy shall not be valid
       brought against us until the obligation of the               unless we give our written consent.
       "Insured" has been determined by final                   15. Death
       judgment or agreement signed by us.                          If you or any member of your household dies
   7. Bankruptcy of any "Insured"                                   while a resident of your household, we insure:
       Bankruptcy or insolvency of an "Insured" will not            a. the legal representative of the deceased but
       relieve us of any of our obligations under this                 only with respect to the premises or
       policy.

GL 0011 0610              Includes copyrighted material of Insurance Services Office, Inc., with               Page 5 of 6
                                                  its permission.
                                                           69                                         Exhibit B - 057
  Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 70 of 161 Page ID #:147


           property covered under this policy at the              c. If this policy is canceled, the premium for the
           time of death; and                                         period from the date of cancellation to the
       b. with respect to your property, the person                   expiration date will be refunded as follows:
          having proper temporary custody of the                      If you request cancellation, the return premium
          property until appointment and qualification                will be based on our short rate rules; if we
          of a legal representative has occurred.                     cancel, the return premium will be pro rata.
                                                                      If the return premium is not refunded with the
   16. Cancellation                                                   notice of cancellation or when this policy is
       a. You may cancel this policy at any time by                   returned to us, we will refund it within a
          returning it to us or by notifying us in writing            reasonable time after the date cancellation
          of the date cancellation is to take effect.                 takes effect.
       b. We may cancel this policy by notifying you
          at least 10 days before the date
          cancellation takes effect. This cancellation
          notice may be delivered to you, or mailed to
          you at your mailing address in the
          Declarations. Proof of mailing shall be
          sufficient proof of notice.




GL 0011 0610               Includes copyrighted material of Insurance Services Office, Inc., with               Page 6 of 6
                                                   its permission.
                                                             70                                        Exhibit B - 058
  Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 71 of 161 Page ID #:148



                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY


                             CROSS LIABILITY EXCLUSION

   This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART


   This insurance does not apply to any claim made or "suit" brought by or on behalf of your parent corporation, a
   subsidiary of your parent corporation or your subsidiary. This insurance also does not apply to any claim made
   or "suit" brought by or on behalf of any insured covered hereunder against any other insured covered by this
   policy.

   This exclusion does not apply to a person or organization that would not be an insured under this policy except
   for an endorsement to this policy adding them as an additional insured.




GL 0019 0610              Includes copyrighted material of Insurance Services Office, Inc., with              Page 1 of 1
                                                  its permission.


                                                         71                                          Exhibit B - 059
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 72 of 161 Page ID #:149


                                                                                           GENERAL LIABILITY



              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


              EXCLUSION - COMMUNICABLE DISEASES



This insurance does not apply to “bodily injury,” “property damage,” “personal and advertising injury” or medical
payments arising out of the transmission of any communicable diseases by an insured.




GL 0025 0610                                   Page 1 of 1

                                                       72                                          Exhibit B - 060
  Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 73 of 161 Page ID #:150


                                                                              COMMERCIAL GENERAL LIABILITY


                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                    EXCLUSION                    DESIGNATED ACTIVITIES
   This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART


                                                      SCHEDULE
   Description of Designated Activities:
   Excludes Special Events, Promotion, Live Performances, Motion Picture &/or Video
   Production unless declared and approved by underwriter prior to exposure
   commencement.




   Specified Location (If Applicable):




   Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

   The following exclusion is added to Paragraph 2., Exclusions of Section I.     Coverage A Bodily Injury And
   Property Damage Liability and to Paragraph 2., Exclusions of Section I.        Coverage B Personal And
   Advertising Injury Liability:

   This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" arising
   out of the activities described in the Schedule of this endorsement, regardless of whether such activities are
   conducted by you or on your behalf or whether the activities are conducted for you or for others.

   Unless a "location" is specified in the Schedule, this exclusion applies regardless of where such activities are
   conducted by you or on your behalf. If a specific "location" is designated in the Schedule of this endorsement,
   this exclusion applies only to the described activities conducted at that "location".

   For the purpose of this endorsement, "location" means premises involving the same or connecting lots, or
   premises whose connection is interrupted only by a street, roadway, waterway or right-of-way of a railroad.



GL 0029 0610              Includes copyrighted material of Insurance Services Office, Inc., with               Page 1 of 1
                                                  its permission.
                                                          73                                          Exhibit B - 061
  Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 74 of 161 Page ID #:151


                                                                              COMMERCIAL GENERAL LIABILITY



                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                     EXCLUSION - FIREWORKS
            WITH EXCEPTION FOR CONCUSSION EFFECTS,
                   FLASHPOTS AND SMOKEPOTS

   This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART


   A. The following exclusion is added to Paragraph 2., Exclusions of Section I. Coverage A Bodily Injury
      And Property Damage Liability and to Paragraph 2., Exclusions of Section I. Coverage B Personal
      And Advertising Injury Liability:

       This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury"
       arising out of fireworks, pyrotechnic devices, or any explosive materials.

       This exclusion does not apply to any "concussion effect", "flashpot" or "smokepot" that is induced electrically
       in a cylinder with no projectile, wadding or wrapping and is used to create visual effects and/or an explosive
       noise.

   B. For the purpose of this endorsement, the following definitions apply:

       1. "Concussion effect" means an effect intended to produce a loud noise and a violent jarring shock for
          dramatic effect.
       2. "Flashpot" means a device containing flashpowder and intended to produce a flash of light and capable
          of directing the flash in an upward direction.
       3. "Smokepot" is a pyrotechnic device used to create smoke.




GL 0030 0610              Includes copyrighted material of Insurance Services Office, Inc., with                Page 1 of 1
                                                  its permission.


                                                          74                                           Exhibit B - 062
  Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 75 of 161 Page ID #:152


                                                                              COMMERCIAL GENERAL LIABILITY


                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


      EXCLUSION PERSONAL AND ADVERTISING INJURY
           LIABILITY - ENTERTAINMENT INDUSTRY
   This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART


   The following exclusion is added to Paragraph 2., Exclusions of Section I.     Coverage B       Personal And
   Advertising Injury Liability:
       This policy does not apply to:
       "Personal and advertising Injury" arising out of the development, creation, pre-production, production,
       postproduction, distribution, exploitation, writing, broadcasting, airing, performing or exhibition of films,
       television/cable programs, radio programs, stage plays, video/audio cassettes, music, sheet music,
       computer programs, books or other similar materials, and properties; or to any advertising or broadcasting
       activities.




GL 0035 0610              Includes copyrighted material of Insurance Services Office, Inc., with                Page 1 of 1
                                                  its permission.


                                                          75                                           Exhibit B - 063
  Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 76 of 161 Page ID #:153


                                                                             COMMERCIAL GENERAL LIABILITY


                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                          KNOWLEDGE OF OCCURRENCE
   This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART


   Paragraph a. of 2.Duties In The Event of Occurrence, Offense, Claim or Suit under SECTION IV.
   COMMERCIAL GENERAL LIABILITY CONDITIONS, is deleted and replaced by the following:
   a. You must notify us as soon as practicable of an "occurrence" or an offense which may result in a claim. You,
      your insurance manager, or someone acting on your behalf, must give this notice to us or to any of our
      authorized agents as soon as practicable after you know of the "occurrence" or offense. To the extent
      possible, notice should include:
      (1) How, when and where the "occurrence" or offense took place;
      (2) The names and addresses of any injured persons and witnesses; and
      (3) The nature and location of any injury or damage arising out of the "occurrence" or offense.




GL 0041 0610              Includes copyrighted material of Insurance Services Office, Inc., with            Page 1 of 1
                                                  its permission.


                                                         76                                        Exhibit B - 064
  Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 77 of 161 Page ID #:154


                                                                               COMMERCIAL GENERAL LIABILITY


                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


     LIMITATION                   NO STACKING OF OCCURRENCE LIMITS
                                      OF INSURANCE
   This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART


   The following condition is added to Section IV. Commercial General Liability Conditions:
   Two or More Coverage Forms or Policies Issued By Us

       If this policy and any other policy, policies or coverage form(s) issued to you by us or any of our affiliated
       companies apply to the same or related damages, the most that will be paid by us and our affiliated
       companies either individually or collectively for the sum of all those damages is the single largest applicable
       Each Occurrence Limit or similar per occurrence limit of insurance available under any one of those policies
       or coverage forms. Same or related damages include the continuation of injury or damages from a prior
       policy period into a subsequent policy period, or any injury or damage resulting from the same cause or
       "occurrence."
       However, this provision does not apply to umbrella or similar policies or coverage forms that are purchased
       specifically to apply in excess of another policy or coverage form that is scheduled as underlying insurance.
       In no event will coverage be provided during the policy period after (1) the applicable aggregate Limit of
       Insurance under any one coverage form or policy has been exhausted, or (2) the applicable aggregate Limit
       of Insurance under any one coverage form or policy would have been exhausted had all covered claims
       been submitted under that one coverage form or policy rather than under two or more coverage forms or
       policies.
       The terms of this endorsement will govern as respect the application of any limits of insurance. If this policy
       or coverage form contains any other language regarding limits of insurance that is in conflict with the terms
       of this endorsement, such other language is subject to the terms of this endorsement.




GL 0042 0610              Includes copyrighted material of Insurance Services Office, Inc., with                Page 1 of 1
                                                  its permission.


                                                           77                                          Exhibit B - 065
     Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 78 of 161 Page ID #:155


Policy Number: GL201800012500
Renewal of Number: NEW

        COMPREHENSIVE PERSONAL
          LIABILITY COVERAGE
             DECLARATIONS


Item 1. Named Insured and Mailing Address                               Agent Named and Address Sub-Producer : 00609
                                                                        Integro USA, Inc.
 Under the Black Sky, Inc.
 As Per Named Insured Extension Schedule                                21650 Oxnard St., Suite 2350
 c/o MACIAS, GINI & O'CONNELL                                           Woodland Hills, CA 91367-7824
 2029 Century Park East, #1500
 Los Angeles, CA 90067




Item 2. Policy Period             From: 07/18/2018      To: 07/18/2019
                                  At 12:01AM Standard Time at the Mailing Address Shown Above
Item 3. Limits of Liability

Coverage L. Personal Liability                                $1,000,000          Each Occurrence
Coverage M. Medical Payment                                   $5,000             Each Person


Item 4. “Residence Premises”

 1


 Loc.          Premises Location                                                   Premium Base        Rate       Premium
 1             CPL ‐ Primary Residence
 Additional Coverage:         Terrorism - Certified Acts
 Policy Premium:
 Taxes, Surcharges and Fees:




Item 6. Form(s) and Endorsement(s) made a part of the policy at time of issue:

Countersigned:
Date: _______________________________________________ By: _____________________________________
        THIS POLICY TOGETHER WITH THE POLICY CONDITIONS, COVERAGE PARTS AND FORMS AND
                   ENDORSEMENTS, IF ANY, COMPLETE THE ABOVE NUMBERED POLICY




GL 0065 1010                  Includes copyrighted material of Insurance Services Office, Inc., with                    Page 1 of 1
                                                        its permission


                                                                78                                            Exhibit B - 066
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 79 of 161 Page ID #:156


                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                            GL 0452 0416

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     CALIFORNIA
        EXCLUSION – ACCESS OR DISCLOSURE OF
      CONFIDENTIAL OR PERSONAL INFORMATION AND
             DATA-RELATED LIABILITY – WITH
           LIMITED BODILY INJURY EXCEPTION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


A. Exclusion 2.p. of Section I – Coverage A –                         As used in this exclusion, electronic data
   Bodily Injury And Property Damage Liability is                     means information, facts or programs
   replaced by the following:                                         stored as or on, created or used on, or
   2. Exclusions                                                      transmitted to or from computer software,
                                                                      including    systems      and     applications
      This insurance does not apply to:                               software, hard or floppy disks, CD-ROMs,
      p. Access Or Disclosure Of Confidential Or                      tapes, drives, cells, data processing
         Personal Information And Data-related                        devices or any other media which are used
         Liability                                                    with electronically controlled equipment.
         Damages arising out of:                            B. The following is added to Paragraph 2.
                                                               Exclusions of Section I – Coverage B –
         (1) Any access to or disclosure of any
                                                               Personal And Advertising Injury Liability:
             person's or organization's confidential or
             personal information, including patents,          2. Exclusions
             trade secrets, processing methods,                    This insurance does not apply to:
             customer lists, financial information,
             credit    card    information,     health             Access Or Disclosure Of Confidential Or
             information or any other type of                      Personal Information
             nonpublic information; or                             "Personal and advertising injury" arising out of
         (2) The loss of, loss of use of, damage to,               any access to or disclosure of any person's or
             corruption of, inability to access, or                organization's    confidential   or    personal
             inability to manipulate electronic data.              information, including patents, trade secrets,
                                                                   processing methods, customer lists, financial
         This exclusion applies even if damages are                information, credit card information, health
         claimed for notification costs, credit                    information or any other type of nonpublic
         monitoring expenses, forensic expenses,                   information.
         public relations expenses or any other loss,
         cost or expense incurred by you or others                 This exclusion applies even if damages are
         arising out of that which is described in                 claimed for notification costs, credit monitoring
         Paragraph (1) or (2) above.                               expenses, forensic expenses, public relations
                                                                   expenses or any other loss, cost or expense
         However, unless Paragraph (1) above                       incurred by you or others arising out of any
         applies, this exclusion does not apply to                 access to or disclosure of any person's or
         damages because of "bodily injury".                       organization's     confidential   or    personal
                                                                   information.




GL 0452 0416           Includes copyrighted material of Insurance Services Office, Inc., with          Page 1 of 1
                                                       79
                                                 its permission.                                   Exhibit B - 067
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 80 of 161 Page ID #:157




                 Exhibit C

                                       80                            Exhibit C - 001
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 81 of 161 Page ID #:158


                                                     CIVIL INTAKE
                                                        SHEET

     CIVIL ACTION NUMBER:                     CL- 2019               02      11
     HOW RECEIVED:                            COUNTER


     JUDGMENT AMOUNT: $                       50,000,000 4
     FILING FEE: $                 3 L1 (47             CHECK ‘/    CASH       MO         CREDIT CARD

     CREDIT CARD FEE: S

     TOTAL AMOUNT: $                   ' ; \ 1,                     VS-4 FORM:      YES          NO

     CLERKS INITIALS:                                               ID Presented (CWP):


     SERVICE TYPE:                                                 SPECIAL INSTRUCTIONS:

         SHERIFF:                        SPS:
                                         RM:                       CERTIFIED COPIES:
         OPUB:                           CM:

         SOC:             DMV:                SCC:

         SHERIFF                              AMOUNT_



                                                                   Deiamoch0O




                                                                                                      Exhibit   C - 002
     Civil Intake — Intake Sheet
                                                            81                                Updated 7/5/18
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 82 of 161 Page ID #:159



                                                   FINAL DISPOSITION
                                                                                   Fiduciary #:

                                                                                   Case #:2C2-        9           2
DEFENDANTS                   Date Final                                               Final        Final      Final        Final
                                                                                     Order #1     Order #2   Order #3     Order #4

1.                                         TRIAL-JURY                      (TJ)

2.                                         TRIAL-JUDGE wANITNESS           (TNJ)

3.                                         DEFAULT JUDGMENT               (DJ)

4.                                         SETTLEMENT                     (SETL)

5.                                         NONSUIT                        (NS)

                                           VOLUNTARY DISMISSAL            (DIS)

7.                                         DECREE ON DEPOSITION            (DD)

a.                                         REPORT BY COMMISSIONER         (FDCR)

Other Comments:                            OTHER —                  (FO) (SJ) (FD)

                                           GARNISHMENT

                                           CONCEALED WEAPON PERMIT

                                           APPT CHURCH TRUSTEESISubstItute FID

                                           NAME CHANGE

                                           PURGED AFTER 2 YEARS           (2YO)

                                           PURGED AFTER 3 YEARS           (3YO)

E.H. Date:


EH Date:



                   TRIAL DATE                 NUMBER OF JURY DAYS        FINAL ALL DEFENDANTS                CLERK'S OFFICE
1.




         RE-OPEN DATE          REMAND      (REM)              MOTION TYPE                  RE-CLOSE DATE                CLERK'S
                               REINSTATE   (REI)                                                                         OFFICE
                               MISTRIAL    (MIS)

2.


3.


4.




Civil Intake — Final Disposition Form                                                                           Exhibit
                                                                                                             Updated    C - 003
                                                                                                                     912008
                                                              82
         Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 83 of 161 Page ID #:160
                                                     FAIRFAX CIRCUIT COURT
                                                     CIVIL CASE COVERSHEET                   20 19                   . 9 11
          Parties:
                                  Plaintiffs                                                     Defendants
    .T John C. Depp II                                                    t Amber Laura Heard
    2.                                                                    2.
    3.                                                        3.
          *Plaintiff proceeding without Counsel — Address and Daytime Phone Number required on Complaint
          Plaintiff Attorney:
                                                                                                               O
                                                                                                               r       --
                                                                                                                       ..0 n
    Name: Benjamin G. Chew                                             Bar ID: 29113                            flier   -D.
                                                                                                              -ta 0 1;      - --11
   Firm:Brown Rudnick LLP                                                                                     r - rg %      r - 7---
    Street:601 13th Street, NW, Suite 600                                                                      -rt- -4

                                                 State: DC
     • Washington                                                                                               - —171
    City:                                                             Zip: 20005                                f->orn   Ce          rn
                                                                                                                   ci:z.
   Phone Number: 202-536-1785                                         Fax Number: 202-536-1701                     c
                                                                                                                   -...--4
                                                                                                                     -0
                                                                                                                             c
                                                                                                                             a,
   E-mail Address: bchew@brownrudnick.com

  Nature of Complaint (Check only one)                        * Cases in the Civil Tracking Program
     Administrative Appeal                              V      efamation *                      Malpractice — Medical *
     Affirmation of Marriage                                  Delinquent Taxes *                MechanicsNendors Lien *
     Aid & Guidance                                           Eminent Domain                    Partition *
     Appeal Decision of Board of Zoning                       Encumber/Sell Real Estate         Personal Injury — Assault *
     Appeal of Process/Judicial Appeal                        Erroneous Assessments             Personal Injury — Auto *
      ppointment Church/Organization                          Expungement                       Personal Injury — Emotional *
      rustees
I i 'Arbitration                                              False Arrest/Imprisonment* I   Personal Injury - Premises
                                                                                              Liability*
   Attachment                                                 Fiduciary/Estate Complaint _Property Damage*
   Complaint- Equity *                                        Garnishment-Federal-180 days    Products Liability*
   Complaint - Legal Cause of Action *                        Garnishment-wage-180 days       Quiet Title *
   Compromise Settlement                                      Garnishment-other -so
                                                              Garnishment-other-           _ Real Estate *
   Condemnation*                                              Guardian/Conservator Adult      Restoration of Driving Privilege
   Confession of Judgment                                     Guardianship/Minor           —Vital Record Correction
   Construction *                                             Injunction                      Writ Habeas Corpus
   Contract *                                                  nterpleader                    Writ Mandamus
   Conversion*                                                 nsurance *                   l wron ful Death*
   Court Satisfaction of Judgment                             Judicial Review                 Wrongful Discharge *
   Declare Death                                              Malicious Prosecution *         OTHER:
   Declaratory Judgment *                                     Malpractice — Legal *


   Damages in the amount of $ 50,000,000 and punitives are claimed.


   Requested Service: $heriff_Private Process Server❑iDMV3ecreta                                 of Commonwealth ❑
       State Corporation Commission Publication No Service at this time


         CCR D-90 Civil Coversheet (Revised — October 2011)
                                                                       83                                          Exhibit C - 004
    Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 84 of 161 Page ID #:161
0
                                                                                         FILED
                                                                                      CIVIL INTAKE
       VIRGINIA:                                                        ,
                            IN THE CIRCUIT COURT OF FAIRFAX COUNTVliM9 MAR -1 PH 12: 145
                                                                                      JOHN T. FREY
                                                          )                        CLERK. CIRCUIT COURT
       John C. Depp, II,                                  )                            FAIRFAX. VA
                                                          )
                                                          )
            v.
                         Plaintiff,
                                                          )       civiiAl94.9 9 2 9 i i
                                                          )
       Amber Laura Heard,                                 )
                                                          )
                        Defendant.                        )

                                               COMPLAINT

                 Plaintiff John C. Depp, II, anda Johnny Depp, in support of his Complaint against

       Defendant Amber Laura Heard hereby states the following:

                                        NATURE OF THE ACTION

              1.       This defamation action arises from an op-ed published in the Washington Post by

       actress Amber Heard ("Ms. Heard"). In the op-ed, Ms. Heard purported to write from the

       perspective of "a public figure representing domestic abuse" and claimed that she "felt the full

       force of our culture's wrath for women who speak out" when she "spoke up against sexual

       violence."

              2.       Although she never identified him by name, the op-ed plainly was about (and

       other media consistently characterized it as being about) Ms. Heard's purported victimization

       after she publicly accused her former husband, Johnny Depp ("Mr. Depp"), of domestic abuse in

       2016, when she appeared in court with an apparently battered face and obtained a temporary

       restraining order against Mr. Depp on May 27, 2016. The op-ed depended on the central premise

       that Ms. Heard was a domestic abuse victim and that Mr. Depp perpetrated domestic violence

       against her.




                                                      1
                                                     84                                     Exhibit C - 005
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 85 of 161 Page ID #:162




          3.     The op-ed's clear implication that Mr. Depp is a domestic abuser is categorically

   and demonstrably false. Mr. Depp never abused Ms. Heard. Her allegations against him were

   false when they were made in 2016. They were part of an elaborate hoax to generate positive

   publicity for Ms. Heard and advance her career. Ms. Heard's false allegations against Mr. Depp

   have been conclusively refuted by two separate responding police officers, a litany of neutral

   third-party witnesses, and 87 newly obtained surveillance camera videos. With a prior arrest for

   violent domestic abuse and having confessed under oath to a series of violent attacks on Mr.

   Depp, Ms. Heard is not a victim of domestic abuse; she is a perpetrator. Ms. Heard violently

   abused Mr. Depp, just as she was caught and arrested for violently abusing her former domestic

   partner.

          4.     Ms. Heard's implication in her op-ed that Mr. Depp is a domestic abuser is not

   only demonstrably false, it is defamatory per se. Ms. Heard falsely implied that Mr. Depp was

   guilty of domestic violence, which is a crime involving moral turpitude. Moreover, Ms. Heard's

   false implication prejudiced Mr. Depp in his career as a film actor and incalculably (and

   immediately) damaged his reputation as a public figure.

          5.     Unsurprisingly, Mr. Depp's reputation and career were devastated when Ms.

   Heard first accused him of domestic violence on May 27, 2016. Ms. Heard's hoax allegations

   were timed to coincide with the day that Mr. Depp's film, Alice Through the Looking Glass, was

   released in theatres. Her op-ed, with its false implication that she was a victim of domestic

   violence at the hands of Mr. Depp, brought new damage to Mr. Depp's reputation and career.

   Mr. Depp lost movie roles and faced public scorn. Ms. Heard, an actress herself, knew precisely

   the effect that her op-ed would have on Mr. Depp. And indeed, just four days after Ms. Heard's

   op-ed was first published on December 18, 2018, Disney announced on December 22, 2018 that




                                                  2
                                                 85                                     Exhibit C - 006
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 86 of 161 Page ID #:163




   it was dropping Mr. Depp from his leading role as Captain Jack Sparrow—a role that he

   created—in the multi-billion-dollar-earning Pirates of the Caribbean franchise.

          6.     Ms. Heard published her op-ed with actual malice. She knew that Mr. Depp did

   not abuse her and that the domestic abuse allegations that she made against him in 2016 were

   false. She knew that the testimony and photographic "evidence" that she presented to the court

   and the supporting sworn testimony provided by her two friends were false and perjurious. Ms.

   Heard knew that the truth was that she violently abused Mr. Depp—just as she violently abused

   her prior domestic partner, which led to her arrest and booking for domestic violence, as well as

   a night in jail and a mug shot. Ms. Heard revived her false allegations against Mr. Depp in the

   op-ed to generate positive publicity for herself and to promote her new movie Aquaman, which

   premiered across the United States and in Virginia only three days after the op-ed was first

   published.

          7.      Mr. Depp brings this defamation action to clear his name. By this civil lawsuit,

   Mr. Depp seeks to restore his reputation and establish Ms. Heard's legal liability for continuing

   her campaign to push a false narrative that he committed domestic violence against her. Mr.

   Depp seeks an award of compensatory damages for the reputational harm that he suffered as a

   result of Ms. Heard's op-ed, with its false and defamatory implication that Mr. Depp was a

   domestic abuser. Further, given the willfulness and maliciousness that Ms. Heard demonstrated

   when she knowingly published the op-ed with the false implication that Mr. Depp violently

   abused her, Mr. Depp also seeks an award of punitive damages.

                                              PARTIES

          8.      Plaintiff John C. Depp is an individual and a resident of the State of California.

   For decades, he has been one of the most prominent actors in Hollywood. Mr. Depp was married




                                                   3
                                                 86                                      Exhibit C - 007
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 87 of 161 Page ID #:164




   to Ms. Heard for approximately 15 months between February 1, 2015 and May 23, 2016. They

   had no children together. Mr. Depp was the target of Ms. Heard's false and defamatory op-ed in

   the Washington Post.

          9.     Defendant Amber Laura Heard is an individual and a resident of the State of

   California. Ms. Heard is an actress and Mr. Depp's former wife. Ms. Heard authored and

   published the defamatory op-ed in the Washington Post that falsely implied that Mr. Depp

   abused her during their marriage.

                                  JURISDICTION AND VENUE

          10.    This Court has specific personal jurisdiction over Defendant under Virginia's

   long-arm statute, Va. Code § 8.01-328.1, as well as under the Due Process Clause of the U.S.

   Constitution, because, among other things, the causes of action in this Complaint arise from

   Defendant transacting business in this Commonwealth and causing tortious injury by an act or

   omission in this Commonwealth. Moreover, exercising jurisdiction would not offend traditional

   notions of fair play and substantial justice because Defendant could have — indeed should have

   — reasonably foreseen being haled into a Virginia court to account for her false and defamatory

   op-ed which was published: in a newspaper that is printed in Springfield, Virginia; in an online

   edition of the newspaper that is created on a digital platform in Virginia and routed through

   servers in Virginia; in a newspaper that has wide circulation in Virginia and even publishes a

   Virginia local edition in which the false and defamatory op-ed appeared; and in a newspaper that

   maintains two physical offices in Virginia.        Further, Defendant published the false and

   defamatory op-ed to promote her new movie which was in Virginia theatres for viewing by

   Virginia audiences.




                                                  4
                                                87                                      Exhibit C - 008
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 88 of 161 Page ID #:165



          11.     Venue is proper in this circuit under Va. Code § 8.01-262 because the causes of

   action asserted herein arose in this Circuit.

                                                   FACTS

   Ms. Heard Wrote An Op-Ed In The Washington Post That Implies That She Was A Victim
                      Of Domestic Abuse At The Hands Of Mr. Depp

          12.     Mr. Depp has appeared in more than 50 films over the last three decades. He has

   worldwide name recognition and has played a diverse array of iconic roles, including Edward

   Scissorhands, Willy Wonka, Captain Jack Sparrow, The Mad Hatter, Grindelwald, John

   Dellinger, and Whitey Bulger. His movies have grossed over $10 billion dollars in the United

   States and around the world. He has won the People's Choice Award 14 times.

           13.    Mr. Depp married Ms. Heard on February 1, 2015. The two met when Ms. Heard

   was cast in Mr. Depp's film The Rum Diary.

           14.    The marriage lasted only 15 months.

           15.    Unbeknownst to Mr. Depp, no later than one month after his marriage to Ms.

   Heard, she was spending time in a new relationship with Tesla and Space-X founder, Elon Musk.

   Only one calendar month after Mr. Depp and Ms. Heard were married—while Mr. Depp was out

   of the country filming in March 2015—Eastern Columbia Building personnel testified that Ms.

   Heard received Musk "late at night" at Mr. Depp's penthouse. Specifically, Ms. Heard asked

   staff at the Eastern Columbia Building to give her "friend Elon" access to the building's parking

   garage and the penthouse elevator "late at night," and they testified that they did so. Building

   staff would then see Ms. Heard's "friend Elon" leaving the building the next morning. Musk's

   first appearance in Mr. Depp's penthouse occurred shortly after Ms. Heard threw a vodka bottle

   at Mr. Depp in Australia, when she learned that Mr. Depp wanted the couple to enter into a post-




                                                     5
                                                    88                                   Exhibit C - 009
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 89 of 161 Page ID #:166



    nuptial agreement concerning assets in their marriage. Ms. Heard's violently aimed projectile

   virtually severed Mr. Depp's middle finger on his right hand and shattered the bones.

            16.   Mr. Depp's marriage to Ms. Heard came to an end in May 2016. After Mr. Depp

    indicated to Ms. Heard that he wanted to leave the marriage, Ms. Heard lured Mr. Depp to his

    penthouse to pick up his personal items. Unaware that members of Mr. Depp's security team

   (including an 18-year veteran of the Los Angeles County Sherriff s Department) were mere feet

   away, Ms. Heard falsely began yelling "stop hitting me Johnny." The interaction culminated

   with Ms. Heard making false allegations that Mr. Depp struck her with a cell phone, hit her, and

    destroyed the penthouse. There were multiple eyewitnesses to this hoax. Ms. Heard's friend

   then called the police, who arrived promptly. Upon their arrival, Ms. Heard refused to cooperate

   with police or make any claims that she had been injured or assaulted, and two domestic abuse

   trained police officers testified that after close inspection of Ms. Heard and the penthouses, they

    observed no injury to Ms. Heard or damage to the penthouses. But then, six days later, Ms.

    Heard presented herself to the world with a battered face as she publicly and falsely accused Mr.

   Depp of domestic violence and obtained a restraining order against him, based on false testimony

   that she and her friends provided.

            17.   Now there are newly obtained surveillance camera videos, depositions, and other

   evidence that conclusively disprove Ms. Heard's false allegations. Although much of this

   exculpatory evidence was collected by certain members Mr. Depp's then-legal team in 2016, it

   only recently came into Mr. Depp's possession, as it had been hidden from him for a period of

   years.

            18.   Ms. Heard later withdrew her false domestic violence allegations and dismissed

   the restraining order. She and Mr. Depp finalized their divorce in January 2017.




                                                   6
                                                                                           Exhibit C - 010
                                                  89
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 90 of 161 Page ID #:167




          19.     Despite dismissing the restraining order and withdrawing the domestic abuse

   allegations, Ms. Heard (and her surrogates) have continuously and repeatedly referred to her in

   publications, public service announcements, social media postings, speeches, and interviews as a

   victim of domestic violence, and a "survivor," always with the clear implication that Mr. Depp

   was her supposed abuser.

          20.     Most recently, in December 2018, Ms. Heard published an op-ed in the

   Washington Post that falsely implied that Ms. Heard was a victim of domestic violence at the

   hands of Mr. Depp. The op-ed was first published on the Washington Post's website on

   December 18, 2018 with the title, "Amber Heard: I spoke up against sexual violence — and

   faced our culture's wrath. This has to change." The op-ed appeared again on December 19,

   2018 in the Washington Post's hardcopy edition under the title, "A Transformative Moment For

   Women."      Except for their titles, the online and hard copy versions of the op-ed were

   substantively identical and are referred to collectively herein as the "Sexual Violence" op-ed.

          21.     The "Sexual Violence" op-ed's central thesis was that Ms. Heard was a victim of

   domestic violence and faced personal and professional repercussions because she "spoke up"

   against "sexual violence" by "a powerful man."

          22.     Although Mr. Depp was never identified by name in the "Sexual Violence" op-ed,

   Ms. Heard makes clear, based on the foundations of the false accusations that she made against

   Mr. Depp in court filings and subsequently reiterated in the press for years, that she was talking

   about Mr. Depp and the domestic abuse allegations that she made against him in May 2016. Ms.

   Heard wrote:

          • "Amber Heard: I spoke up against sexual violence — and faced our culture's wrath.
            That has to change."




                                                    7
                                                  90                                       Exhibit C - 011
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 91 of 161 Page ID #:168




          • "Then two years ago [the precise time frame of her allegations against and divorce
            from Mr. Depp], I became a public figure representing domestic abuse, and I felt the
            full force of our culture's wrath for women who speak out."

          • "I had the rare vantage point of seeing, in real time, how institutions protect men
            accused of abuse."

          • "I write this as a woman who had to change my phone number weekly because I was
            getting death threats. For months, I rarely left my apartment, and when I did, I was
            pursued by camera drones and photographers on foot, on motorcycles and in cars.
            Tabloid outlets that posted pictures of me spun them in a negative light. I felt as
            though I was on trial in the court of public opinion — and my life and livelihood
            depended on myriad judgments far beyond my control."

          23.    As these statements reflect, the whole op-ed proceeds from the notion—presented

   as an unassailable truth—that Ms. Heard was the victim of domestic violence at the hands of Mr.

   Depp. She was not. Ms. Heard is not a victim of domestic violence, and Mr. Depp is not a

   perpetrator of domestic violence. And the centerpiece of Ms. Heard's attention-seeking hoax—

   her claim that Mr. Depp savagely injured her face by throwing her own iPhone at her from point

   blank range as hard as he could and then continued to beat her face with other "appendages of his

   body" on the evening of May 21, 2016, which caused her to have the battered face that she first

   presented to the court and the world on May 27, 2016—was a poorly executed lie that

   nevertheless has endured for nearly three years. The statements in her "Sexual Violence" op-ed

   that imply otherwise are false and defamatory.

           Ms. Heard Was Not A Victim Of Domestic Violence: She Was A Perpetrator

          24.     Long before Ms. Heard became a self-described "public figure representing

   domestic abuse" based on her false domestic violence allegations against Mr. Depp, Ms. Heard

   was in an abusive relationship. But Ms. Heard was not the victim in that relationship. She was

   the abuser.




                                                     8
                                                    91                                  Exhibit C - 012
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 92 of 161 Page ID #:169




          25.     On September 14, 2009, police officers at the Seattle-Tacoma International

   Airport witnessed Ms. Heard physically assault her then-domestic partner, Tasya van Ree. Ms.

   Heard grabbed Ms. van Ree by the arm, hit Ms. van Ree in the arm, and yanked Ms. van Ree's

   necklace off her neck. Ms. Heard was arrested. She was booked for misdemeanor domestic

   violence, a mug shot was taken of her, and she spent the night in jail. The following day, the

   Seattle-based prosecutor declined to press charges against Ms. Heard, but only because both she

   and her domestic abuse victim were California residents who were merely passing through

   Washington state.

          26.     Since casting herself as a domestic abuse victim, Ms. Heard has attempted to

   blame misogyny and homophobia for her domestic violence arrest—claiming that she was

   arrested "on a trumped up charge" because she was in a same-sex relationship. In truth, the

   police officer who arrested Ms. Heard for domestic violence was both a woman and a lesbian

   activist, who publicly said so after she was publicly disparaged by Ms. Heard.

          27.     Ms. Heard's violent domestic abuse did not end when her relationship with Ms.

   van Ree ended. Ms. Heard committed multiple acts of domestic violence against Mr. Depp

   during their marriage. Ms. Heard's physical abuse of Mr. Depp is documented by eyewitness

   accounts, photographs, and even Ms. Heard's own admissions under oath.

          28.     In one particularly gruesome episode that occurred only one month into their

   marriage, Ms. Heard shattered the bones in the tip of Mr. Depp's right middle finger, almost

   completely cutting it off. Ms. Heard threw a glass vodka bottle at Mr. Depp one of many

   projectiles that she launched at him in this and other instances. The bottle shattered as it came

   into contact with Mr. Depp's hand, and the broken glass and impact severed and shattered,Mr.




                                                   9
                                                 92                                     Exhibit C - 013
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 93 of 161 Page ID #:170




   Depp's finger. Mr. Depp's finger had to be surgically reattached. Ms. Heard then disseminated

   false accounts of this incident, casting Mr. Depp as the perpetrator of his own injury.

          29.     Ms. Heard's domestic abuse of Mr. Depp continued unabated throughout their 15-

   month marriage. Ms. Heard threw dangerous objects at Mr. Depp, and also kicked and punched

   him with regularity.

          30.     Shockingly, Ms. Heard even has used one of her attacks on Mr. Depp to push her

   false narrative that she is a domestic abuse victim. In her false affidavit to obtain a restraining

   order against Mr. Depp, Ms. Heard recounted a domestic violence incident that occurred between

   her and Mr. Depp on April 21, 2016 and reversed the roles, claiming that she was the victim

   when in truth she was the perpetrator. Ms. Heard falsely claimed that Mr. Depp physically

   attacked her, threw glasses at her, and broke a champagne bottle in their penthouse after her

   thirtieth birthday celebration on April 21, 2016. In truth, Ms. Heard—angry with Mr. Depp

   because he was late to her birthday celebration due to a business meeting — punched Mr. Depp

   twice in the face as he lay in bed reading, forcing him to flee their penthouse to avoid further

   domestic violence at the hands of Ms. Heard. Mr. Depp's security detail member, Sean Bett (an

   18-year veteran of the Los Angeles County Sherriff's Department) picked up Mr. Depp

   immediately after Ms. Heard assaulted him and witnessed firsthand the aftermath and damage to

   Mr. Depp's face.       On other occasions—after Ms. Heard violently attacked Mr. Depp in

   December 2015-Mr. Bett insisted on taking photographs to document the damage to Mr.

   Depp's face inflicted by Ms. Heard.

          31.     Thus, contrary to the false and defamatory implication in her "Sexual Violence"

   op-ed, Ms. Heard was never a victim of domestic violence at the hands of Mr. Depp. Ms. Heard

   herself is a domestic abuser, who committed multiple acts of domestic violence against Mr. Depp




                                                    10
                                                   93                                        Exhibit C - 014
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 94 of 161 Page ID #:171




   during their marriage, in addition to the domestic abuse that she perpetrated against her former

   partner.

      Ms. Heard's Domestic Abuse Allegations Against Mr. Depp Are False And Have Been
             Refuted Conclusively By Police, Neutral Third-Party Witnesses, and
                                   87 Surveillance Videos

          32.       Ms. Heard did not "[speak] up against sexual violence" as she claimed in her op-

   ed. She made false allegations of domestic abuse against Mr. Depp to execute her hoax.

          33.       The centerpiece of Ms. Heard's false abuse allegations is an incident that she

   claimed took place around 7:15 pm on Saturday, May 21, 2016 at Mr. Depp's penthouse in the

   Eastern Columbia Building in downtown Los Angeles. After Ms. Heard lured Mr. Depp to pick

   up personal items from his own penthouse, Ms. Heard, sitting on the sofa with her friend, Raquel

   Pennington, and talking on the phone with her friend, iO Tillett Wright, claimed that Mr. Depp

   "grabbed the cell phone, wound up his arm like a baseball pitcher and threw the cell phone at me

   striking my cheek and eye with great force." Ms. Heard also claimed that Mr. Depp further

   battered her face with some "appendage of his body" and then used a magnum-sized bottle of

   wine to destroy the penthouse, spilling wine, broken glass, and other items around the penthouse.

   "Penthouse 3 was destroyed" by Mr. Depp's bottle swinging, claimed Ms. Heard in her sworn

   testimony. Her two friends testified accordingly. Ms. Heard used these allegations to obtain a

   temporary restraining order against Mr. Depp on May 27, 2016, appearing in court six days after

   the alleged incident with the first appearance of a battered face, notwithstanding that a litany of

   people witnessed her throughout the week with no injury and building surveillance videos

   similarly showed her uninjured.

              34.   Mr. Depp, it is worth noting, left Los Angeles for many weeks almost

    immediately after the alleged incident. And it is also worth noting that building personnel




                                                   11
                                                  94                                      Exhibit C - 015
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 95 of 161 Page ID #:172




   testified under oath that they again facilitated Elon Musk's nighttime visits to Mr. Depp's

   penthouse to visit Ms. Heard, key-fobbing him in and out of the building proximate to the time

   Ms. Heard presented her battered face to the public and the court on May 27, 2016.

          35.     Mr. Depp has consistently and unequivocally denied Ms. Heard's domestic abuse

   allegations. They also have been refuted conclusively by multiple, neutral third-party witnesses.

          36.     Ms. Heard's friend and neighbor, Isaac Baruch, gave a declaration that he

   repeatedly interacted with Ms. Heard, at close range, without makeup, and utterly unmarked and

   uninjured in the days between May 22 and May 27, 2016. He further stated in his declaration

   that on June 3, after confronting Ms. Heard about how upset he was at her false abuse

   allegations: "Amber then told me that she did not want anything from Johnny and that it was the

   lawyers who were doing all of this."

          37.     Police went to Mr. Depp's penthouse on May 21, 2016, immediately after the

   incident was alleged to have occurred. They were dispatched after Ms. Heard's friend, Mr.

   Wright, called 911 to report what the police dispatch log describes as a "verbal argument only"

   between a husband and wife. Two officers, who are highly trained in domestic violence, arrived

   at the penthouse shortly after Ms. Heard later claimed that Mr. Depp struck her in the face with a

   cell phone, further hit her face, and then "destroyed" his own penthouse by swinging a magnum-

   sized bottle of wine into other objects throughout that penthouse. Officer Melissa Saenz is a

   veteran Los Angeles Police officer who is charged with training other police officers and

   personally has responded to "over a hundred" domestic violence calls. Officer Tyler Hadden is a

   junior police officer, but focused on domestic violence at the police academy and received

   extensive training in how to detect that particular crime.




                                                    12
                                                   95                                    Exhibit C - 016
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 96 of 161 Page ID #:173



           38.    Both Officer Saenz and Officer Hadden testified under oath that they closely

   observed Ms. Heard's face in good light on May 21, 2016 and saw no signs of any injury. In the

   police officers' face-to-face interactions with Ms. Heard immediately after she supposedly was

   struck in the face with a cell phone and then further beaten in the face by Mr. Depp, the police

   officers saw no red marks, no bruising, and no swelling anywhere on Ms. Heard's face. Both

   Officer Saenz and Officer Hadden also testified under oath that, when they went room-to-room

   in the penthouses to investigate, they saw no broken glass, no spilled wine, and no vandalism or

    property damage of any kind. This is in contrast to Ms. Heard's later claim that Mr. Depp

   "destroyed" penthouse 3 and caused serious, visible injuries to her face.         It also directly

    contradicts Ms. Heard's friend's testimony regarding what Ms. Heard's face looked like at that

   time: "Just the whole side of her face was like swolled up (sic) and red and puffy . . . and

    progressively getting worse."

           39.    There was no probable cause to believe that a crime had been committed,

   according to Officer Saenz's testimony, because Ms. Heard had no injuries and claimed to have

   no injuries, and there was no property damage in the penthouse or signs of any altercation.

           40.    Multiple people who work professionally in the Eastern Columbia Building where

    the penthouse is located, and who do not know Mr. Depp personally, also have unambiguously

    debunked Ms. Heard's claim that her face was injured on May 21, 2016 and that she had any

    sign of injury in the six days before May 27, 2016. Three people, the building's concierge, head

    of front desk and head of security, profoundly testified under oath about their face-to-face

    interactions with Ms. Heard between May 22, 2016 (the day after Ms. Heard claims that Mr.

    Depp hit her and struck her in the eye and on the cheek with a cell phone) and May 27, 2016 (the

    day Ms. Heard appeared in public and went to court to get a restraining order against Mr. Depp




                                                  13
                                                 96                                      Exhibit C - 017
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 97 of 161 Page ID #:174




   with what appeared to be a battered face). Every one of those three people testified under oath

   that they saw Ms. Heard up close in the days after the supposed attack and her face was not

    injured before the day she obtained the restraining order against Mr. Depp.

           41.    Cornelius Harrell is a concierge at the Eastern Columbia Building and was

    working at the front desk at 1 pm on the afternoon of Sunday, May 22, 2016. Mr. Harrell saw

    Ms. Heard face-to-face that afternoon—less than 24 hours after she claims that she was struck in

    the face by a cell phone thrown by Mr. Depp and hit in the face by Mr. Depp.

           42.     In an interaction that was also captured by the Eastern Columbia Building's

    surveillance cameras and saved, Ms. Heard approached Mr. Harrell to pick up a package that had

    been delivered to her. Ms. Heard accompanied Mr. Harrell to the package room to identify

    which package she wanted because more than one had been delivered to her. As they were

    looking through her packages, Mr. Harrell and Ms. Heard were inside the package room

    together. The package room at the Eastern Columbia Building is "no bigger than a walk-in

    closet," so Mr. Harrell had an opportunity to observe Ms. Heard's face up close, the day after she

    claimed she was battered by Mr. Depp in the face.

           43.     Mr. Harrell testified under oath that, on May 22, 2016, Ms. Heard did not have

    any bruises, cuts, scratches, or swelling on her face and that "nothing appeared out of the

    ordinary about Ms. Heard's face on May 22, 2016." In fact, Mr. Harrell testified that he was

    struck by how "beautiful," "radiant," and "refreshed" Ms. Heard looked, noting that, if she was

    wearing any makeup at all, it was "minimal." Mr. Harrell unequivocally testified that when he

    was interacting one-on-one in close quarters with Ms. Heard on May 22, 2016 for about 8

    minutes, that he did not see any evidence to suggest that she had been the victim of domestic

    violence the day before. Mr. Harrell does not know Mr. Depp personally.




                                                   14
                                                  97                                      Exhibit C - 018
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 98 of 161 Page ID #:175



          44.     Alejandro Romero also works at the Eastern Columbia Building, maiming the

   front desk and monitoring the security cameras from 4:00 pm to 1:00 am Monday-Friday. Mr.

   Romero had "hundreds" of in-person interactions with Ms. Heard when she resided in the

   penthouse, in addition to observing her innumerable times on surveillance footage captured by

   the Eastern Columbia Building's security cameras. Mr. Romero testified under oath about two

   specific face-to-face interactions that he had with Ms. Heard in the days after she claimed that

   Mr. Depp hit her in the face and struck her cheek and eye with a cell phone that he threw.

          45.     Mr. Romero testified that on the "Monday or Tuesday" evening "after the police

   were called"—May 23 or 24, 2016—he was approached at the front desk by Ms. Heard and her

   friend, Ms. Pennington, who also resided in the penthouse. Ms. Heard and Ms. Pennington

   asked Mr. Romero to accompany them to the penthouse because they were afraid that someone

   had tried to get inside the penthouse. Mr. Romero discounted this concern because he had been

   monitoring security footage and saw no one trying to access the penthouse. Nevertheless, Mr.

   Romero agreed to accompany Ms. Heard and Ms. Pennington to the penthouse and confirm that

   it was secure. He left the front desk with Ms. Heard and Ms. Pennington, rode up to the 13th

   floor with them, and went inside the penthouse with them. Throughout this interaction, Mr.

   Romero testified under oath that he had "a full shot" of Ms. Heard's face and "a good visual" of

   Ms. Heard's face and saw no bruises, cuts, swelling, or marks of any kind.

          46.     Mr. Romero interacted with Ms. Heard again on the evening of May 25, 2016

   when she came to the front desk to retrieve a key to the penthouse that she had left at the front

   desk. Again, in this face-to-face interaction, Mr. Romero testified that he saw no bruises, cuts,

   swelling, or marks of any kind on Ms. Heard's face.




                                                  15
                                                                                         Exhibit C - 019
                                                 98
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 99 of 161 Page ID #:176




           47.    Based on his in-person interactions with Ms. Heard, Mr. Romero, who does not

   know Mr. Depp personally, testified under oath that he "couldn't believe" Ms. Heard's domestic

   abuse allegations against Mr. Depp because:

           It was like — it was like I said, we watched the news and we saw the pictures. And I saw
           the pictures and the next day I saw her, I was like, come on, really? I couldn't believe it.
           It was — I saw her in person           The pictures I saw on the news, she got like a big
           mark on her — on her eyes and her cheek. And when I saw her in person, I didn't see
           anything.

           48.    Trinity Esparza, the daytime concierge at the Eastern Columbia Building who

   works at the front desk from 8:00 am to 4:00 pm Monday-Friday, echoed Mr. Romero's disbelief

   at Ms. Heard's account. Ms. Esparza, who does not know Mr. Depp personally, testified under

   oath that she thought that Ms. Heard's allegation that she had been assaulted by Mr. Depp was

   "false" because "I saw her several times [in the days after the alleged attack] and I didn't see that

   [mark] on her face."

           49.     Ms. Esparza had multiple face-to-face interactions with Ms. Heard in the days

   after Ms. Heard claimed that Mr. Depp hit her and struck her in the eye and cheek with a cell

    phone. Ms. Esparza saw Ms. Heard in-person on Monday, May 23, 2016; Tuesday, May 24,

   2016; Wednesday, May 25, 2016; and Friday, May 27, 2016. Ms. Esparza testified under oath

   that, when she saw Ms. Heard on the Monday, Tuesday, and Wednesday after the alleged attack,

    Ms. Heard was not wearing makeup and that Ms. Heard had no facial injuries. There were no

    bruises or cuts on Ms. Heard's face, according to Ms. Esparza's testimony. Ms. Esparza testified

    under oath that she saw no indication that Ms. Heard had been hit or struck.

           50.     Then, on Friday, May 27, 2016, Ms. Esparza testified under oath that Ms. Heard

    suddenly "had a red cut underneath her right eye and red marks by her eye." Then Ms. Esparza

    learned from media reports that Ms. Heard had obtained a domestic violence restraining order




                                                    16
                                                   99                                       Exhibit C - 020
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 100 of 161 Page ID
                                   #:177



 against Mr. Depp on May 27, 2016. Because Ms. Esparza had seen Ms. Heard so many times

 that week without any marks on her face, Ms. Esparza thought "the time didn't add up and so I

 was questioning . . . the mark on her face and the allegations that were made."

        51.     Ms. Esparza was so troubled by the sudden appearance of "a mark" on Ms.

 Heard's face on the very day that Ms. Heard obtained a restraining order against Mr. Depp—but

 six days after the alleged incident—that Ms. Esparza went back and looked at security video

 footage and talked to others who worked in the Eastern Columbia Building to see if the "mark"

 might have been on Ms. Heard's face earlier. It wasn't.

        52.     Mr. Romero and Mr. Harrell confirmed to Ms. Esparza that Ms. Heard did not

 have any injuries on her face when they interacted with her.

        53.     Ms. Esparza also did not see the "mark" on Ms. Heard's face when she went back

 and reviewed surveillance videos from the days after Ms. Heard claims that Mr. Depp hit her and

 struck her in the face with a cell phone that he threw.

        54.     But Ms. Esparza did see something else on the surveillance video. On a video

 from the evening of May 24, 2016, three nights after Ms. Heard alleged that she was attacked by

 Mr. Depp, Ms. Esparza saw Ms. Heard, her sister, Whitney Heard, and Ms. Heard's friend and

 corroborating witness, Ms. Pennington, on the mezzanine level of the Eastern Columbia

 Building. In the surveillance video, Ms. Esparza testified under oath that she saw Whitney

 Heard pretend to punch her sister in the face. Then Ms. Heard, Ms. Pennington, and Whitney

 Heard all laughed. Ms. Esparza testified that she thought how Ms. Heard, Ms. Pennington, and

 Whitney Heard were acting on the surveillance video was "wrong," and it only made her

 question more how Ms. Heard ended up with a "mark" on her face three days later, on Friday,

 May 27. Ms. Esparza knew that Mr. Depp had left Los Angeles for work on the day of the




                                                  17
                                                100                                  Exhibit C - 021
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 101 of 161 Page ID
                                   #:178



 alleged incident "and he did not return and so I was questioning how those marks got on her face

 on Friday." Ultimately, Ms. Esparza testified under oath that she was forced to conclude that

 "whatever happened to [Ms. Heard's] face did not happen on Saturday [May 21]", as Ms. Heard

 had alleged.

         55.     Ms. Esparza is not the only professional employee of the Eastern Columbia

 Building to witness the "fake punch" video. Brandon Patterson, the General Manager of the

 Eastern Columbia Building, provided a declaration about it:

         One of the surveillance videos, taken the evening of Tuesday, May 24, showed Amber
         Heard, her sister Whitney Heard, and her friend Raquel Pennington entering the
         building's mezzanine. Trinity Esparza showed me a video at the front desk with a pretend
         punch to the face from one of Miss Heard's two companions, and the three of them
         laughed hard. They then enter the penthouse elevator, where Ms. Heard's face was
         clearly visible, there were similarly no bruises, cuts, redness, swelling visible on Ms.
         Heard's face.

         56.     Later, in the media firestorm concerning Ms. Heard's domestic abuse allegations

 against Mr. Depp, Ms. Heard learned that there were media reports stating that people who

 worked at the front desk of the Eastern Columbia Building had seen Ms. Heard without any

 marks on her face, as indeed was their testimony. Mr. Patterson, the General Manager of the

 Eastern Columbia Building, summarized the testimony of building staff in his own declaration:

         Ms. Heard was repeatedly observed in the Eastern Columbia Building in the multiple
         days following the alleged assault without bruises, cuts, redness, swelling or any other
         injuries to her face. These observations were made by people working at the front desk at
         the Eastern Columbia Building who interacted with Ms. Heard in person and also saw
         images of her on the building surveillance cameras.

         57.     Approximately a week after she made her domestic abuse allegations against Mr.

  Depp, Ms. Heard approached Ms. Esparza and Mr. Patterson, and asked the two of them to give

 a statement to Ms. Heard's "friend" at People Magazine. Ms. Heard wanted Ms. Esparza and

  Mr. Patterson "to help retract the statement that was given to the press stating that the front desk




                                                  18
                                                101                                       Exhibit C - 022
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 102 of 161 Page ID
                                   #:179


 had released this information [about seeing Ms. Heard with no injuries to her face] and [Ms.

 Heard] asked if we would clarify it and let them know that we, in fact, would never release that

 information on any resident." Mr. Patterson and Ms. Esparza refused to give the statement and

 directed Ms. Heard to the Eastern Columbia Building's lawyer.

        58.    Ms. Esparza testified that she was "not comfortable" with "the statement that [Ms.

 Heard] was proposing that [the building] make to People Magazine, that the building would not

 have said they saw [Ms. Heard] without marks on her face" "because that would have been a lie"

 as "the front desk did, in fact, see [Ms. Heard] prior to Friday [May 27, 2016] without marks on

 her face."

        59.     The people working at the front desk of the Eastern Columbia Building did not

 see any injuries to Ms. Heard's face because there were no injuries to Ms. Heard's face. Ms.

 Heard's allegations that Mr. Depp's battered her was a poorly executed hoax.

        60.     The police officers, who responded to the penthouse on May 21, 2016

 immediately after the alleged attack, saw no signs that Ms. Heard had been hit or struck by a cell

 phone or that a magnum-sized bottle of wine had "destroyed" the penthouse because those

 things never happened. There was no probable cause to believe a crime had been committed

 because no crime had been committed against Ms. Heard by Mr. Depp.

        61.     Ms. Heard's domestic violence allegations against Mr. Depp were false, as is her

 portrayal of herself in her "Sexual Violence" op-ed as a domestic violence victim and her

 portrayal of Mr. Depp as a domestic violence perpetrator and "monster."

  Ms. Heard Acted With Actual Malice When She Implied In Her "Sexual Violence" Op-Ed
          That She Was A Victim Of Domestic Abuse At The Hands Of Mr. Depp




                                                 19
                                               102                                     Exhibit C - 023
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 103 of 161 Page ID
                                   #:180


           62.   Ms. Heard acted with actual malice when she published her false and defamatory

 "Sexual Violence" op-ed and implied that she was a victim of domestic abuse at the hands of Mr.

 Depp.

           63.   Ms. Heard knew that she was not the domestic abuse victim, but the domestic

 abuser.

           64.   Ms. Heard knew that her domestic abuse allegations against Mr. Depp were false

 and that she leveled them and enlisted her friends to act as surrogates for her lies, as part of an

 elaborate hoax to generate positive publicity for herself

           65.   Ms. Heard also knew that her elaborate hoax worked: as a result of her false

 allegations against Mr. Depp, Ms. Heard became a darling of the #MeToo movement, was the

 first actress named a Human Rights Champion of the United Nations Human Rights Office, was

 appointed ambassador on women's rights at the American Civil Liberties Union, and was hired

 by L'Oreal Paris as its global spokesperson.

           66.   Because of the past success that her false domestic abuse allegations against Mr.

 Depp had brought her, Ms. Heard revived the false allegations to promote her new movie.

           67.   Aquaman, Ms. Heard's first leading role in a big-budget studio film, premiered in

 theatres across the United States (and in Virginia) on December 21, 2019. The movie ended up

 making over $1 billion at the box office globally.

           68.   Tellingly, just days before the premiere, Heard published her "Sexual Violence"

  op-ed with its false implication that she was a domestic abuse victim at the hands of Mr. Depp on

 December 18, 2019 in the Washington Post's online edition and on December 19, 2019 in the

  Washington Post's hardcopy edition. The op-ed in the Washington Post's online edition' was

  accompanied by a picture of Ms. Heard on the red carpet at Aquaman's Los Angeles premiere.




                                                  20
                                                103                                     Exhibit C - 024
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 104 of 161 Page ID
                                   #:181


              Mr. Depp's Reputation And Career Suffer As A Result Of Ms. Heard's
                                 False And Defamatory Op-Ed

        69.      As a result of Ms. Heard's false domestic abuse allegations, Mr. Depp's

 reputation and career sustained immense damage.

        70.      Ms. Heard, an actress herself, is well aware of the negative effect that false

 domestic abuse allegations have on Mr. Depp's career.

        71.      Mr. Depp lost roles in movies because of the false allegations that Ms. Heard

 made against him.     When Mr. Depp was cast in films, there were public outcries for the

 filmmakers to recast his roles.

        72.      Mr. Depp endured the public scorn caused by Ms. Heard's false domestic abuse

 allegations for more than two years. But he was weathering the storm and had a successful film

 release in November 2019. In fact, that movie was still playing on screens across Virginia when

 Ms. Heard revived the false domestic abuse allegations by publishing her "Sexual Violence" op-

 ed in the Washington Post.

        73.      The reaction to Ms. Heard's false and defamatory op-ed was swift and severe.

 Just two days after the op-ed appeared in the Washington Post's online edition, Disney publicly

 announced that Mr. Depp would no longer be a part of the Pirates of the Caribbean franchise.

 Mr. Depp's turn as Captain Jack Sparrow in the Pirates of the Caribbean films is one of iMr.

 Depp's most iconic roles, and generated billions of dollars for Disney. Nevertheless, he was

 denied an opportunity to reprise that role immediately on the heels of Ms. Heard's false and

 defamatory op-ed.

   COUNT ONE—DEFAMATION FOR STATEMENTS IN MS. HEARD'S DECEMBER
      18, 2018 OP-ED IN THE ONLINE EDITION OF THE WASHINGTON POST




                                                21
                                              104                                    Exhibit C - 025
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 105 of 161 Page ID
                                   #:182


        74.      Plaintiff repeats and re-alleges each of the foregoing paragraphs as if set forth

 fully herein.

         75.     Ms. Heard published the "Sexual Violence" op-ed on the December 18, 2018.

 The article was published to a worldwide audience on the Washington Post's website. A true

 and correct copy of the online edition of the "Sexual Violence" op-ed is attached hereto and

 incorporated by reference as Exhibit A.

         76.     The "Sexual Violence" op-ed contained the following false and defamatory

 statements concerning Mr. Depp:

         • "Amber Heard: I spoke up against sexual violence — and faced our culture's wrath.
           That has to change."

         • "Then two years ago, I became a public figure representing domestic abuse, and I felt
           the full force of our culture's wrath for women who speak out."

         • "I had the rare vantage point of seeing, in real time, how institutions protect men
           accused of abuse."

         • "I write this as a woman who had to change my phone number weekly because I was
           getting death threats. For months, I rarely left my apartment, and when I did, I was
           pursued by camera drones and photographers on foot, on motorcycles and in cars.
           Tabloid outlets that posted pictures of me spun them in a negative light. I felt as
           though I was on trial in the court of public opinion — and my life and livelihood
           depended on myriad judgments far beyond my control."

         77.     These statements are of and concerning Mr. Depp, as he is Ms. Heard's former

 husband and she publicly (and falsely) accused him of domestic abuse in May 2016. Moreover,

 Ms. Heard intended to refer to Mr. Depp in these statements, and those who know Mr. Depp or

 who read the "Sexual Violence" op-ed understood these statements to be about Mr. Depp.

         78.     These statements, which imply that Ms. Heard was the victim of domestic

 violence at the hands of Mr. Depp, are false:




                                                  22
                                                 105                                   Exhibit C - 026
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 106 of 161 Page ID
                                   #:183


               a. Mr. Depp did not commit "domestic abuse" or "sexual violence" against Ms.

                  Heard. Ms. Heard's allegation that Mr. Depp violently attacked her on May 21,

                  2016 has been refuted conclusively by police, neutral third-party witnesses, and

                  87 newly obtained surveillance camera videos.

               b. Ms. Heard is not a victim of domestic violence; rather, she is a perpetrator. Ms.

                  Heard was arrested for domestic violence against her former domestic partner in

                  2009. Ms. Heard also committed multiple acts of domestic violence against Mr.

                  Depp, some of which she has confessed to under oath.

        79.       The substantial danger of injury to Mr. Depp's reputation from Ms. Heard's false

 statements is readily apparent. Such statements would tend to so harm the reputation of another

 as to lower him in the estimation of the community or to deter third persons from associating or

 dealing with him.

        80.       By publishing these false statements, Ms. Heard caused harm to Mr. Depp's

 reputation.

        81.       At the time of publication, Ms. Heard knew these statements were false.

        82.       Ms. Heard's false statements are defamatory per se because they impute to Mr.

 Depp the commission of a crime involving moral turpitude for which Mr. Depp, if the charge

 was true, could be indicted and punished. Moreover, Ms. Heard's false statements prejudice Mr.

 Depp in his profession as a film actor. Mr. Depp therefore is entitled to presumed damages.

        83.       As a direct and proximate result of these false statements by Ms. Heard, Mr. Depp

 has suffered damages, including, inter cilia, injury to his reputation, harm to his ability to carry

 on his profession, embarrassment, humiliation, and emotional distress, in an amount to be

 determined at trial.




                                                  23
                                                106                                      Exhibit C - 027
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 107 of 161 Page ID
                                   #:184


         84.     Ms. Heard's actions were malicious, willful, and wanton, and evidence a

 conscious disregard for Mr. Depp's rights. Accordingly, punitive damages are appropriate.

         WHEREFORE, Plaintiff respectfully requests that the Court enter an award in Plaintiffs

 favor and against Defendant, as follows:

         (1)     awarding Mr. Depp compensatory damages of not less than $ 50,000,000, or in

                 such additional amount to be proven at trial;

         (2)      awarding Mr. Depp punitive damages to the maximum extent permitted by the

                 laws of this Commonwealth, but not less than $ 350,000;

        (3)      awarding Mr. Depp all of his expenses and costs, including attorneys' fees; and

         (4)     granting such other and further relief as the Court deems appropriate.



  COUNT TWO—DEFAMATION FOR STATEMENTS IN MS. HEARD'S DECEMBER
      19, 2018 OP-ED IN THE PRINT EDITION OF THE WASHINGTON POST

         85.     Plaintiff repeats and re-alleges each of the foregoing paragraphs as if set forth

 fully herein.

        86.      Ms. Heard published the "Sexual Violence" op-ed in the December 19, 2018

 hardcopy edition of the Washington Post, which the Washington Post distributes to readers in

 Virginia, across the nation, and around the world. A true and correct copy of the hardcopy

 edition of the "Sexual Violence" op-ed is attached hereto and incorporated by reference as

 Exhibit B.

        87.      The "Sexual Violence" op-ed contained the following false and defamatory

 statements concerning Mr. Depp:

        • "Amber Heard: I spoke up against sexual violence — and faced our culture's wrath.
          That has to change."




                                                 24
                                                                                          Exhibit C - 028
                                               107
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 108 of 161 Page ID
                                   #:185


        • "Then two years ago, I became a public figure representing domestic abuse, and I felt
          the full force of our culture's wrath for women who speak out."

        • "I had the rare vantage point of seeing, in real time, how institutions protect men
          accused of abuse."

        • "I write this as a woman who had to change my phonc number weekly because I was
          getting death threats. For months, I rarely left my apartment, and when I did, I was
          pursued by camera drones and photographers on foot, on motorcycles and in cars.
          Tabloid outlets that posted pictures of me spun them in a negative light. I felt as
          though I was on trial in the court of public opinion — and my life and livelihood
          depended on myriad judgments far beyond my control."

        88.      These statements are of and concerning Mr. Depp, as he is Ms. Heard's former

 husband and she publicly (and falsely) accused him of domestic abuse in May 2016. Moreover,

 Ms. Heard intended to refer to Mr. Depp in these statements, and those who know Mr. Depp or

 who read the "Sexual Violence" op-ed understood these statements to be about Mr. Depp.

        89.      These statements, which imply that Ms. Heard was the victim of domestic

 violence at the hands of Mr. Depp, are false:

              a. Mr. Depp did not commit "domestic abuse" or "sexual violence" against Ms.

                 Heard. Ms. Heard's allegation that Mr. Depp violently attacked her on May 21,

                 2016 has been refuted conclusively by police, neutral third-party witnesses, and

                 87 newly obtained surveillance camera videos.

              b. Ms. Heard is not a victim of domestic violence; rather, she is a perpetrator. Ms.

                 Heard was arrested for domestic violence against her former partner in 2009. Ms.

                 Heard also committed multiple acts of domestic violence against Mr. Depp.

        90.      The substantial danger of injury to Mr. Depp's reputation from Ms. Heard's false

 statements is readily apparent. Such statements would tend to so harm the reputation of another

 as to lower him in the estimation of the community or to deter third persons from associating or

 dealing with him.


                                                  25
                                                                                      Exhibit C - 029
                                                 108
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 109 of 161 Page ID
                                   #:186



        91.     By publishing these false statements, Ms. Heard caused harm to Mr. Depp's

 reputation.

        92.     At the time of publication, Ms. Heard knew these statements were false.

        93.     Ms. Heard's false statements are defamatory per se because they impute to Mr.

 Depp the commission of a crime involving moral turpitude for which Mr. Depp, if the charge

 was true, could be indicted and punished. Moreover, Ms. Heard's false statements prejudice Mr.

 Depp in his profession as a film actor. Mr. Depp therefore is entitled to presumed damages.

        94.     As a direct and proximate result of these false statements by Ms. Heard, Mr. Depp

 has suffered damages, including, inter alia, injury to his reputation, harm to his ability to carry

 on his profession, embarrassment, humiliation, and emotional distress, in an amount to be

 determined at trial.

        95.     Ms. Heard's actions were malicious, willful, and wanton, and evidende a

 conscious disregard for Mr. Depp's rights. Accordingly, punitive damages are appropriate.

         WHEREFORE, Plaintiff respectfully requests that the Court enter an award in Plaintiffs

 favor and against Defendant, as follows:

        (1)      awarding Mr. Depp compensatory damages of not less than $ 50,000,000, or in

                 such additional amount to be proven at trial;

        (2)       awarding Mr. Depp punitive damages to the maximum extent permitted by the

                 laws of this Commonwealth, but not less than $ 350,000;

        (3)      awarding Mr. Depp all of his expenses and costs, including attorneys' fees; and

        (4)      granting such other and further relief as the Court deems appropriate.

    COUNT THREE—DEFAMATION FOR STATEMENTS IN MS. HEARD'S OP-ED
        WHICH HEARD REPUBLISHED WHEN SHE TWEETED A LINK
                TO THE OP-ED ON DECEMBER 19, 2018




                                                 26
                                               109                                        Exhibit C - 030
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 110 of 161 Page ID
                                   #:187


        96.      Plaintiff repeats and re-alleges each of the foregoing paragraphs as if set fOrth

 fully herein.

        97.      Ms. Heard published the "Sexual Violence" op-ed in the December 18, 2018

 online edition of the Washington Post. The following day, Ms. Heard tweeted a link to the op-

 ed. A true and correct copy of Ms. Heard's tweet of the link to the "Sexual Violence" op-ed is

 attached hereto and incorporated by reference as Exhibit C.

         98.     The "Sexual Violence" op-ed contained the following false and defamatory

 statements concerning Mr. Depp:

        • "Amber Heard: I spoke up against sexual violence — and faced our culture's wrath.
          That has to change."

         • "Then two years ago, I became a public figure representing domestic abuse, and I felt
           the full force of our culture's wrath for women who speak out."

         • "I had the rare vantage point of seeing, in real time, how institutions protect men
           accused of abuse."

         • "I write this as a woman who had to change my phone number weekly because I was
           getting death threats. For months, I rarely left my apartment, and when I did, I was
           pursued by camera drones and photographers on foot, on motorcycles and in cars.
           Tabloid outlets that posted pictures of me spun them in a negative light. I felt as
           though I was on trial in the court of public opinion — and my life and livelihood
           depended on myriad judgments far beyond my control."

         99.     These statements are of and concerning Mr. Depp, as he is Ms. Heard's former

 husband and she publicly (and falsely) accused him of domestic abuse in May 2016. Moreover,

 Ms. Heard intended to refer to Mr. Depp in these statements, and those who know Mr. Depp or

 who read the "Sexual Violence" op-ed understood these statements to be about Mr. Depp.

         100.    These statements, which imply that Ms. Heard was the victim of domestic

 violence at the hands of Mr. Depp, are false:




                                                  27
                                                 110                                   Exhibit C - 031
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 111 of 161 Page ID
                                   #:188



               a. Mr. Depp did not commit "domestic abuse" or "sexual violence" against Ms.

                  Heard. Ms. Heard's allegation that Mr. Depp violently attacked her on May 21,

                  2016 has been refuted conclusively by police, multiple, neutral third-party

                  witnesses, and 87 newly obtained surveillance camera videos.

               b. Ms. Heard is not a victim of domestic violence; rather, she is a perpetrator. Ms.

                  Heard was arrested for domestic violence against her former partner in 2009. Ms.

                  Heard also committed multiple acts of domestic violence against Mr. Depp.

        101.      The substantial danger of injury to Mr. Depp's reputation from Ms. Heard's false

 statements is readily apparent. Such statements would tend to so harm the reputation of another

 as to lower him in the estimation of the community or to deter third persons from associating or

 dealing with him.

        102.      By publishing these false statements, Ms. Heard caused harm to Mr. Depp's

 reputation.

        103.      At the time of publication, Ms. Heard knew these statements were false.

        104.      Ms. Heard's false statements are defamatory per se because they impute to Mr.

 Depp the commission of a crime involving moral turpitude for which Mr. Depp, if the charge

 was true, could be indicted and punished. Moreover, Ms. Heard's false statements prejudice Mr.

 Depp in his profession as a film actor. Mr. Depp therefore is entitled to presumed damages.

        105.      As a direct and proximate result of these false statements by Ms. Heard, Mr. Depp

 has suffered damages, including, inter alia, injury to his reputation, harm to his ability to carry

 on his profession, embarrassment, humiliation, and emotional distress, in an amount to be

 determined at trial.




                                                  28
                                                111                                     Exhibit C - 032
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 112 of 161 Page ID
                                   #:189


        106.     Ms. Heard's actions were malicious, willful, and wanton, and evidence a

 conscious disregard for Mr. Depp's rights. Accordingly, punitive damages are appropriate.

         WHEREFORE, Plaintiff respectfully requests that the Court enter an award in Plaintiff's

 favor, and against Defendant, as follows:

        (1)      awarding Mr. Depp compensatory damages of not less than $50,000,000, or in

                 such additional amount to be proven at trial;

        (2)      awarding Mr. Depp punitive damages to the maximum extent permitted by the

                 laws of this Commonwealth, but no less than $350,000;

        (3)      awarding Mr. Depp all expenses and costs, including attorneys' fees; and

         (4)     such other and further relief as the Court deems appropriate.

                                       JURY TRIAL DEMAND

         Plaintiff John C. Depp, II hereby demands a jury trial on all issues so triable.




 Dated: March 1, 2019


 Brittany Whitesell Biles (pro hac vice application forthcoming)
 STEIN MITCHELL BEATO & MISSNER LLP
 901 Fifteenth Street, N.W.
 Suite 700
 Washington, D.C. 20005
 Telephone: (202) 601-1602
 Facsimile: (202) 296-8312
 Email: bbiles@steinmitchell.com


                                                    29
                                                  112                                       Exhibit C - 033
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 113 of 161 Page ID
                                   #:190



 Facsimile: (202) 296-8312
 Email: bbiles@steinmitchell.com


 Adam R. Waldman
 THE ENDEAVOR LAW FIRM, P.C.
 1775 Pennsylvania Avenue, N.W., Suite 350
 Washington, DC 20006



  eruamin . ew SB # 29113)
 Elliot J. Weingarten (pro hac vice application forthcoming)
 BROWN RUDNICK LLP
 601 Thirteenth Street, N.W.
 Washington, D.C. 20005
 Telephone: (202) 536-1700
 Facsimile: (202) 536-1701
 Email: bchew@brownrudnick.com

 Counsel for Plaintiff John C. Depp, II




                                                    30
                                                   113             Exhibit C - 034
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 114 of 161 Page ID
                                   #:191




                            EXHIBIT A




                                    114                            Exhibit C - 035
                   Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 115 of 161 Page ID
                                                      #:192



Sections F.-                                                                                                          The Washington post
                                                                                                                       !J/r. -nd J4nWrhNmn



                                                                              NEWHOMES                                                            VISIT OUR SITE

                                                                                   Vuide ?i, i)LET...1; ,.                                   (1
                      Opinions


                      Amber Heard: I spoke up against sexual violence                                                                                                  and
                      faced our culture's wrath. That has to change.


                                                                                                         ;

                                                                                                                   Veit




                                                                                                                                                                   1::11]Glierfsi
                                                                                                                                                                      Soo the bigger,
                                                                                                                                                                     bettor new homo
                                                                                                                                                                    soartli experience
                                                                                                                                                                       on our new
                                                                                                                                                                    enhanced websttol

                                                                                                                                                                       VISIT OUR SUE
 Exhibit C - 036




                                                         .           1.
                      Amber Heard &riles at the premiere of Aqua:nail' on Dec.12 In Los Angeles. (Jordon Simms/Jordan Strauss/Invision/AP)

                      By Amber Hoard
                      December 18, 2018




                                                                                                    115
                  Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 116 of 161 Page ID
                                                     #:193
                     Amber Heard is an actress and ambassador on women's rights at the American Civil Liberties Union.

                      I was exposed to abuse at a very young age. I knew certain things early on, without ever having to be told. I                                                                     Oceanid illiCiCorrY;11
                                                                                                                                                                                                       better Cal
                      knew that men have the power — physically, socially and financially — and that a lot of institutions support                                                                 ,soila .01q3PiloiiagC
                      that arrangement. I knew this long before I had the words to articulate it, and I bet you learned it young, too.                                                                iieion our itowitr
                                                                                                                                                                                                   'tiORdiricipaiihdOtitai

                      Like many women, I had been harassed and sexually assaulted by the time I was of college age. But I kept                                                                          VISfr OUR Silt

                      quiet — I did not expect filing complaints to bring justice. And I didn't see myself as a victim.

                      Then two years ago, I became a public figure representing domestic abuse, and I felt the full force of our                                                  Most Read Opinions

                      culture's wrath for women who speak out.                                                                                                                     1 0Phikin
                                                                                                                                                                                          The most revealing indent of
                                                                                                                                                                                          MlNacl Cohmis testimony
                      Friends and advisers told me I would never again work as an actress — that I would be blacklisted. A movie I
                      was attached to recast my role. I had just shot a two-year campaign as the face of a global fashion brand, and                                               2 orogiiii
                                                                                                                                                                                          Trump's utterly tinselly/sing
                                                                                                                                                                                          diplomatic debacle
                      the company dropped me. Questions arose as to whether I would be able to keep my role of Mem in the
                      movies "Justice League" and "Aquaman."                                                                                                                       3 opium
                                                                                                                                                                                          The case for getting Trump's tax
                                                                                                                                                                                          returns lust got stronger —and
                      I had the rare vantage point of seeing, in real time, how institutions protect men accused of abuse.                                                                more urgent

                                                                                                                                                                                          Pompom..




                                                                                                                                                                                   4
                                                                                                                                                                                          Yes. Michael Cohen's a liar and
                                                                                                                                                                                          criminal So how come you believed      tk,
                                                                                                                                                                                          him?

                                                                                                                                                                                   5 °seen
                                                                                                                                                                                          The Republican Senate majority Is
                                                                                                                                                                                          Imperiled

                                                                                                                                                                       •


                             A letter to                                                                                                                                                     fki,SWORIS
                             Christine Blasey F
                             From Connie Chung•                                                                                                                                        latest episode
                                                                                                                                                                                       'I'm here to tell the truth about Mr.
                                                                                                                                                                                       Trump!
                                                                                                                                                                                    ► listen 2216
                                                                                                                                                                                       Unparalleled reporting. Expert insight Clear
Exhibit C - 037




                                                                                                                                                                                       analysis Everything you've come to expect
                                                                                                                                                                                       from the newsroom of The Post - for your
                                                                                                                                                                                       ears.
                                                                                                                                  CP
                     Listen to broacieastjeumanst Connie Chung read a letter to Christine Blasey Ford, acimowledgIng putillchr for the first time that she was sexually abused.
                     (Kate WOOdSOMO. Danielle Kuntz/The Washington Post)                                                                                                                                                       uny
                                                                                                                                                                                                               ;tit It.,
                                                                                                                                                                                                            SI
                                                                                                                                                                                                            T0171:1:111:4 Q-Isl ti

                      Imagine a powerfiil man as a ship, like the Titanic. That ship is a huge enterprise. When it strikes an iceberg,
                      there are a lot of people on board desperate to patch up holes — not because they believe in or even care                                                                         ikrrednittlir.t=arts:
                                                                                                                                                                                              '1
                     about the ship, but because their own fates depend on the enterprise.


                                                                                                         116
                  Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 117 of 161 Page ID
                                                     #:194


                                                                                                                                                                                          7
                                                                                                                                                          ete-r. •   vs .....
                                                                                                                                                  Get ae llust [teeth nmnietter
                                                                    .1.•• Nnvilors                                                                        p
                                                                                                                                                      ehetOnsntaglonplost


                                                                               so..                                                    Stories from The Lily
                                                                               Conn nm.                                                The Lily, a pubilteUen of The Washington Pest, eleras
                                                                               sown74—w—mor                                            stories about women.
                                                                               ell  POO
                                                                               onrronesilot
                                                                                 our nun SITE                                              Perspective
                                                                                                                                           The Standing Roth protests.
                                                                                                                                           cactus, ant choosing to am': A      tel
                                                                                                                                         I anomie comic form
                      In recent years, the #MeToo movement has taught us about how power like this works, not just in
                      Hollywood but in all kinds of institutions — workplaces, places of worship or simply in particular                   A landmark poky reversal In
                                                                                                                                           Congo ni now anew pregnant                al
                      communities. In every walk of life, women are confronting these men who are buoyed by social, economic               *men to mein the Ebola                    -
                                                                                                                                           vaccine
                      and cultural power. And these institutions are beginning to change.
                                                                                                                                          As abortion restrictions Incmase,
                      We are in a transformative political moment The president of our country has been accused by more than a            these lOstatos are seeking a
                                                                                                                                        ' new route to access
                      dozen women of sexual misconduct, including assault and harassment Outrage over his statements and
                      behavior has energized a female-led opposition. #MeToo started a conversation about just how profoundly
                      sexual violence affects women in every area of our lives. And last month, more women were elected to
                      Congress than ever in our history, with a mandate to take women's issues seriously. Women's rage and
                      determination to end sexual violence are turning into a political force.                                                                           -rt
                      We have an opening now to bolster and build institutions protective of women. For starters, Congress can
                      reauthorize and strengthen the Violence Against Women Act. First passed in 1994, the act is one of the most
                      effective pieces of legislation enacted to fight domestic violence and sexual assault It creates support
                                                                                                                                                        i4-4.J62:0 •
                      systems for people who report abuse, and provides funding for rape crisis centers, legal assistance programs
                      and other critical services. It improves responses by law enforcement, and it prohibits discrimination against
                      LGBTQ survivors. Funding for the act expired in September and has only been temporarily extended.                                        r7
                                                                        ADVEATiSFurNT

                                                                                                                                                           thstfirt,Maryland
                                                                                                                                                              and Virginia
                                                                                                                                                          headlines and alerts
                                                                                                                                                             Defnered FREE to
                                                                                                                                                                 put kites
Exhibit C - 038




                                                                                                                                                             as neva Nippon.

                                                                                                                                                              SIGN UP NOW

                                                                                                                                                          ate Washing= got



                                                                                                                                       Read These Comments newsletter
                                                                                                                                       The best comments and mnveraations at The
                                                                                                                                       Washington Post, delivered every Friday. Jon the
                                                                         LEARN MORE                                                    conversation.




                                                                                  117
                  Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 118 of 161 Page ID
                                                     #:195


                      We should continue to fight sexual assault on college campuses, while simultaneously insisting on fair                               Sign m• up

                      processes for adjudicating complaints. Last month, Education Secretary Betsy DeVas proposed changes to
                      Title IX rules governing the treatment of sexual harassment and assault in schools. While some changes                     washingtonpostcom
                      would make the process for handling complaints more fair, others would weaken protections for sexual                       019962019 The Washington Post

                      assault survivors. For example, the new rules would require schools to investigate only the most extreme
                                                                                                                                                 Help and Contact Us
                      complaints, and then only when they are made to designated officials. Women on campuses already have                       Policies and Standards
                                                                                                                                                 Teems of Service
                      trouble coming forward about sexual violence — why would we allow institutions to scale back supports?
                                                                                                                                                 Privacy Potty
                                                                                                                                                 Print Products Terms of Salo
                      I write this as a woman who had to change my phone number weekly because I was getting death threats.
                                                                                                                                                 Digital Products Terms of Salo
                      For months, I rarely left my apartment, and when I did, I was pursued by camera drones and photographers                   Submissions and Discussion Policy
                                                                                                                                                 ASS Terms of Service
                      on foot, on motorcycles and in cars. Tabloid outlets that posted pictures of me spun them in a negative light.
                                                                                                                                                 Ad Chokes
                      I felt as though I was on trial in the court of public opinion — and my life and livelihood depended on myriad                                       •C•IIRITIPE•1


                      judgments far beyond my control.
                                                                                                                                                                                   OMER,
                      I want to ensure that women who come forward to talk about violence receive more support. We are electing                                                    Ifffikle
                      representatives who know how deeply we care about these issues. We can work together to demand changes                                           a
                      to laws and rules and social norms — and to right the imbalances that have shaped our lives.
                                                                                                                                                              a
                      Read more:

                      The Post's View: What Betsy DeVos's new Title IX changes get right — and wrong                                                      SO, the hIgger2betternow,
                                                                                                                                                           rr         iti262/4irna-e'
                                                                                                                                                          homes search experience en
                      Betsy DeVos: It's time we balance the scales of justice in our schools                                                         ‘ic.-
                                                                                                                                                     214.4s7
                                                                                                                                                         .1o'M
                                                                                                                                                             tw,nowenliancodtvetisitel
                                                                                                                                                                     a

                                                                                                                                                             VISIT OUR SITE
                      Janet Napolitano: Don't let the Trump administration undermine Title IX

                      Mill Mitra: The most horrifying part of the Dartmouth sexual harassment case                                                                                         a



                                                                                02. 710 Comments
Exhibit C - 039




                                                                   Read These Comments newsletter
                                    The best comments and conversations at Tbo Washington Post. delivered every Friday. Join the conversation.


                                                                                        Sign me up

                                                                  a, toms u nu eves in, cur if era c .lese are Prirecy




                                                                                                   118
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 119 of 161 Page ID
                                   #:196




                            EXHIBIT B




                                    119                            Exhibit C - 040
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 120 of 161 Page ID
                                   #:197




                  Pe tVaobington ...anonyms                                          Dr,          ma I. Dad/raid,                                                                              o     is




                          71:2 not hirthrg lay &gm; wdiskin,,forthisairgindorse
                                                                                                                                      Senate passes
                                                                                                                                      bill revamping
                                                          A
                                                                                                                                      criminal justice
                                                                                                                                       EAS6111.REISSIMI/CFS: CRAM DISPARMES

                                                  4                                                                                   Big pilot for GOP and s bipartisan tirtory for Trump

                                                                                                                                             NuJzoorirsont                tete rood., tr. Theo ••••_.
                                                                                                                                              taocar Larne                tat Wed ea crime to trf•
                                                                                                                                                                          moven - od    . .todl leco per.
                                                                                                                                                                                     b„LIM
                                                                                                                                        ma ems co Tato ass.               mean, it apt 60 terpro ready
                                                                                                                                                           roroicr               Or,
                                                                                                                                      onatasi   tbol ertalsel pat            Ana Sask. a-Trances.
                                                                                                                                                                          Idract, trortet    etainoto
                                                                                                                                      Viten eter•intak        {ard




                                            I
                                                                                                                                      olm     boa Isouldtc• titre         &es the railedileratiOLLI
                                                                                                                                      •       tors test      tO sow       V.• lab to 645t 00 .001e1
                                                                                                                                                                          tewl.
                                                                                                                                                                           ria,n     CI0Ido boll Ira


                                                                                                                                        The Mu Step Moms...      olorlottiOsAtIteco   = rolt.
                                                                                                                                      we of 17 tett sitS amnia    wool Noce to Cerawka can
                                                                                                                                      Up:Mane datterg loved. It It mutt on Torn= lb S.
                                                                                                                                                                                  the WNW a/
                                                                                                                                      bra. llOstir cadet IlItch Ike to tordtbrat       ON to.
                                                                                                                                      Mean      men *tuts all ectlarterlii be
                                                                                                                                      o reedrn n. 6 Demon         tint..W.I C.d. Owe
                                                                                                                                      cisculeassramicdicisseut      The norm drew. cl regd.
                                                                                                                                                                  eta the toldm repr®
                                                                                                                                      mold In;                    I Intim :re        GOII
                                                                                                                                                                                      . thee
                                                                                                                                              tr.                 earn        Iodated lino&
                                                                                                                                        rata AsSeass to oa a      miss          cry me was or
 Metal anna,wie         Mel otel warn.          dant..     bat, letrimatjten       olzacalp Is peoltaso•FroartorprIten.               chicon sus moo         LuriaGnaw:0Mo read Ow,
                                                                                                                                      ho Peon) Inel to alp treat deg mem tenor.           roe
                                                                                                                                      =erred dorttrterwe Oa Owl        nonce mirror= ow an


Judge excoriates Flynn, delays sentencing
                                                                                                                                      President backs off
                                         Ito Cc* ea tie                    Jurist disappoints Mueller foes
                                                                                                                                      demand for wall funds
                                 qt..
                                 Medi 0pOtoe berm oped
   4 -Trump aide forced
 'ea reiterate 1,4 remen.
                                 est NS* amber ccescrifIsa
                                 wedto                 meld
                                                                           with a lecture on the rule of law
                                       t6 mots men
     Wornsd ofpriSon Cato            team de start us Wad.                  Coot D.Ltdocia        Poem or DeorOlinattbl Ts                                                        laden Coln • ram saw
                                  deep fro     G. laltIna                  Kamm S. iluotamax      dirt leelenclig boat world
                                  an        to              by                                    Deka Teo ded Sod Mr                          Trump Forks to avoid               n            ' ail        bl
                                                                                                                                                                                  'Pe ,      tdo eon LS torts
       •• driracu IL Ilse.        fated attot -bah Obits                                                                                                     shomenn
        Kerr 2•PolOsa•            re et Ill aft it eta RUM
                                                                           Ferrer. tea mita US
                                                                         okotojorp to o ., tnn.
                                                                                                  tem ea &elm. a tato*
                                                                                                  toe milololjolst with •OOOKY
                                                                                                                                                                                           crtenan.,..,
      ems Caat D.Ltaxima          now ad ha ireeddat                     re. ilowleredonertery or IS
                                                                                                  oltkorrlis oat proton:oil mi.              Amding hill stuns !Owls                     m.tst caws moires.
                                                                                                                                                                  •               try darenordandd      Tooke
                                  nate IN Satci dew Tot.                 odor roman Fla -Lk.             tooltd. re do goo.                                                       Inn> dorientout• abradoro
      A seeenrdir .   artiosiv    ▪ rennet tett he Ito •                 101801 tl. IdkoLut.             would —        arrears                                                   and till Wady 9ther no l o
     wmarr                                                                                               lir mow ro,, Raton                         of pars Wan                   fend irttlklaro tte L18.-Nalo
 stiont roc exits tarisiot.
 o rmantlioneconons
 Omar otutor.torforttert          N
                                    Trodal sand Wake Ile•
                                       a=tal 4 Si In
                                         to nem orl   me.
                                                                     tas.oslsrearlSpanist
                                                                     ouch 6 data Pi
                                                                     tars yea Ito LI*
                                                                                                            draeldifiloil
                                                                                                         Sure Theo deo nen
                                                                                                         Porde.
                                                                                                                            tat

                                                                                                                      no juin
                                                                                                                                                    D naurrstriss
                                                                                                                                                       Erns Mn lais
                                                                                                                                                                                  bondre
                                                                                                                                                                                    do the rtraldeadoterreeko
                                                                                                                                                                                  woe m® eir Linea r, Leo
 re wsieralc•    eon., tot        0001 beiwen      otea.             mos t . or to into                  mm In rt. Flynn                       mods,. Thro,       Thaw
 wood 6 INIth tee rout                                                                                                                                                            be. ...-teu           na
                                                                                                         na ps tea arc Liu                   . ..aid roodsefroddro or.            id bake nrl Sat
 •    trcen                          TSL Lott to e• beria1                                                                                   to.                                                            al
                                                                             arrneed4r4                  rom.                                       0t dunrot to thy Um           Onward terna did. oa
    no moot. id-el:corm           tees.              4sis            el tee    td• Weed fralllso.           sac, lathe tdidea.               SS Moo to m bider wet.                  itque add ownedeao.
                                                                                                                                                                                                           boa
                                                                                                                                                                                                           ct
 nosellutletadal anal Ilat•       socks etc n.      01nto            esalfil Truss OS is                 strottins riso4                     lath. la palled
 MtMarna          eleterriest
 with Theo tld coollos Ta
                                  de tare. wta        rke, ...I
                                                       that
                                      nen tornetre or sr
                                                                     Pk. dolor esparto...Pa       webs to postur....otin                     Wars
                                                                                                                                                                ad as Is
                                                                                                                                                       netted to bold
                                                                                                                                                                                   nourow• room.            to
                                                                     ended toostar.t. Isined IleontiOrtrilat lilt, . tr.                     eleatho to ten radon* 0/             Dade Itedeenkney tsar et
      .erns
 warder weetta
                     roman
              ktellIcat la        Cary oratoye
                                                                                                               mepan Palau                   the darennotthis went                racortaed Iowan. la Me
                                                    eentetd          ntraossocorirsbraci.         And re =Lad. lax
 dwelen rots noel         lt`     toren cartedaro el rtrne.            mons norms rust. too.         •tuloor towrono  w    c•                Art tor wok an to
                                                                                                                                                             o       m            fl irt rin.         reva
                                                                                                                                             toll dor.     earedattleial          5. taps •-ci Ala.
                                                                                                                                                                                                  ouncla.



 In light of allegations,                                                                                                        FULLINGOUT



 president to shut charity                                                                  Inside America's other opioid epidemic
                                        maw ,                     non.                                                                         The nation' s capital Is ground an,,            for an
     Foundation nets turd             . 41 mar issrcro4                                                                                     taltsion    in MC=           Amu rium overdose deaths
                                      veld. meat:6W puma la
 for personal and Wirral              irons roan orrsouninisiP                                                                                 at /Ina...a                   ewe bli teeter me ',den 11
 I    benefit, lawsuit rata           oddda trete elder ebnerta
                                         no no. Odor la       Orem
                                                                                                                                                                             bob - a taa wwmseonrm
                                                                                                                                            ONO stone moan mord                 o - :Mond but. Goy
 •

     or Onto A.   ram"...
                                      Wssisial frail toreke
                                      thrittled•dae
                                                y re Lit Tao bd
                                      go to YR todowerel
                                      tlarSt       bra ism Qua
                                                                                                                                       S mta noon
                                                                                                                                       a
                                                                                                                                              oteed.ozon untito
                                                                                                                                            La Pees
                                                                                                                                            eae•
                                                                                                                                                             dor •
                                                                                                                                                             andat.
                                                                                                                                                                             Scar oh ib rtsSirtroctr4
                                                                                                                                                                             rout
                                                                                                                                                                                artalre et ram r. .Wet
                                                                                                                                       Ss. Sean had Ras.                     know ova =ark
• Pritddot MVO. to. Wad to            OSSo         natIlvd•rozd bat                                                                    =torte ores eta ot OwCS US              tom a Pzen met
dad don PO embaltIrd roe.,            AA. •IodP d. do T®6
dolly so! to Ore Fly Ian                                                                                                               Curtduleolterea011atitAxot,           Sado • OWL lett Ma miter
                                      leverral am inkyat the                                                                           betiat to CM was. Ida                 maw baton m, e/ oar
...I   tool •Oil tdttallora           Wed W war      dire York non-
                                                                                      •                                                natal.
thdlo end tb•Ounclalloo fa an         ereltaremtance•                                                                                    dtow Olen P. we bolted h.                dm dont or Co t,or
warm, al phial berm.                     %Werra:dull Tmdo Oe                          rt.                                              loamyon. udtbat atm      ce                 ono'. aortal,   re ma
     At AcornGam. Its, .                  ladoJeAdee lard lt Oodi-
ea    rarisiow ocosard                Cr Darr.   a Fops,   cc..*             Oat Bong Mtwara
                                                                                                   loe'low•owttt.roo•••
                                                                                                       moo der6dot ewrodite            guimi asks—
                                                                                                                                                   SeSi Store
                                                                                                                                                        •Itab Mae            henry a/ eel le Yw'n4o
Toren                                              ari,..r.c.m               tar DX. ha nelorma Inlet It 51, 00 Ran me                 a an Older oneenad doe                ousted id le coal WOK


INTIIE, NEWS                                                                                                no torts moo.'
                                                                                                            Id•Ortantoreedto
                                                                                                                                  folooroweetro ro
                                                                                                                                  Ole. rare I.               INSIDE
                      u,•.-                              Tot rano.             . ISM* gnome. do        I    notate. Farm b+
                                                                                                            rot wired. too        ..._„
                                                                                                                                  TI...10..0.0 ,.._
                                                         rroS6 etTeteek        I orttd.61.6 Qv.-         ' Caen!Sonya Ad                                                                   (000
                                                                                                                                  =__ ...... _lr,_
                                                        dwddalCoraottiim et I rota erect                I Disowns i worm                                                               i   Mtn.    ISOM*
                                                                                                                                  ----.         ---
                                                                                                                                                .... r                                -    lOnntres ow. r•ll
                                                        rossistorrosois        i ba• poet Ito du            • *Co ratorpo.        ...."_. _.—
                                                                                                                                            _^ - -
                                                        nodal dais:low           I proem    co. Wont        tamp       of•• Rod.  (ItttwIt5r.      I.
                                                                                                                                                                                           woo  fora retract
                                                                                                                                                                                              oottnml
                                                        toes wor?...n rood
                                                        lotterel•ad Woe          Oderdo........            isidwitent
                                                                                                               ,...rt„tart.
                                                                                 ISA°                                             Tlie      wood
                                                                                                                                               n IP
                                                        srissizsrasinsilw     ,                                                                                                            erne
                                                                                                        •
                                                                                                       . lel terlitOut            l"                                                       Ude. • toy
                                  .
                                                      I r esuptolasc.
                                                              w"l ".'"     At I Feaktwi
                                                                                 nn"" Troirsen.
                                                                                                                                  bIrd
                                                                                                                                     tat "rnelwrortedi
                                                                                                           Warden tie tp•Itred IdoeinlloPeOrto                                             now loan a wa re

                                 4 -4  te   a
                                                        as...,,,,,,
                                                        dpn....,,........,
                                                        It do 2eine t rye
                                                                                 lag • plan Da poi& Int pa NOS. Odes delr
                                                                                 toto Loh roster ea
                                                                                                too
                                                                                                           roploen • Ittetwok
                                                                                                           iota mere tido tet.
                                                                                                                                elth• smarms...la ,
                                                                                                                                  neat/Yew:0
                                                                                                                                                                                           'bender.   aset
                                                                                                                                                                                           are roar men..


Mapc orb, on, ' ,my Minhat .4).
Marred irtatemr & ShirleC then locator a
                                                        remotordi otter.
                                                        reo,„„Asr iono
                                                      . c rroitsien nit "
                                                                                 Goat. Wort do
                                                                                 Onaosi .sad
                                                                                 boons.
                                                                                                             any 'oda t
                                                                                                           tturt
                                                                                                          ‘rstr
                                                                                                           kr.. ....- t e rm:
                                                                                                                            o
                                                                                                                                mT oot
                                                                                                                                    sono
                                                                                                                                                meta   n                 __al                Psi. hits
grikulehrealdrigt•IMIor.dlra ea& DS      ' r .4.el tiran
                                                   .--4... ni
                                                            rs°-"'              t ne
                                                                                  itsorlusa
                                                                                         na two
                                                                                             n  Iota       =h s,   rd. '''.   I In
                                                                                                                                ..t    .r    "'It   ' d'     ''..""1.-       =.1 .:        oaten& era.      ei




                                                                                                                                 120                                                                              Exhibit C - 041
  Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 121 of 161 Page ID
ECEMBER 19, 2018 • THE WASHINGTON POST
                                       #:198                               AU.



  ER
                           2                                                                                      Racism is a
90                                                              0           CBS                                   national security issue
 n, but                                                                                                                       sr SmutztuarnPens                 Valley has yet to come to grips with the
                                                                                                                                                                enormous Influence In:yieldsin eras demon
s the                                                                                                                      coo newly released reports from the racy, and the ways that foreign powers can


tuff                                                                                                              T        Senate Intelligence Committee use that Influence to manipulate Ameri-
                                                                                                                           shout Russian intaference In the cars. Congress should require greater
                                                                                                                           2016 election have been nothing transparency and responsthilid from there
                                                                                                                  short of mceelacery. Both studies — one corporations before the 2020 elections.
                                                                                                                  produced by researchers at Oxford Unirer-        Finally, we have to accept that foreign
    go,
    ter Rh hard to
       Etta fill John
        seattban the
                                                                            MThir,, ss                            sity.the other bythe cybersecariwfirmNew .powers seize upon these divisions because
                                                                                                                  Knowledge — describe In granular detail they are real — becauseracism remains the
                                                                                                                  haw the Russian government tried to sow United States' Achilles' heel. Indeed, it is,
     female AirForce       belle macrameInJuly 2018. The Cgs dile:executive redgnedIn                             discord and confusion among American and always has been, a national smoky
      — Rep. Martha        Bence:thee aftermantle allegations ofsecoludscoadet surfaced                           voters And both conclude that Russia's vulnerability — a fundamental and Fealty
                                                                                                                  campaign included a massive effort to de- exploitable reality of American life thht
                                                                                                                  ceive and co-opt African Americans. We belies the image and narrative of equal9y
       Ducey (R) ape
     too. OnMeaty,
      to fill the seat
   a special election
                           A transformative                                                                       now have Unassailable confirmation that a and justice we project and export around
                                                                                                                  foreign power taught to exploit racial ten- the world. It may be especially difficult in
                                                                                                                  sions in the United States fords owngala      our era of 'fake newer and 'alternative
                                                                                                                     Ever since US. Intelligence agencies re- fads,' but we must recognize that mar
  the remaining two
frena Assumingshe
o run for reelection
  meld conceivably
                           moment for women                                                                       ported . that the Russian government failure to acknowledge hard trots,
                                                                                                                  worked to sway the 2016 election, foreign dolly whenIt comes to use,makes it easter
                                                                                                                  election meddling has been one of our for foreign powers to lam us against one
                                                                                                                  nation's top nationalsecurity concemsBut another Russia did not conjure out of thin
 art of the next four

tth e seat shell occu-
  , when she's due to
                                        me Aroma Henan               bory,witha mandate to take womenh
                                                                     issues terianal. Women's ate and
                                    wan exposed to abuse clever; determinationtoendsexualviolence
                                                                                                                  our discussions aboutRussian interference air the black community's legitimate grim
                                                                                                                  rarely touch on the other major threat to anew aboutradstpoliclogNordiditinvent
                                                                                                                  our elections:the resurgence ofnate-span- racist and hateful conspiracy theories
                                                                                                                  sored voter suppression In the United Bather,BILMIM trolls seizedocenthesereal
                , it may be         youngagel knew certain things are tuniloginto a politcealforce.
       last month that              early on. without ever bating to     Wehrrve anopeningnowtobolstir            Stales In light of these disturbing new problems as ready-made sources ofdiscoid-
    ?tato       Democrat-           betokLIImewthat     menhave the and build Institutions protective of          reports, it is clear we can no longer thinkof Moving forward, we need to recognize that
             when she was     rower — physically, socially and fi- women. For starters, Congress an               foreign election meddling as a phenom- ourfalluretohonesdy addressMMUS ofdill
 retiringRepublican           nancially — and that a lot ofLoads- remnlocalze and strengthen the Vio-             enon separate from attempts to disenfran- rightsand Mdakiustiee makes allofcomely
old on. Set Jon Kyl,          dons support that arrangement. I lence Against Women Act. .F1rat                    chise Americans of colon Radsl injustice susceptible to foreign interference            ..,
SitedInSeptember              Imewthislongbefore] hadthewords passed In 1994, the actin one of the                remains area/ vuthentbilltyIn our democ-          This Is hardly the first tlmt our admit-
eft, announced last           to articulateIt,andI bet yauleamed most etfecdve pieces of legislation              racy, one that foreign powers are only too behave identifiedrace andracism as Amer-
 i stay onlYnntil the        It young,too,                           enacted to fight domestic violence           willing to attack.                            lea's great vulnetabilltY. During the Cold
          someone else a          Like many women. I had been andsexualassaultIt creates support                     How should we respond? First, we have War, the SovietUnionfrequently pointed io
              2020.           harassed and sexually assaulted by systems farpeople whoreportabuse,                to make it easier, not harder, for Americans segregation and Mil unrest as proof of
                              the time I was of college age. But I   and provides funding for rape crisis         to vote In the wake of the Smote Cones American hypocrisy. This propaganda sea
r      becomeber ntid-
   Senate collet/Me
el rise hasn't been
                              kept quiet — MI not expect filing centers, legal assistance programs
                              ®plaints to bring Justice And I        and other critical vertices. It im-
                                                                                                                  2013Shelby County decision, which severe- sufficiently widespread, and contained
                                                                                                                  ly weakened the Voting Flights Act, we've enough truth, that leaders of both parties
      Ming opposition         didn't seemyselfla avictim.            proves responses by law eMotee-              men a resurgence of vote-suppression ef- began arguing that segregation under-
        McCales family.           Then two Yeats ago I became a mentanditprolulits discrimination                 forts across the nation. Congress has the mined the United Stain' position in the
              Biome on a      public figure representing domestic against LOIN survivors. Pending                 Powerto fix theVOtingRight Art,but ea far Cold War,helping to ease thepassage ofcivil
   cop platform (cle-         abuse, and I felt the full font of our far the act expired in September and         it has declined to do so. The revelations of rights legislationin thel9sos and1960s,
    nching
        fl,       the and-     enhoreswrathforwomenwbo speak has onlybeen temporarily extended.                   Russia's racial targeting should serve as a       Ihday, we need a similar understanding
 Insulted the family           out                                       We should continue to fight gaud         wake-up call that domestic voter moons- that ourfallure to ensure equaljustice(Drell
             by failing to        Friends and advisers told me I      assault on college campuses, while          slcat in addition to being tmconnitutianab has grave implications for US. natiohal
  when toutinglegit-           wouldnever againworkasan actress       simultaneously    insisting on fair pro-    effectively aids foreign attacla on our de- security. The upcoming Noose oversight
=ally named for                — that 1 would ho blacklisted. A races for adjudicating complaints                 moaacy. Indeed, we should take seriously committee hearings on Russian Interfer-
     McCain National           movie I was attached to recast n      last month,       Educe/Ion   Secretary      the danger that domestic and foreign ence and voter suppression wit be critical
         n Act Ear Marl        role. I bad just shot a two-year cam. Betsy DeVos proposed changes to              groups may coordinate to suppress turnout opportunities to educate the public on the
  perceived as a low          Mira M the face of a global fashion Title IX rules governing the treat-             In houre elections, a Possibility we can threats to our democracy, and they deserve
 contrived to mimic           brand,and the company droppedme. ment of serial harassment and as,                  begin to forestall, first and foremast, by our dose attention-
   withheld MeCaint            Questions arose as to whether I        seat inschools. While some changes          protecting the franchise here at home.            But we must be careful motto reduce the
      on during co -           wouldbe able totemmyrole ofMeta wooldmake theprocess for handling                  Rep. Tart A. Sewell (D-Ala) has already struggle for racial equality into a bloodless

r   end the act Into
    recommendation,
                              in the movies 'Justice League and complaints more fain others would
                               Amaman.•                               weaken protecticms for sexual as-
                                  I had the rase vantage point of mothsurvivors.For example, the new
                                                                                                                  Introduced a comprehensive new voting question ofnationalinterest Oen tights are
                                                                                                                  rights bet. and Congress should swiftly act essential to our national security, bat na-
                                                                                                                   appallin the neWYean                          tional sectulW cannot be the chiefrationale
    met with Cindy             seeing, drain:me,how institutions      rules would require schools to bra-            Second, these revelations only deep= for pursuing civil rights After all, racial
              for her over-    protectmenaccused of abuse.            tigate only the most extreme cern.           the urgency of demanding more actoturt- Injustice is not just another chink in our
        rtedly accepted           Imagnea powerful manas a ship,      plaints, andthen only when they are          ability from technology companies- The armor.It is the great flaw in our character.
                               like the Manic. That ship is a huge made to deignated officials. Women             New Knowledge report aiticizes social me Our adversaries know that race make us
        may not be so          enterprise. When It straw an ice- on campuses already have trouble                  die companies such as Facebook for mis- our own worst enemy. It is past time we
  these would largely          berg, there are a lot of people cm coming forward about small do.                  leading Congress about the name of Rus- karats hard truth ourselves.
      Jan relented her         board dentate to patch up holes — lame- why would we allow 'imam-                   sian Interference, noting that, one even
       hold. But neatijr       not bemuse they believe In or even dons to scale back supports?                     denied that specific groups were targeted. lbeivrite is presiderland MettorcounsaI ok..
ma preferred McSal-           carealert theship, but because their       I write this as a womm whohad to         This is . just more evidence Abet Silicon .enoNAACP LegalDefer.. and Educauonai Porno.
 the governor is re-          own fates dependon theentencese-        change my phone number weekly
     ti) select someone           Inrecent years, the Melte move- because I was getting death threat, -
  lameParty as the ' ment hasLangton's abouthmv poWer For Months, I rarely left my apart-
   hasbeta vacated.           Ince thisrecoldnotjtatinHollywood ment, and whenI did,I was permed                  DAVID IGNATIUS
              appointment      but In all kinds of iretleatims — Dm:and:mace andphotograPhers




[
   deal calculation —
       the mostlikely to
       t future Mallen-
                               plyr laces,place of worship maim- on foot, on motorcycles and in cars.
                                    In particular commmitles. In Tabloid outlets that posted pictures
                               every walk of life, women are on' ofme span themina negative lightI
                                                                                                                  A. Russian spy's dream
    was initially hesi-        fronting these men who are buoyed felt as though I was on trial in the
                               by social, economic and cultural wart of public opinion — and myille                    =gine Americannolides for amommt              'Hussies IRA activities were designed W.


                                                                                                                  I
         reportedly were
     y's post-election         ponce And these Institutions =be- and livelihood depended on myriad                     as a laboratory experiment A foreign       polarize the US. public and Interfere In.
  she blamedher loss           ginning to change.                     judgments farbeyondmy control                    adversary (lett call It Massie) begins     elections,' the study says, by meth aging
      rather than inter-          We are in a transformative politi-     I want to ensure that women who               tOplayWitlIthestilteen,using carters       African American voters to boycott elec-
       ea                .     cal moment The president of our come forward to talk about violence                and adds to condition their behavior.The        dons, pushing right-wing voters toward
          -blab. Such Mt-,     cmmtry has been amused by more receivemore rapport We are ektling                  adversary develops tools to dial up auger       extremism, and 'spreading sensatiOnallat,
dantIf you're a petit!.         than a deem women of sexual mis- representattrowhoknow how deeP-                  and resentment inside the lab babble, and       conspiratorial and other forms of junk'
                                                                                                                                                                  political news and misinformation'

Ipi
  na-show host but             conduct including assault and ha- ly we ease about these Issues. We can            evenrecruits unwitting accomPlhes toPer-
      e   are  more   Inter-   remnant      Outrage over his state- work together to demand changes to            formspecific tasks.                                The Russians pushed every button-They
     ' human aspect —          ments and behavior has energized a laws and rules and social norms —                  This 21st-century political dm:sepia Isn't   sought to tap AfriainAmerican anger with
  experiences — and          'femaleied    opposition.  Mao start- and toright theImbalances that have            dream them entice script thatjast landed        'illacialvisr and 'Black Matter' Parebook
    the table.                 ed a conversation about just how shapedour lives                                   inlionywoolltha summary of tworeports           pages. They reached conservatives through
   mite aloe laded-            profoundly sexual violence affects                                                 on the Krenilin-linked Internet Reseutio        pages called 'Army of Jesus,' 'Heart of
          Iles Inthistown      womenIneverymeantoutlivesAnd Me writer's an academe ambassador                     Agency published this week by the Senate        Terse and 'SecuredBordererThelistofthe
        n she is almost       last month,more women were elect- on ounces WasMere American Civil                  Intelligence Committee. The studies di-         IRA's top-20 Facebook pages Is a catalogue
         social event we       ed to Congress than ever in our Ms.' liberties Union.                              sc:Re a sophisticated, multilevel Minim         ofAmericamage.
            included a re-                                                                                        Wont° ineelrecyavailable tool of=Open              The New Knowledge report blows the
          n to introduce                                                                                          society to create resentment, mistrust and      cover offtheseInter:eat operations.It shown
   few autoblogrePhi-                                                                                             social disorder.                                how Hillary Clinton and vice-presidendal
      introduction was                                                                                               For a century,Rnsslan intelligence agents    nominee Tim nine were depicted as the
    a pilot, and I like                                    ALYSSA ROSENBERG                                       have been brilliant at creating false fronts    "Satan Thaw,' with Clinton wearing devil's
                                                                                                                  and manipulating °Donald= coups Now,            horns and fine bearing a reel mark on his
coq as many will                      ExcelPead from washIngtonDsGt.corampte/ayszatosenberg                       thanks to the Internet, they seem to be"        forehead. The researchers found an Image
Immber concession                                                                                                 perfecting these dark arts.                     ofJesuswearinga red 'Make America Great
Mtt McSally seated                                                                                                   Even as It meddles abroad, the Kremlin       Again"hat
th her Mate golden        Pay the women instead                        incurring costs upfront In the form of     has just introduced new legislation toblock        hate gam provided a asefinplatformIto
   who seemed most                                                     lawyers' fees. Ws a perverse incentive     its own Information space from foreign          manipulating yotmger Americans. The
robing on hicSally's     Uthere is one tiny kernel ofreliefin the      structurethat givescompaniesmillions       penetration. Under the new law• reduced         IRAb "Mackstagram" account had SOS,666
hint steal all hearts,   infuriating news cyclone that has been        of reasons not to deal aggressively with   this week, Russia could control all Internet    followers; American Veterans' had
 y consolidated the      2018, it is the report that CBS doesn't       male sten who harass their co-workers.     and message traffic into the country, block     215,00; sgincaelyBlack'had196,754;
                         intend to payMagneed and disgraceful             Some companteshavebeginto write         any anonymous websites and, doing a             ettainbowNation'had156,465, tononce the
     McSally is the
 stereotypical fighter
 male sporting a lbp
                         former chairman and chief executive
                         Leslie Wain, $120 million in sever.
                         arum Of coarse, that mildis mitigated
                                                                                                       121
                                                                       employment contracts specifying that
                                                                       employees who ale axed because of
                                                                       sexual misconduct can't demand that
                                                                                                                  crisis, manage the Russian Web from a
                                                                                                                  central command point.
                                                                                                                   , Put the two halves of Russian behavior
                                                                                                                                                                  Knowledge study,
                                                                                                                                                                                        Exhibit
                                                                                                                                                                   top four Instal's-am pages citedC
                                                                                                                                                                                                   in -the
                                                                                                                                                                                                         042
                                                                                                                                                                     Russia's Internet activity wasn't jest
                                                                                                                                                                                                           New
                                                                                                                                                                                      •
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 122 of 161 Page ID
                                   #:199




                            EXHIBIT C




                                    122                            Exhibit C - 043
3/1/2019      Amber Heard on Twitter "Today I published this op-ed in the Washington Post about the women who are channeling their rage about viole...
           Case 2:21-cv-05832-GW-PD                  Document         11-4 Filed 08/17/21 Page 123 of 161 Page ID
                                                                        #:200
                                                                                                                                               x

                   Fit Amber Heard 0
                                                                                                      (     Follow
                  AR/ @realamberheard

                              Today I published this op-ed in the
                              Washington Post about the women who
                              are channeling their rage about violence
                              and inequality into political strength
                              despite the price of coming forward.

                              From college campuses to Congress,
                              we're balancing the scales.




                                Opinion I Amber Heard: I spoke up against sexual violence — and fa...
                                We have an opening now to bolster and build institutions protective of
                                women. Let's not ignore it.
                                washingtonpost.com


                              1:28 PM - 19 Dec 2018


                              1,292 Retweets 3,556 Likes            d                 4,                  0 6t) kt,
                              Q 128          C. 1.3K               3.6K


                     P        Amber Heard 0 @realamberheard 19 Dec 2018                             ‘./

                  A       •
                                honored to announce my role as an @ACLU ambassador on women's rights.

https://twitter.com/realamberheard/status/1075503279323242496?lanren      123                                                Exhibit C - 044
                                                                                                                                                   1/1
    Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 124 of 161 Page ID
                                       #:201
                                           Fairfax Circuit Court
                                               Circuit Court
                                           Receipt No. 827293
                                    Receipt Date: 03/01/2019 12:49 PM

 Received of:    Benjamin G Chew,                                                                $        346.00


 Three Hundred Forty Six and 00/100
 John C Depp II vs. Amber Laura Heard

Filer(s): Depp, John C II
Case                                                                                                     Amount
CL-2019-0002911
    Complaint ($500,000.01 and above)                                                                     346.00
                                                           Total:                                         346.00

                                                           Balance due court: $                                0.00
                                                           Next fine/fee due date:
                                                           Next restitution due date:


Payment Method: Check (Number: 3472)
Amount Tendered:                 346.00
Overage:                            0.00
Change Due:                         0.00
                                                     John T. Frey, Clerk of Circuit Court

                                                     By:
                                                           Deputy Clerk
                                                           Clerk: ACAST5




Page 1 of 1                                                        03/01/2019 12:49 PM User ID: Clerk: ACAST5

                                                  124                                        Exhibit C - 045
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 125 of 161 Page ID
                                   #:202




               Exhibit D

                                    125                            Exhibit D - 001
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 126 of 161 Page ID
                                   #:203


    LEGAL ETHICS OPINION 598                      HOUSE COUNSEL/REPRESENTATION
                                                  OF INSUREDS – CONFLICT OF
                                                  INTEREST – CONFIDENTIALITY.



      The Virginia State Bar's Standing Committee on the Unauthorized Practice of Law has
    proposed its Opinion 60. The Virginia State Bar's Standing Committee on Legal Ethics
    has been asked to render its opinion on the applicability of the Virginia Code of
    Professional Responsibility to the facts upon which the proposed UPL Opinion 60 is
    based. The opinion of the Standing Committee on Legal Ethics is the following:

       1. There is no provision of the Virginia Code of Professional Responsibility that
       expressly prohibits representation of an insured by a staff attorney for a liability
       insurance carrier.

       2. However, there are provisions of the Code of Professional Responsibility which
       provide guidance in the conduct of that relationship, namely DR:4-101((C)(1), DR:5-
       101(A) and DR:6-101(D).

       3. Canon 5 states “A lawyer shall exercise independent professional judgment on
       behalf of a client.”

     DR:5-101(A) states
      Refusing Employment When the Interests of the Lawyer May Impair His Independent
      Professional Judgment.

       (A) A lawyer shall not accept employment if the exercise of his professional
       judgment on behalf of his client may be affected by his own financial, business,
       property or personal interest, except with the consent of his client after full and
       adequate disclosure under the circumstances.

     DR:5-106 states, in pertinent part,
      Avoiding Influence by Others Than the Client.

       (A) Except with the consent of his client after full and adequate disclosure under the
       circumstances, a lawyer shall not:

           (1) accept compensation for his legal services from one other than his client.

           (2) . . . .

       (B) A lawyer shall not permit a person who recommends, employs or pays him to
       render legal services for another to direct or regulate his professional judgment in
       rendering such legal services.

      Accordingly, it is imperative under the Virginia Code of Professional Responsibility
    that a liability insurer's staff attorney representing an insured must inform the insured of
    his employment and obtain the insured's consent “after full and adequate disclosure under
    the circumstances.”

      The Legal Ethics Committee of the American Bar Association stated the principle well
    in its Informal Opinion 282 (5/27/50) in concluding that “An attorney, employed by an




                                               126                                       Exhibit D - 002
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 127 of 161 Page ID
                                   #:204


    insurance company exclusively, upon a salary basis [may ethically] defend lawsuits
    against assureds on behalf of the insurance company . . . .” and added

       The essential point of ethics involved is that the lawyer so employed shall represent
       the insured as his client with undivided fidelity . . . .

      The expressed, affirmative prohibitions of parts (A)(1) and (B) of DR:5-106(quoted
    above) amplify the essence of Canon 5 and the more specific statement in DR:5-101(A).
    See also EC:5-21, EC:5-22 and, particularly, EC:5-23.

       4. Canon 4 states “A Lawyer Should Preserve the Confidences and Secrets of a
       Client.”

      DR:4-101(B) prohibits the revelation of a confidence or secret (as defined in 4-101(A)),
    or the use of a confidence or a secret to the disadvantage of the client, or the use of a
    confidence or a secret of the client for the advantage of the attorney or a third person.
      The client of an insurance carrier's employee attorney is the insured, not the insurance
    carrier. Accordingly, except with the consent of the client, the insurance carrier's
    employee attorney is barred from disclosing or using confidences and secrets as set out in
    4-101(B) including, for example, any defense to policy coverage gained through the
    attorney/client relationship with the attorney's insurance carrier's insured. Informal
    Opinions 949 (8/8/66) and 1476 (8/11/81) of the ABA Legal Ethics Committee are in
    accord. See also EC:4-1, EC:4-2 and EC:4-5.

       5. DR:6-101(D) states “A Lawyer Shall Inform His Client of Facts Pertinent to the
       Matter and of Communications from Another Party That May Significantly Affect
       Settlement or Resolution of the Matter.” Accordingly, the insurance carrier's
       employee attorney is required to keep his client advised of settlement and such
       information.

       6. Canon 6 requires that “A Lawyer Should Represent a Client Competently” and
       Canon 7 states that “A Lawyer Should Represent a Client Zealously Within the
       Bounds of the Law.” We believe that it is implicit in those canons and related
       disciplinary rules that an insurance carrier's employee attorney make full and
       adequate disclosure to his client insured of any limitation of the scope of the
       representation.

      In summary, then, it is the opinion of the Legal Ethics Committee of the Virginia State
    Bar that it is not improper for an attorney who is an employee of an insurance carrier to
    represent a client who is insured by his employer. We point out the provisions of DR:4-
    101(B), DR:5-101(A), DR:5-106(A)(1) and (B), and DR:6-101(D) and Canons 6 and 7 as
    guidance to an attorney in the maintenance of such a relationship.

    Approved by the Supreme Court of Virginia
    March 8, 1985
    Effective June 1, 1985

    Justices Stephenson and Russell would disapprove the opinion.




                                              127                                      Exhibit D - 003
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 128 of 161 Page ID
                                   #:205




               Exhibit E

                                    128                            Exhibit E - 001
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 129 of 161 Page ID
                                   #:206
    Committee Opinion
    June 22, 1993

    LEGAL ETHICS OPINION 1536                     CONFLICT OF INTEREST -
                                                  CONFIDENCES AND SECRETS –
                                                  FORMER CLIENT: ATTORNEY'S
                                                  FORMER FIRM REPRESENTS
                                                  DEFENDANT IN PERSONAL INJURY
                                                  CASE; ATTORNEY'S SPOUSE
                                                  EMPLOYED BY INSURANCE CARRIER.


      I am writing in response to your letter dated April 26, 1993, requesting an informal
    advisory opinion from the Virginia State Bar Standing Committee on Legal Ethics
    ("committee").

      You have presented a hypothetical situation in which Attorney A was previously
    employed by Law Firm B and handled insurance defense cases and coverage issues for
    Law Firm's client, Insurance Company C. Attorney A later left Law Firm B and started
    his own law practice.

      You indicate that Attorney A is now representing Client D in a personal injury action
    against a defendant who is insured by Insurance Company C. Law Firm B is defending
    the case.

      You advise that Attorney A is familiar with the operation of Insurance Company C, not
    only because of his past employment with Law Firm B but also because his wife was, and
    is currently, a supervisor-employee of Insurance Company C with access to all claim files
    involving the same claim of Client D that is the subject matter of the personal injury
    action. Attorney A's spouse also has access to other claim files and information regarding
    the defendant, who is the insured of Insurance Company C. This information would
    include past claims, accident reports, and past repair estimates, as well as information and
    opinions supplied by Law Firm B on the merits of all claims handled by that firm,
    including the defense of the personal injury action in question.

      You have asked the committee to opine whether, under the facts of the inquiry, (1)
    Attorney A may continue representation of Client D since he formerly represented
    Insurance Company C while employed by Law Firm B; and (2) whether Attorney A may
    continue to represent Client D, considering Attorney A's spouse's employment by
    Insurance Company C.

      The appropriate and controlling Disciplinary Rules related to your inquiry are DR:4-
    101(B) which provides that a lawyer shall not knowingly use or reveal a confidence or
    secret of his client; and DR:5-105(D) which states that a lawyer who has represented a
    client in a matter shall not thereafter represent another person in the same or substantially
    related matter if the interest of that person is adverse in any material respect to the
    interest of the former client unless the former client consents after disclosure.




                                                129                                       Exhibit E - 002
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 130 of 161 Page ID
                                   #:207
    Committee Opinion
    June 22, 1993

      The committee directs your attention to prior LE Op. 598, approved by the Virginia
    Supreme Court effective June 1, 1985, which concluded that "the client of an insurance
    carrier's [in-house] employee attorney is the insured, not the insurance carrier". The
    committee is of the view that such delineation of the client is equally applicable when the
    insurance company engages outside counsel to represent its insured. The committee is
    of the opinion that Attorney A's familiarity with the general operation of Insurance
    Company C does not constitute a confidence or secret as envisioned by DR:4-101 since
    there was no attorney-client relationship between Attorney A and Insurance Company C.
    Thus, the committee opines that, unless the current matter is the same or substantially
    related to specific matters in which Attorney A, while employed by Law Firm B,
    previously represented other insureds who are now adverse to Client D, there is no
    impropriety in Attorney A continuing to represent Client D.

      As to your inquiry regarding A's spouse who, as employee of Insurance Company C,
    has access to all claim files involving both D's current claim and other claim files and
    information regarding the defendant, the committee opines that, assuming Attorney A
    had no knowledge of information his spouse may have learned as an employee of C, A
    would not be precluded from continuing his representation of D. See LE Op. 1481.




                                               130                                      Exhibit E - 003
Case 2:21-cv-05832-GW-PD Document 11-4 Filed 08/17/21 Page 131 of 161 Page ID
                                   #:208




               Exhibit F

                                    131                            Exhibit F - 001
8/17/2021 Case 2:21-cv-05832-GW-PD                Document   11-4
                                                      Edward W.      Filed
                                                                Cameron     08/17/21 PLLC
                                                                        - Cameron/McEvoy Page 132 of 161 Page ID
                                                              #:209




       Edward W. Cameron
       PARTNER


                                                  One of the firm’s founders, Edward W. (“Sunny”) Cameron has a
                                                  large practice devoted primarily to civil litigation in state and
                                                  federal courts. Mr. Cameron represents businesses and individuals
                                                  in a wide range of complex matters, including commercial,
                                                  construction, banking, real estate and employment disputes.

                                                  In addition to his extensive background in trial work, Mr. Cameron
                                                  is experienced in the appellate arena at all levels. He has also
                                                  handled alternative dispute resolution and has successfully
                                                  resolved numerous labor and employment, commercial and
                                                  construction disputes through arbitration and/or mediation.
           (703) 460-9340
            Email
        (mailto:ecameron@cameronmcevoy.com)      Mr. Cameron has been selected for numerous honors, including an
                                                  invitation to join as a Senior Fellow, Litigation Counsel of America
       ////////////////////////
                                                  for 2012. Membership in this prestigious honor society for trial and
       Recognition                                appellate attorneys is limited to one-half of one percent of all
                                                  American lawyers. He has also been selected as one of the Best
                                                  Lawyers in America each year since 2010, and he has been
                                                  designated a Virginia Super Lawyer in the Business Litigation
                                                  section by Law & Politics magazine. In addition, he has been
                                                  identified as one of Virginia’s Legal Elite by Virginia
                                                  Business magazine. Lastly, in his first year of eligibility, Mr.
                                                  Cameron received an AV Peer Review Rating from Martindale-
                                                  Hubbell, which is recognized as one of the nation’s leading rating
                                                  services for attorneys.




                                                      Practice Focus


                                                         Commercial Litigation               Labor & Employment
       ////////////////////////
                                                         Corporate Litigation                Local Government/
       Bar Admissions                                                                          Municipal Litigation
                                                         Real Estate Litigation
https://www.cameronmcevoy.com/attorneys/edward_cameron/
                                                                  132                                       Exhibit F - 002
                                                                                                                              1/3
8/17/2021 Case 2:21-cv-05832-GW-PD                Document   11-4
                                                      Edward W.      Filed
                                                                Cameron     08/17/21 PLLC
                                                                        - Cameron/McEvoy Page 133 of 161 Page ID
          Supreme Court of the United                        #:210
                                                     Construction Litigation              Commercial Lease

           States                                         – Mechanic’s Liens                     Litigation
          United States Court of Federal
           Claims                                         – Claims on Public Projects           Banking & Debtor/Creditor
                                                                                                 Litigation
          Virginia
          United States Court of Appeals,
           Fourth Circuit
          United States District Court,          Practice Notes
           Eastern District of Virginia
          United States Bankruptcy                  Secured a judgment for $11 million for a commercial general
           Court, Eastern District of                 contractor and its primary and excess carriers in a complex
           Virginia                                   insurance coverage and indemnification dispute at the
          United States Bankruptcy                   conclusion of a lengthy trial in the Circuit Court of Fairfax County.
           Court, Western District of
           Virginia                                  Secured the early dismissal of a $2.5 million claim against King
          Regularly admitted to practice             George County, Virginia and the County’s Service Authority
           in other courts throughout the             involving a commercial real estate developer’s construction of a
           U.S. on a Pro Hac Vice basis               waste water treatment facility.

       ////////////////////////
                                                     Secured the early dismissal of a wrongful discharge claim where
       Professional Activities                        the former employee was seeking $1.1 million in damages.
          Virginia State Bar, Construction
           Law Section                               Negotiated a favorable settlement resulting in a 15 year lease
          Fairfax Bar Association, Fairfax           extension for a tenant at the end of the first week of a jury trial
           County Circuit Court Committee             involving a complicated commercial lease dispute.
           (1997-98)
          Fairfax Circuit Court Conciliator         Successfully represented a subsidiary of a national building
          Virginia Trial Lawyers                     material supply firm in a hotly contested construction dispute
           Association                                resulting in a substantial damage award from a Fairfax County
          Member, Diversity Law Institute            jury.
           (2014)
          Member, The Trial Law Institute           Secured a jury verdict for a large software consulting firm equal to
           (2014)                                     the Plantiff’s ad damnum in a contract dispute with one of the
          Barrister, Order of Centurions             nation’s largest cosmetic manufacturers.
           (Litigation Counsel of America)

       ////////////////////////

       Education
          J.D., George Mason University
           School of Law
           – George Mason University Law
             Review

          B.A., Virginia Commonwealth
           University


https://www.cameronmcevoy.com/attorneys/edward_cameron/
                                                                  133                                         Exhibit F - 003
                                                                                                                                2/3
8/17/2021 Case 2:21-cv-05832-GW-PD                Document   11-4
                                                      Edward W.      Filed
                                                                Cameron     08/17/21 PLLC
                                                                        - Cameron/McEvoy Page 134 of 161 Page ID
         – Graduated top half of one
                                                              #:211
           percent of class




https://www.cameronmcevoy.com/attorneys/edward_cameron/
                                                              134                                   Exhibit F - 004
                                                                                                                      3/3
8/17/2021 Case 2:21-cv-05832-GW-PD                  Document
                                                        Timothy11-4    Filed
                                                               J. McEvoy      08/17/21 PLLC
                                                                         - Cameron/McEvoy Page 135 of 161 Page ID
                                                                #:212




       Timothy J. McEvoy
       PARTNER


                                                     Tim McEvoy is a Fellow of The American College of Trial Lawyers,
                                                     the most prestigious, invitation-only society of senior trial counsel
                                                     in the United States and Canada. A former state and federal
                                                     prosecutor, he has been involved with matters as diverse as
                                                     whether a sitting state Attorney General had to obey a sitting
                                                     Governor, precedent-setting litigation in the Delaware Court of
                                                     Chancery involving preferred shareholder rights and the duties of
                                                     potentially conflicted venture capitalists in a merger, shareholder’s
                                                     agreement disputes, business “divorces,” software development
                                                     disputes, the Clean Water Act, pharmaceutical drug development,
            (703) 460-9341                          and other commercial litigation of all kinds. Mr. McEvoy has also
             Email                                   appeared before the United States Supreme Court (where the lower
        (mailto:tmcevoy@cameronmcevoy.com)
                                                     courts were reversed by a 9-0 vote), has obtained and collected
       ////////////////////////                      recoveries of more than $50,000,000 on behalf of his clients, and
                                                     successfully defended liquidated commercial claims far exceeding
       Recognition
                                                     that amount.

                                                     For years running, Mr. McEvoy has been A/V-rated by the
                                                     Martindale-Hubbell peer rating service, the highest rating available
                                                     for skill and ethics. He is also perennially listed in in publications

       (https://www.actl.com/)
                                                     such as Virginia Business Magazine’s “Virginia Legal Elite,”
                                                     Thomson-Reuters’ Virginia and D.C. “Super Lawyers” and the
                                                     prestigious “Best Lawyers in America” list. He has won the Fairfax
                                                     Bar Association’s President’s Award for Leadership and Service
                                                     three times, and has served as President of the Fairfax Law
                                                     Foundation, a 501(c)(3) entity that provides pro bono legal services
                                                     and educates the public about the Rule of Law. He has represented
                                                     both the Arlington County Bar Association and the Fairfax Bar
                                                     Association in legal disputes with third parties, and has
                                                     additionally represented two Virginia Commonwealth’s Attorneys
       ////////////////////////
                                                     in civil rights disputes initiated against them in federal court. He
       Bar Admissions                                also serves as a member of the Merit Selection Committee for
           Virginia

https://www.cameronmcevoy.com/attorneys/timothy-j-mcevoy/
                                                                    135                                      Exhibit F - 005
                                                                                                                               1/3
8/17/2021 Case 2:21-cv-05832-GW-PD                  Document
                                                        Timothy11-4    Filed
                                                               J. McEvoy      08/17/21 PLLC
                                                                         - Cameron/McEvoy Page 136 of 161 Page ID
           Maryland                                             #:213
                                                    United States Magistrate Judges in the Eastern District of Virginia,
          U. S. Supreme Court                       Alexandria Division.
          U. S. District Court for the
           Eastern and Western Districts of          In his free time, Mr. McEvoy is a road bike and motorbike
           Virginia
                                                     enthusiast, manager and supporter of youth sports teams, and an
          U. S. District Court for Maryland
                                                     advocate and advisor for mental health issues. He enjoys
          U. S. Court of Appeals for the
           Fourth Circuit                            biography, history, traveling and people, and is a member of the
                                                     Virginia Club of New York and the Virginia Historical Society.
       ////////////////////////

       Professional Activities
          President, Fairfax Law
           Foundation (2009)                              Practice Focus
          Fairfax Bar Association
          Arlington Bar Association                         Corporate                          Estate and fiduciary
          Federal Bar Association                            litigation, including               litigation, including trust
          Member, George Mason Inn of                        claims by and against               and estate disputes, claims
           Court                                              shareholders, partners and          under the Uniform Trust
                                                              members, breach of                  Act, will contests and
       ////////////////////////
                                                              fiduciary duty claims,              accountings.
       Education                                              appraisals, business break-
                                                                                                 Intellectual
                                                              ups and claims against
          J.D., University of Virginia                                                           Property, including
           School of Law                                      officers and directors.
                                                                                                  software disputes,
          B.A., College of William and                      Business torts, including           licensing issues, copyrights
           Mary (Phi Beta Kappa)                              tortious interference with          and trademarks.
                                                              contract claims and
                                                              business conspiracy
                                                              claims.

                                                             Contract law, including
                                                              claims for breach of
                                                              commercial contracts,
                                                              leases, employment
                                                              agreements and restrictive
                                                              covenants (non-
                                                              competition and non-
                                                              solicitation agreements).



                                                     Practice Notes

                                                        Regular participation in complex, multi-party litigation in federal
                                                         court involving various subject matters, including the federal
                                                         False Claims Act, the Fair Labor Standards Act, the Lanham Act,

https://www.cameronmcevoy.com/attorneys/timothy-j-mcevoy/
                                                                      136                                      Exhibit F - 006
                                                                                                                                 2/3
8/17/2021 Case 2:21-cv-05832-GW-PD                  Document
                                                         Timothy11-4    Filed
                                                                J. McEvoy      08/17/21 PLLC
                                                                          - Cameron/McEvoy Page 137 of 161 Page ID
                                                                 #:214
                                                     the Copyright Act, the Clean Water Act and other federal statutes
                                                         and regulations.

                                                        The defense of a breach of contract claim by a pharmaceutical
                                                         development company against a leading international
                                                         pharmaceutical manufacturer where the damages sought were
                                                         not less than $78,000,000. The case was resolved by confidential
                                                         mediation.

                                                        Routine handling of cases involving tens of millions of dollars in
                                                         liquidated contract damages, including settlements on behalf of
                                                         publicly-traded entities.

                                                        Multiple False Claims Act defenses where his clients paid nothing
                                                         or only a small fraction of the seven-figure demands made by the
                                                         claimants.

                                                        Recovery of millions of dollars for charitable organizations and
                                                         individuals in trust and estate cases.

                                                        Total exoneration for a client whose case went all the way to the
                                                         United States Supreme Court and whose case was subsequently
                                                         dismissed with prejudice on remand to the trial court.

                                                        Defense of a FLSA class action in federal court, with client paying
                                                         nothing.

                                                        Participation as counsel in litigation and arbitration concerning
                                                         book and movie rights to the life story of W. Mark Felt, the former
                                                         FBI official who disclosed in May 2005 that he was the famed
                                                         “Deep Throat” of the Watergate era. The case resolved in
                                                         confidential arbitration and the award was enforced by the U.S.
                                                         District Court for the District of Columbia.

                                                        Won multiple summary judgments and injunctions for clients in
                                                         all manner of civil litigations, including restrictive covenant cases
                                                         and cases under employment discrimination laws, the Lanham
                                                         Act and under various common law theories.

                                                        Several cases have been featured on local and national news,
                                                         including coverage by The Wall Street Journal, CNN, The
                                                         Washington Post, The Roanoke Times and The Boston Globe.




https://www.cameronmcevoy.com/attorneys/timothy-j-mcevoy/
                                                                     137                                       Exhibit F - 007
                                                                                                                                 3/3
8/17/2021 Case 2:21-cv-05832-GW-PD                   Document   11-4Roche
                                                         Sean Patrick  Filed   08/17/21 PLLC
                                                                          - Cameron/McEvoy Page 138 of 161 Page ID
                                                                 #:215




       Sean Patrick Roche
       PARTNER


                                                     Sean Patrick Roche is a business litigation attorney and a partner
                                                     in the firm. His practice is devoted to complex civil litigation with
                                                     expertise in matters generally revolving around a variety of forms
                                                     of contract disputes, often including high stakes “bet-the-
                                                     company” litigation. For example, Mr. Roche regularly handles
                                                     contract litigation involving construction, real estate, trust and
                                                     estates, labor and employment, commercial landlord-tenant,
                                                     telecommunication, intellectual property, and various other forms
                                                     of complex business disputes. Ultimately, Mr. Roche is a trial
                                                     attorney though his expertise is in conflict resolution, whether by
           (703) 460-9343                           prevailing in court or negotiating the best possible resolution out of
            Email                                    court. Mr. Roche is licensed to practice law in Virginia,
        (mailto:sroche@cameronmcevoy.com)
                                                     Washington, D.C., and Maryland. He regularly handles litigation in
       ////////////////////////                      the state and federal courts throughout all three jurisdictions and
                                                     he is often specially admitted to appear on behalf of clients in
       Recognition
                                                     various courts and arbitration proceedings throughout the United
                                                     States and Canada.

                                                     Mr. Roche was born and raised in the Washington, D.C. area, where
                                                     he continues to reside with his wife and two sons. He obtained two
                                                     Bachelor of Arts degrees from Georgetown University, a Juris
                                                     Doctorate from the University of Richmond School of Law (where
                                                     he served on the Law Review as Allen Chair Editor), and a Master of
       Super Lawyer – SuperLawyer.com                Laws (“LL.M.”) in Litigation and Dispute Resolution from The
         (2012, 2013, 2014, 2015, 2016,              George Washington University Law School. Mr. Roche is also a
        2017, 2018, 2019)
                                                     graduate of the College of Trial Advocacy.
       Martindale Hubbell AV-Rated – the
        highest rating available to lawyers
                                                     Mr. Roche has been named among Virginia Business magazine’s
       DC Metro Area’s Outstanding
                                                     “Legal Elite”, the Washington Post Magazine’s “Outstanding Young
         Young Lawyer – Washington Post
        Magazine                                    Lawyers,” and he has been elected as a “Super Lawyer” in Virginia,
       Avvo.com 10.0-Rating – the highest            Maryland, and D.C. In his first year of eligibility, he achieved an AV-
        rating available to lawyers
                                                     rating by Martindale-Hubbell, the highest available rating from the
       Legal Elite – Virginia Business               premier attorney rating database. Inclusion on these various lists
        Magazine


https://www.cameronmcevoy.com/attorneys/sean-patrick-roche/
                                                                   138                                       Exhibit F - 008
                                                                                                                               1/6
8/17/2021 Case 2:21-cv-05832-GW-PD                   Document   11-4Roche
                                                         Sean Patrick  Filed   08/17/21 PLLC
                                                                          - Cameron/McEvoy Page 139 of 161 Page ID
                                                                 #:216
                                                     means Mr. Roche is among those lawyers recognized by his peers
                                                     as one of the best in the D.C. metropolitan region.
       ////////////////////////

       Bar Admissions
       Virginia
       


       District
               of Columbia                               Practice Focus
       Maryland
       


       United States District Court,                      A trial attorney’s special expertise is in the area of courtroom
        Eastern District of Virginia
                                                          practice and trial procedure. Mr. Roche applies that
       United States District Court,
        Western District of Virginia
                                                          discipline regularly in the following types of business

       United States District Court,
                                                          disputes:
        District of Columbia


       United States District Court,                         General Civil Litigation           Corporate Litigation
        District of Maryland


       United States Bankruptcy Court,                       Business Litigation                Trust & Estate Litigation
        Eastern District of Virginia
                                                             Business Torts                     Banking & Debtor/Creditor
       United States Bankruptcy Court,
        Western District of Virginia                                                             Litigation
                                                             Telecommunication
       United States Bankruptcy Court,                        Litigation                         Construction Litigation
        District of Columbia


       United States Bankruptcy Court,                       Real Estate Litigation             Labor & Employment
        District of Maryland                                                                     Litigation
                                                             Local
       United States Court of Appeals,
                                                              Government/Municipal               Alternative Dispute
        Fourth Circuit
                                                              Litigation                          Resolution (Arbitration and
       United States Court of Appeals,
        District of Columbia Circuit
                                                                                                  Mediation)
                                                             Contract Disputes
       United States Court of Appeals,                                                           Commercial Landlord-
        Federal Circuit
                                                                                                  Tenant Litigation
       Supreme
              Court of the United States


                                                     Practice Notes
       ////////////////////////
                                                        Over $30 million dollars in total judgment amounts obtained
       Professional Activities
                                                         through bench and jury trials.
          Virginia State Bar
          District of Columbia Bar                     Cases featured on local and national news, including coverage by
          Maryland State Bar                            The Wall Street Journal, The Washington Post, The New York
          Fairfax Bar Association                       Times, The Los Angeles Times, CNN, Wired, Law360, NBC News,
          Member, Circuit Court                         USA Today, BBC, Hollywood Reporter, Fox News, CBS News, ABC
           Committee                                     News, Variety, Rolling Stone, TMZ, and Fierce Wireless.
           – Contributing Editor, Fairfax
             County Bar Manual                          Millions of dollars in confidential settlements, often including
                                                         long-term business benefits in addition to immediate monetary
          American Bar Association

https://www.cameronmcevoy.com/attorneys/sean-patrick-roche/
                                                                       139                                      Exhibit F - 009
                                                                                                                                  2/6
8/17/2021 Case 2:21-cv-05832-GW-PD                   Document   11-4Roche
                                                         Sean Patrick  Filed   08/17/21 PLLC
                                                                          - Cameron/McEvoy Page 140 of 161 Page ID
          Litigation Section                         payments.  #:217
          Federal Bar Association Federal
           Litigation Section                           Numerous cases dismissed and/or resolved through motions to
          Virginia Trial Lawyers                        dismiss, demurrer, plea in bar, or other pretrial practice and
           Association                                   procedure.
          Member, George Mason
           American Inn of Court                        Dismissal by jury of all claims in favor of client on business
          USA Triathlon Association                     dissolution dispute.
          Board of Directors, Council for
           Court Excellence                             Dismissal in favor of client on motion to dismiss involving
          Board of Directors, Lift Me Up!               complex securities litigation.
           youth charitable organization
                                                        Dismissal in favor of client following trial of complex litigation
       ////////////////////////
                                                         involving multi-million dollar construction dispute.
       Education
          LL.M., Litigation & Dispute                  Dismissal by motion of complex construction dispute involving
           Resolution, The George                        multiple millions of dollars in dispute in which the presiding
           Washington University Law                     judge described Mr. Roche’s defense of his client as “first rate”
           School (Summa Cum Laude)                      and “a take no prisoner’s defense.” Mr. Roche’s client was also
          College of Trial Advocacy, The                awarded reimbursement of its fees and costs by way of a
           George Washington University                  substantial sanction against the opposing party.
           Law School
          J.D., University of Richmond                 Dismissal with prejudice by opposing party immediately
           School of Law                                 following Mr. Roche’s deposition of the Plaintiff.
           – University of Richmond Law
             Review – Allen Chair Editor,
                                                        Dismissal in favor of client in subrogation dispute involving
             Executive Board
                                                         complex products liability and personal injury claims.
           – Richmond Journal of Law &
            Technology
           – Associate Solicitations Editor             Successful prosecution and defense of numerous injunctions
           –Justice, Honor Council                       (preliminary and permanent) in both state and federal courts
                                                         involving complicated non-compete, non-solicitation, and/or
          B.A., Government & History,                   estate claims.
           Georgetown University
          Gonzaga College High School                  Representation of various Fortune 500 companies in contract and
           (Washington, D.C.)
                                                         business disputes.

                                                        Representation of municipal and governmental organizations in
                                                         contract and business disputes.

                                                        Regular representation of individuals and national/international
                                                         entities as local counsel, often serving as lead counsel in
                                                         dismissing claims on jurisdictional grounds.

                                                        Resolution through arbitration of multi-million dollar claims in
                                                         national/international arbitrations.
https://www.cameronmcevoy.com/attorneys/sean-patrick-roche/
                                                                     140                                       Exhibit F - 010
                                                                                                                                 3/6
8/17/2021 Case 2:21-cv-05832-GW-PD                   Document   11-4Roche
                                                         Sean Patrick  Filed   08/17/21 PLLC
                                                                          - Cameron/McEvoy Page 141 of 161 Page ID
                                                                 #:218
                                                     Publications

                                                        Sean Roche, et al., Law 101: An Essential Reference for Your
                                                         Everyday Legal Questions (2d ed., Sphinx Publishing, 2009).

                                                        Jonathan D. Frieden & Sean Patrick Roche, E-Commerce: Legal
                                                         Issues for the Online Retailer in Virginia, 13 Rich. J.L. & Tech, 2006.

                                                        University of Richmond Law Review, Allen Chair Symposium
                                                         2004: Federal Judicial Selection (Sean Roche ed., 2005)

                                                        Sean Roche, Advanced Issues in Virginia Employment Law: Legal
                                                         Issues in Employee Privacy, National Business Institute 1, 1-42
                                                         (2004).


                                                     Representative/Published Cases

                                                        3M Co. v. Directi Internet Sols. Pvt. Ltd., No. 1:11CV627, 2012 WL
                                                         5527154 (E.D. Va. Nov. 13, 2012) (finding judgment in favor of Sean
                                                         Roche’s client in complex cybersquatting and trademark
                                                         infringement litigation).

                                                        Boeman v. Reed, No. 1:09 CV 848, 2009 WL 3698496 (N.D. Ohio
                                                         Nov. 4, 2009) (granting motion to dismiss).

                                                        Zhou Jie Plant v. Merrifield Town Ctr. Ltd. P’ship, 482 F. App’x 823
                                                         (4th Cir. 2012) (upholding trial court ruling and dismissing action
                                                         as a result of discovery violations).

                                                        Roberts Welding, LLC v. Hanover Ins. Co., No. CIV.A. GLR-12-2838,
                                                         2012 WL 6698646 (D. Md. Dec. 21, 2012) (granting motion to
                                                         dismiss).

                                                        Suntrust Inv. Servs., Inc. v. Cleary, No. CIV. 09-01066RJL, 2009 WL
                                                         1651541 (D.D.C. June 12, 2009) (granting motion of Sean Roche and
                                                         issuing an injunction upholding non-solicitation and non-
                                                         compete contracts).

                                                        3M Co. v. Directi Internet Sols. Pvt. Ltd., No. 1:11CV627, 2012 WL
                                                         1579767 (E.D. Va. May 3, 2012) (finding judgment in favor of Sean
                                                         Roche’s client in complex cybersquatting and trademark
                                                         infringement litigation).

                                                        Plant v. Merrifield Town Ctr. Ltd. P’ship, No. 1:08CV374, 2012 WL
                                                         293221 (E.D. Va. Jan. 30, 2012) (denying motion of Plaintiff seeking
https://www.cameronmcevoy.com/attorneys/sean-patrick-roche/
                                                                     141                                         Exhibit F - 011
                                                                                                                                   4/6
8/17/2021 Case 2:21-cv-05832-GW-PD                   Document    11-4Roche
                                                          Sean Patrick  Filed   08/17/21 PLLC
                                                                           - Cameron/McEvoy Page 142 of 161 Page ID
                                                                  #:219
                                                      to overturn judgment obtained by Sean Roche in favor of the
                                                         Defendants).

                                                        Lodal v. Verizon Virginia, Inc., 74 Va. Cir. 110, 2007 WL 5984179
                                                         (Fairfax County, Aug. 22, 2007) (dismissing claims based on
                                                         pretrial motion of Sean Roche).

                                                        Murnan v. Stewart Title Guar. Co., 607 F. Supp. 2d 745 (E.D. Va.
                                                         2009) (obtaining reconsideration of prior order from trial court
                                                         and granting motion of Sean Roche dismissing matter with
                                                         prejudice).

                                                        In re Merrifield Town Ctr. Ltd. P’ship, No. 09-18119-SSM, 2010 WL
                                                         5015006 (Bankr. E.D. Va. Dec. 3, 2010) (dismissing matter in favor
                                                         of Sean Roche’s clients and awarding them recovery of fees and
                                                         costs while describing Mr. Roche’s work in a published ruling as
                                                         “first rate” and a “take no prisoners defense.”).

                                                        Shay v. Sight & Sound Sys., Inc., 668 F. Supp. 2d 80 (D.D.C. 2009)
                                                         (granting motion of Sean Roche and dismissing case on pretrial
                                                         motions).

                                                        Am. Prop. Const. Co. v. Sprenger Lang Found., 768 F. Supp. 2d 198
                                                         (D.D.C. 2011) (denying motion for summary judgment and finding
                                                         in favor of Sean Roche).

                                                        Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 564 F. Supp. 2d
                                                         544 (E.D. Va. 2008), aff’d, 591 F.3d 250 (4th Cir. 2009) (dismissing
                                                         matter in its entirety based upon a statutory argument raised by
                                                         Sean Roche).

                                                        Chubb & Son v. C & C Complete Servs., LLC, 919 F. Supp. 2d 666 (D.
                                                         Md. 2013) (dismissing claims of Plaintiffs on the motion to
                                                         dismiss filed by Sean Roche).

                                                        Khatib v. All. Bankshares Corp., 846 F. Supp. 2d 18 (D.D.C. 2012)
                                                         (denying Plaintiff’s motion for preliminary injunction and
                                                         proceeding to dismiss the case altogether on counter-motion to
                                                         dismiss filed by Sean Roche).

                                                        A-J Marine, Inc. v. Corfu Contractors, Inc., 810 F. Supp. 2d 168
                                                         (D.D.C. 2011) (quashing subpoena issued against the client of
                                                         Sean Roche and dismissing the litigation altogether).




https://www.cameronmcevoy.com/attorneys/sean-patrick-roche/
                                                                     142                                       Exhibit F - 012
                                                                                                                                 5/6
8/17/2021 Case 2:21-cv-05832-GW-PD                   Document    11-4Roche
                                                          Sean Patrick   Filed  08/17/21 PLLC
                                                                           - Cameron/McEvoy Page 143 of 161 Page ID
                                                                  #:220
                                                      Zhou Jie Plant v. Merrifield Town Ctr. Ltd. P’ship, 751 F. Supp. 2d

                                                         857 (E.D. Va. 2010), aff’d, 482 F. App’x 823 (4th Cir. 2012) (granting
                                                         motion for summary judgment of Sean Roche on multi-million
                                                         dollar class action litigation).

                                                        3M Co. v. Thailand3M.net, No. 1:11CV627, 2013 WL 2156322 (E.D. Va.
                                                         Apr. 23, 2013) (granting judgment in favor of Sean Roche’s client
                                                         on complex cybersquatting and trademark infringement claims).

                                                        United States v. Preston, 123 F. Supp. 3d 93 (D.D.C. 2015) (denying
                                                         government’s motion for seizure of client’s assets resulting in a
                                                         settlement that resolved all claims).

                                                        Plant v. Merrifield Town Ctr. Ltd. P’ship, 711 F. Supp. 2d 576 (E.D.
                                                         Va. 2010) (obtaining dismissal of multi-million dollar class action
                                                         based on procedural and pretrial litigation strategy).

                                                        Tracfone Wireless, Inc. v. Simply Wireless, Inc., 229 F. Supp. 3d
                                                         1284, 1287 (S.D. Fla. 2017) (granting motion to dismiss).

                                                        Tracfone Wireless, Inc. v. Simply Wireless, Inc., 275 F. Supp. 3d
                                                         1332, 1336 (S.D. Fla. 2017) (granting motion to dismiss).

                                                        TracFone Wireless, Inc. v. Simply Wireless, Inc., No. 15-24565-CIV,
                                                         2017 WL 5636281, at *1 (S.D. Fla. Nov. 22, 2017) (granting motion to
                                                         stay in favor of competing arbitration).

                                                        Armstrong v. Navient Sols., LLC, 292 F. Supp. 3d 464, 475 (D.D.C.
                                                         2018) (granting motion to dismiss).

                                                        Cornelius v. Simply Wireless, No. 3:17-CV-3392-CMC-PJG, 2018 WL
                                                         4356578, at *3 (D.S.C. Sept. 13, 2018) (granting motion to dismiss).




                                                     Presentations

                                                        Northern Virginia’s Annual Seminar on Commercial Landlord-
                                                         Tenant Law (2014, 2015, and 2016).

                                                        George Mason American Inn of Court – Opening Statements and
                                                         Closing Arguments: How to Reach a Jury and Close the Case (April
                                                         24, 2018).


https://www.cameronmcevoy.com/attorneys/sean-patrick-roche/
                                                                     143                                        Exhibit F - 013
                                                                                                                                  6/6
8/17/2021 Case 2:21-cv-05832-GW-PD                 Document
                                                       Matthew 11-4    Filed
                                                               H. Sorensen     08/17/21 PLLC
                                                                           - Cameron/McEvoy Page 144 of 161 Page ID
                                                                #:221




       Matthew H. Sorensen
       PARTNER


                                                   Matthew H. Sorensen focuses his practice on the areas of labor and
                                                   employment law and commercial litigation. Mr. Sorensen has
                                                   successfully defended businesses and executives in numerous
                                                   employment-related disputes in state and federal courts
                                                   throughout the United States. He has extensive experience
                                                   defending individual and class lawsuits involving wage and hour,
                                                   discrimination, retaliation, and “whistleblower” claims. He has
                                                   also litigated numerous cases involving non-compete agreements
                                                   and other employment-related contracts. In addition, Mr. Sorensen
                                                   represents businesses and executives in employment-related
            (703) 460-9342                        investigations by state and federal agencies, including the Equal
             Email                                 Employment Opportunity Commission (“EEOC”), the Office of
        (mailto:msorensen@cameronmcevoy.com)
                                                   Federal Contract Compliance Programs (“OFCCP”), the Department
       ////////////////////////                    of Labor, and the National Labor Relations Board (“NLRB”).

       Bar Admissions                              Mr. Sorensen is an experienced commercial litigator. He has
           Virginia                               successfully resolved numerous cases involving commercial
           District of Columbia
                                                   contracts, misappropriation of trade secrets, unfair competition,
           U.S. District Court, Eastern
                                                   defamation, fraud, and other business torts. He has also defended
            District of Virginia
                                                   businesses (particularly those in the hospitality and retail
           U.S. District Court, District of
            Columbia                               industries) in a number of cases involving claims of discrimination
           U.S. Court of Appeals, Fourth          and denial of access under Title III of the Americans With
            Circuit                                Disabilities Act.
           U.S. Court of Appeals, District of
            Columbia Circuit                       In addition to his litigation practice, Mr. Sorensen works with
           U.S. Court of Appeals, Sixth
                                                   companies to find practical, cost-effective strategies to their
            Circuit
                                                   workforce problems. He routinely advises clients and conducts
           U.S. Court of Appeals, Ninth
            Circuit                                management training seminars on compliance with federal and
                                                   state labor and employment laws, including the FLSA, Title VII, the
       ////////////////////////
                                                   ADEA, the ADA, the WARN Act, and the NLRA. He also prepares
       Professional Activities                     employment and non-compete agreements, develops personnel
           Virginia State Bar                     policies and employee handbooks, and advises clients on best
           District of Columbia Bar               practices for hiring, firing and managing employees. Additionally,

https://www.cameronmcevoy.com/attorneys/matthew-h-sorensen/
                                                                 144                                       Exhibit F - 014
                                                                                                                             1/3
8/17/2021 Case 2:21-cv-05832-GW-PD                 Document
                                                       Matthew 11-4    Filed
                                                               H. Sorensen     08/17/21 PLLC
                                                                           - Cameron/McEvoy Page 145 of 161 Page ID
           Federal Bar Association                              #:222
                                                  Mr. Sorensen conducts internal investigations on wage and hour
          American Staffing Association           issues as well as claims of sexual harassment, discrimination,
          Virginia Hospitality and Travel         retaliation and other misconduct.
           Association

       ////////////////////////
                                                   Practice Notes
       Education
                                                      Successfully moved to dismiss multi-million dollar wage and
          J.D., University of Chicago Law             hour collective action in the Eastern District of Virginia.
           School
           – Edwin F. Mandel Legal Aid
                                                      Obtained dismissal by jury of multi-million dollar retaliatory
             Clinic Employment
             Discrimination Project—                   discharge claim.
             Student Attorney
                                                      Obtained dismissal of sexual harassment lawsuit against federal
          B.A., Haverford College                     government contractor on demurrer.

                                                      Obtained dismissal of retaliation and defamation claims against
                                                       firearms manufacturer.

                                                      Obtained summary judgment in favor of telecommunications
                                                       company in wage and hour, discrimination and retaliation
                                                       lawsuit brought by former executive.

                                                      Obtained summary judgment in favor of homebuilding company
                                                       in pregnancy discrimination lawsuit.

                                                      Obtained favorable judgment following bench trial of ADA Title
                                                       III lawsuit against a national restaurant chain.

                                                      Numerous favorable settlements of disputes involving wage and
                                                       hour claims, discrimination claims, commercial contracts, non-
                                                       compete agreements, misappropriation of trade secrets, unfair
                                                       competition and other business torts.


                                                   Publications

                                                      Matthew H. Sorensen, Deadline for Compliance with New ADA
                                                       Accessibility Rules Approaching, Resort Hotel Association
                                                       Newsletter.

                                                      Matthew H. Sorensen, Tennessee Appellate Court Holds Tips Are
                                                       Not Earnings Subject to Garnishment, Practical Law Company
                                                       Legal Update (March 30, 2012).



https://www.cameronmcevoy.com/attorneys/matthew-h-sorensen/
                                                                   145                                      Exhibit F - 015
                                                                                                                              2/3
8/17/2021 Case 2:21-cv-05832-GW-PD                 Document
                                                       Matthew 11-4    Filed
                                                               H. Sorensen     08/17/21 PLLC
                                                                           - Cameron/McEvoy Page 146 of 161 Page ID
                                                                #:223
                                                    Matthew H. Sorensen, et al., Environmental Whistleblowers and

                                                       the Eleventh Amendment: Employee Protection or State
                                                       Immunity? Tulane Environmental Law Journal (Winter 2001).


                                                   Presentations

                                                      Speaker, Hotels and Restaurants Targeted in Government and
                                                       Private Enforcement Efforts, Virginia Beach Hotel & Motel
                                                       Association (May, 2012).

                                                      Speaker, Don’t Be Caught Unprepared: What Hospitality
                                                       Businesses Need To Know About The 2010 ADA Standards and
                                                       Effective Labor Relations, Northern Virginia Hotel Council (April,
                                                       2012).

                                                      Speaker, Navigating the Murky Waters of Wage and Hour
                                                       Compliance, Virginia Hospitality and Travel Association (Spring
                                                       Meeting, 2012).

                                                      Speaker, Avoiding Traps for the Unwary: Top Labor and
                                                       Employment Law Issues for Hotel Managers to Watch in 2012,
                                                       Northern Virginia Hotel Council (February, 2012).




https://www.cameronmcevoy.com/attorneys/matthew-h-sorensen/
                                                                   146                                      Exhibit F - 016
                                                                                                                              3/3
8/17/2021 Case 2:21-cv-05832-GW-PD                   Document
                                                         Patrick J.11-4   Filed
                                                                    McDonald      08/17/21 PLLC
                                                                             - Cameron/McEvoy Page 147 of 161 Page ID
                                                                    #:224




       Patrick J. McDonald
       PARTNER


                                                     Patrick J. McDonald is a partner in the firm whose practice is
                                                     focused on complex commercial disputes, with expertise in matters
                                                     involving contracts, construction, wills, trust and estates, labor
                                                     and employment, real estate, commercial landlord-tenant,
                                                     intellectual property, corporate governance and fiduciary disputes,
                                                     “business divorces” and various other forms of complex business
                                                     disputes. Mr. McDonald has tried cases and regularly appears in
                                                     both the federal and state courts in Virginia, and represents his
                                                     clients in arbitration and mediation as well. Mr. McDonald is
                                                     dedicated to obtaining the best result for his clients, whether
            (703) 460-9344                          through court, alternative dispute resolution or informal
             Email                                   negotiation. Though his focus is on dispute resolution, Mr.
        (mailto:pmcdonald@cameronmcevoy.com)
                                                     McDonald also advises his clients on contract negotiation and in
       ////////////////////////                      other business matters.

       Recognition                                   Mr. McDonald is admitted to practice in the state courts of the
                                                     Commonwealth of Virginia as well as the United States District
                                                     Court for the Eastern District of Virginia and the United States
                                                     Court of Appeals for the Fourth Circuit. He has been specially
                                                     admitted in various cases in Maryland and the District of Columbia,
                                                     including both federal and state courts.
           Super Lawyers – Rising Star
            2019                                     Originally from the Philadelphia area, Mr. McDonald resides in
                                                     Northern Virginia with his wife and two children. He obtained his
                                                     Bachelor of Arts degree in Politics from Princeton University and
       ////////////////////////                      obtained his Juris Doctorate from the George Mason University

       Bar Admissions                                School of Law, cum laude, where he served as the Senior Notes
           Virginia
                                                     Editor for the George Mason Civil Rights Law Journal. Before
           U.S. District Court, Eastern             entering private practice, Mr. McDonald served as a judicial law
            District of Virginia                     clerk to the Honorable Judges of the Circuit Court of Arlington
                                                     County, Virginia. He also served as a judicial intern to the
       ////////////////////////
                                                     Honorable Dennis J. Smith of the Fairfax County Circuit Court in
       Professional Activities                       Fairfax, Virginia. He is a member of the Fairfax Bar Association
           Virginia State Bar
https://www.cameronmcevoy.com/attorneys/patrick-j-mcdonald/
                                                                  147                                        Exhibit F - 017
                                                                                                                               1/2
8/17/2021 Case 2:21-cv-05832-GW-PD                   Document
                                                         Patrick J.11-4   Filed
                                                                    McDonald      08/17/21 PLLC
                                                                             - Cameron/McEvoy Page 148 of 161 Page ID
           Fairfax Bar Association                                  #:225
                                                    and the Arlington Bar Association, serving as a board member for
          Virginia Bar Association                  the Arlington Bar’s Young Lawyers Section. Mr. McDonald has
                                                     been selected as “Rising Star” by Thomson-Reuters’ SuperLawyers
       ////////////////////////
                                                     for 2019.
       Education
          J.D., George Mason University             Away from the office, Mr. McDonald likes to spend his free time
           School of Law, Cum Laude                  with his family and is an avid sports fan.
           – George Mason University Civil
             Rights Law Journal – Senior
             Notes Editor

          B.A., Princeton University                     Practice Focus


                                                             Complex Commercial                 Business Torts
                                                              Litigation
                                                                                                 Congressional Hearings &
                                                             Employment Law                      Investigations



                                                     Publications

                                                        Patrick J. McDonald, Cerqueira v. American Airlines: What are the
                                                         Appropriate Limits of an Air Carrier’s Permissive Refusal
                                                         Power?, 20 Geo. Mason U. Civ. Rts. L.J. 111 (2009)




https://www.cameronmcevoy.com/attorneys/patrick-j-mcdonald/
                                                                     148                                       Exhibit F - 018
                                                                                                                                 2/2
8/17/2021 Case 2:21-cv-05832-GW-PD                    Document   11-4
                                                          Daniel E.        Filed
                                                                    Ingersoll      08/17/21 PLLC
                                                                              - Cameron/McEvoy Page 149 of 161 Page ID
                                                                  #:226




        Daniel E. Ingersoll
        PARTNER


                                                      Daniel Ingersoll is a corporate and transactional business law
                                                      attorney. He represents businesses and the individuals behind
                                                      those businesses in all aspects of planning and operations.

                                                      Specifically, his practice expertise focuses on mergers and
                                                      acquisitions, capital raising (equity and debt structured
                                                      transactions), executive equity incentive compensation, business
                                                      entity formation and growth, business succession planning,
                                                      corporate partnering transactions, and all nature of general
                                                      corporate and tax law issues as arise in the operation of a
                                                      business. He brings particular expertise in sectors such as
            703-460-9356
             Email                                    government contracts, general and specialty trade construction,
         (mailto:dingersoll@cameronmcevoy.com)       technology, commercial consulting services, hospitality, and more.
                                                      Having worked with businesses of vastly disparate revenue sizes
        ////////////////////////
                                                      and in vastly different stages of the corporate life cycle, Mr.
        Recognition                                   Ingersoll seeks to take a wholistic view of the business and work
           2019, Virginia Super Lawyers –            together with its owners to achieve profitable and successful
            Rising Star – Mergers &
            Acquisitions                              outcomes.
           2019, Washington D.C. Super
            Lawyers – Rising Star – Mergers           Mr. Ingersoll has been named among Virginia’s Legal Elite in the
            & Acquisitions                            areas of Corporate Counsel and Business Law by Virginia Business
           2015, 2016, 2019 Virginia                 Magazine and has been recognized by his peers as a Super
            Business magazine, “Legal                 Lawyer in Mergers and Acquisitions in Virginia and Washington,
            Elite” – Corporate Counsel
                                                      D.C.. He received a Securities and Financial Regulation LLM degree
           2017, Virginia
            Business magazine, “Legal                 from Georgetown University, a Juris Doctorate legal degree from the
            Elite” – Business Law                     University of Richmond, and a Bachelor of Arts degree in English at
                                                      the University of Virginia.
        ////////////////////////

        Bar Admissions
           Virginia
           District of Columbia                          Practice Focus

        ////////////////////////
                                                             Corporate Law                      Tax Law
        Professional Activities
https://www.cameronmcevoy.com/attorneys/daniel-e-ingersoll/
                                                                     149                                       Exhibit F - 019
                                                                                                                                 1/2
8/17/2021 Case 2:21-cv-05832-GW-PD                    Document    11-4
                                                           Daniel E.        Filed
                                                                     Ingersoll      08/17/21 PLLC
                                                                               - Cameron/McEvoy Page 150 of 161 Page ID
           American Bar Association                               #:227
                                                         Mergers & Acquisitions                  Tax & Finance: Business

           Virginia State Bar Association
                                                              Securities
           Fairfax County Bar Association

        ////////////////////////

                                                      Publications
        Education
           LL.M., Securities Law,                       New Securities and Exchange Commission (SEC) Rules Open Up
            Georgetown University Law                     Crowdfunding Opportunities Amongst Accredited Investors ( July
            Center, 2014
                                                          24, 2013 )
           J.D., cum laude , University of
            Richmond, 2009
                                                         Traps and Concerns in Using Intentionally Defective Grantor
           B.A., University of Virginia,
                                                          Trusts ( August 23, 2012 )
            2003




https://www.cameronmcevoy.com/attorneys/daniel-e-ingersoll/
                                                                       150                                   Exhibit F - 020
                                                                                                                               2/2
8/17/2021 Case 2:21-cv-05832-GW-PD                 Document
                                                        Eric S.11-4
                                                               WaldmanFiled  08/17/21PLLC
                                                                       - Cameron/McEvoy Page 151 of 161 Page ID
                                                                #:228




       Eric S. Waldman
       PARTNER



                                                    During law school, Mr. Waldman served as an executive editor of
                                                    the Syracuse Science and Technology Law Reporter and judicial
                                                    extern for Judge Eugene H. Austin of the New Jersey Superior Court
                                                    in Bergen County.




                                                         Practice Focus


                                                            Commercial Litigation               Corporate Litigation
            (703) 460-9349
             Email                                          Banking & Debtor/Creditor           Real Estate Litigation
        (mailto:ewaldman@cameronmcevoy.com)                 Litigation
                                                                                                 Commercial Landlord-
       ////////////////////////                             Construction Litigation              Tenant Litigation

       Recognition


                                                    Practice Notes

                                                       Secured numerous favorable outcomes and settlements for a
                                                        client bank to recover amounts relating to delinquent loans
                                                        through litigation and the exercise of the bank’s security
                                                        interests.
           Super Lawyers Rising Star 2019-
            2020, Virginia and Washington,
                                                       Secured several favorable outcomes and settlements for a student
            D.C.
                                                        loan servicer client in defending claims by borrowers.
           Super Lawyers Rising Star 2013-
            2016, New York Metro
                                                       Successfully defended at trial a defamation lawsuit between
       ////////////////////////                         members of a non-profit association.

       Bar Admissions                                  Successfully defended private bank against a customer’s
           Virginia                                    unauthorized trading claims in a federal court bench trial.
           District of Columbia                        Represented one of the largest financial institutions in the U.S. in
           Maryland                                    dozens of banking and credit card disputes.
           New Jersey
           New York

https://www.cameronmcevoy.com/attorneys/eric-waldman/
                                                                     151                                        Exhibit F - 021
                                                                                                                                  1/2
8/17/2021 Case 2:21-cv-05832-GW-PD                 Document
                                                         Eric S.11-4
                                                                WaldmanFiled  08/17/21PLLC
                                                                        - Cameron/McEvoy Page 152 of 161 Page ID
          U.S. Court of Appeals, Fourth                         #:229
                                                    FINRA Arbitration award of $3.6 million to client investor relating

           Circuit                                      to options and swaps trading claims against broker-dealer.
          U.S. Court of Appeals, Second
           Circuit                                     Successfully defended magazine publisher in suit by former
          U.S. District Court, Eastern                 senior executive alleging breach of contract and demanding
           District of Virginia                         payment of severance compensation.
          U.S. District Court, District of
           Maryland                                    Secured favorable settlements for private bank in customer
          U.S. District Court, District of             arbitrations relating to trading losses incurred during the 2008
           Columbia                                     financial crisis.
          U.S. District Court, Southern
           District of New York                        Represented individuals and corporations in 28 U.S.C. § 1782
          U.S. District Court, Eastern                 applications to obtain discovery in aid of non-U.S. criminal and
           District of New York
                                                        civil proceedings.
          U.S. District Court, District of
           New Jersey
                                                    Publications
       ////////////////////////
                                                       Note, Going Straight: Whether P2P Technology Can Be Legitimized
       Professional Activities
                                                        in the Wake of the Grokster Decision, 15 SYRACUSE SCI. & TECH. L.
          Fairfax Bar Association                      REP. 1 (2006).
          Virginia Trial Lawyers
           Association

       ////////////////////////

       Education
          J.D., Syracuse University
           College of Law
           – Executive Editor, Syracuse
             Science and Technology Law
             Reporter

          B.A., George Washington
           University




https://www.cameronmcevoy.com/attorneys/eric-waldman/
                                                                    152                                      Exhibit F - 022
                                                                                                                               2/2
8/17/2021 Case 2:21-cv-05832-GW-PD                     Document
                                                           Richard11-4     Filed
                                                                  G. Cole III      08/17/21 PLLC
                                                                              - Cameron/McEvoy Page 153 of 161 Page ID
                                                                   #:230




        Richard G. Cole III
        ASSOCIATE


                                                       Rick Cole is an associate attorney, focusing his practice on the
                                                       areas of commercial litigation and banking & debtor/creditor
                                                       litigation.

                                                       Prior to joining Cameron/McEvoy, Rick served as a law clerk for the
                                                       Honorable David A. Oblon of the Fairfax Circuit Court, Virginia’s
                                                       busiest trial court. He earned his Juris Doctor from Antonin Scalia
                                                       Law School at George Mason University, where he was a member of
                                                       the George Mason Law Review. While in law school, Rick worked
                                                       for the U.S. Attorney’s Office, the U.S. Securities & Exchange
                                                       Commission, the Maryland Office of the Attorney General, the
            703-460-9354
             Email                                     Alexandria Commonwealth’s Attorney’s Office, as well as for
         (mailto:rcole@cameronmcevoy.com)             several private law firms specializing in business and real estate
                                                       litigation, landlord-tenant disputes, appellate practice, and
        ////////////////////////
                                                       personal injury.
        Bar Admissions
           Virginia
           Maryland
           District of Columbia                              Practice Focus
           United States Court of Appeals,
            Fourth Circuit
           United States District Court,
                                                                 Commercial Litigation
            Eastern District of Virginia                         Banking & Debtor/Creditor
           United States District Court,                         Litigation
            District of Maryland
           United States District Court,
            District of Columbia
                                                       Publications
        ////////////////////////
                                                       Comment, The Constitutional Insecurity of Secured Smartphones, 39
        Professional Activities                        Univ. of La Verne Law Rev. 173 (Spring 2018)

        ////////////////////////

        Education
           J.D., Antonin Scalia Law School
            at George Mason

https://www.cameronmcevoy.com/attorneys/richard-g-cole-iii/
                                                                          153                                 Exhibit F - 023
                                                                                                                                1/2
8/17/2021 Case 2:21-cv-05832-GW-PD                     Document
                                                           Richard11-4     Filed
                                                                  G. Cole III      08/17/21 PLLC
                                                                              - Cameron/McEvoy Page 154 of 161 Page ID
           B.A., Dickinson College                                #:231




https://www.cameronmcevoy.com/attorneys/richard-g-cole-iii/
                                                                    154                                   Exhibit F - 024
                                                                                                                            2/2
8/17/2021 Case 2:21-cv-05832-GW-PD                  Document
                                                         William11-4
                                                                 E. EvansFiled  08/17/21PLLC
                                                                          - Cameron/McEvoy Page 155 of 161 Page ID
                                                                 #:232




       William E. Evans
       ASSOCIATE


                                                     William (“Will”) Evans is a litigator and trial attorney who
                                                     represents clients in a wide range of civil matters, both in and out
                                                     of court.

                                                     Mr. Evans helps his clients protect their rights and find solutions in
                                                     difficult situations. He regularly advises on and litigates disputes
                                                     involving contracts, business torts (such as breach of fiduciary
                                                     duty and fraud), real estate, commercial lending, creditors’ rights
                                                     (including adversary proceedings in bankruptcy), insurance
                                                     coverage, and employment.

            703-460-9358
                                                     Mr. Evans represents clients in state and federal court, including
             Email
        (mailto:wevans@cameronmcevoy.com)           bankruptcy court and appellate proceedings, as well as in
                                                     alternative dispute resolution (such as mediation and arbitration).
       ////////////////////////
                                                     He has tried numerous civil cases, including both jury and bench
       Bar Admissions                                trials.
           Virginia
           District of Columbia                     Prior to joining Cameron McEvoy in October 2020, Mr. Evans was an
           U.S. District Court, Eastern             attorney at an AmLaw 100 law firm, where he represented clients
            District of Virginia                     that included publicly-traded and Fortune 500 companies.
           U.S. Bankruptcy Court, Eastern
            District of Virginia
           U.S. Court of Appeals, District of
            Columbia Circuit                               Practice Focus
           U.S. Court of Appeals, Second
            Circuit
           U.S. Court of Appeals, Fourth                     Commercial Litigation            Banking & Debtor/Creditor
            Circuit                                                                              Litigation
                                                              Corporate Litigation
       ////////////////////////                                                                 Labor and Employment
                                                              Construction Litigation           Disputes
       Professional Activities
           Virginia State Bar Association
           Fairfax County Bar Association
                                                     Practice Notes
       ////////////////////////



https://www.cameronmcevoy.com/attorneys/william-e-evans/
                                                                       155                                   Exhibit F - 025
                                                                                                                               1/3
8/17/2021 Case 2:21-cv-05832-GW-PD                  Document
                                                          William11-4
                                                                  E. EvansFiled  08/17/21PLLC
                                                                           - Cameron/McEvoy Page 156 of 161 Page ID
       Education                                                  #:233
                                                     Represented businesses in a variety of commercial disputes,

          J.D., Georgetown University Law               including breach of contract and business torts (such as breach of
           Center                                        fiduciary duty and fraud), and obtained favorable verdicts and
           – The Tax Lawyer, Executive                   out-of-court settlements.
            Editor
                                                        Represented residential and commercial property owners in
          B.S., Duke University
                                                         construction disputes with contractors and architects and in
                                                         disputes over ownership rights to real properties.

                                                        Represented banks in a variety of matters, including enforcing
                                                         the bank’s rights in collateral and defending against contract and
                                                         tort claims asserted by borrowers.

                                                        Represented employers in a variety of employment disputes
                                                         including claims under the ADA, FLSA, FMLA, and state law.

                                                        Defended and advanced claims arising in connection with
                                                         corporate mergers.

                                                        Represented investors, owners, and developers of Low Income
                                                         Housing Tax Credit projects in a variety of disputes, including
                                                         disputes related to financial misconduct, ownership rights to the
                                                         projects, and contractual rights among the parties.

                                                        Represented owners of a small business accused of misconduct
                                                         by another owner and negotiated their departure from the
                                                         company without litigation.

                                                        Represented a local business in asserting claims under state law
                                                         and ERISA against former corporate officers and ESOP trustees
                                                         that resulted in a favorable settlement.

                                                        Obtained settlement of a personal injury lawsuit against a local
                                                         business and obtained substantial settlement contributions from
                                                         an insurance company that repeatedly denied coverage and a
                                                         property management company that denied responsibility.

                                                        Represented the owner of a power plant in federal court and
                                                         before FERC in connection with the failure of a state agency to act
                                                         on permit requests for a natural gas pipeline, ultimately allowing
                                                         construction of the pipeline to proceed. Millennium Pipeline Co.,
                                                         LLC v. Seggos, 860 F.3d 696 (D.C. Cir. 2017).

                                                        Obtained judgment in favor of an investment bank for both its
                                                         fees owed in connection with a commercial transaction and its
https://www.cameronmcevoy.com/attorneys/william-e-evans/
                                                                     156                                      Exhibit F - 026
                                                                                                                                2/3
8/17/2021 Case 2:21-cv-05832-GW-PD                  Document
                                                          William11-4
                                                                  E. EvansFiled  08/17/21PLLC
                                                                           - Cameron/McEvoy Page 157 of 161 Page ID
                                                                  #:234
                                                     attorneys’ fees incurred in obtaining the judgment. Seale &
                                                         Associates, Inc. v. Ingersoll-Rand Co., 2016 WL 4435083 (E.D. Va.
                                                         Aug. 16, 2016).

                                                        Successfully defended a title insurer in state supreme court on an
                                                         issue of first impression. REVI, LLC v. Chicago Title Ins. Co., 290
                                                         Va. 203, 776 S.E.2d 808 (2015).


                                                     Publications

                                                        “Practitioners Beware: Pitfalls Created by Virginia’s New Business
                                                         Records Statute,” Virginia Lawyer Magazine (the official
                                                         publication of the Virginia State Bar), August 2015




https://www.cameronmcevoy.com/attorneys/william-e-evans/
                                                                     157                                      Exhibit F - 027
                                                                                                                                3/3
8/17/2021 Case 2:21-cv-05832-GW-PD                 Document    11-4
                                                       Kathryn G.      Filed
                                                                  Humphrey     08/17/21 PLLC
                                                                           - Cameron/McEvoy Page 158 of 161 Page ID
                                                                 #:235




       Kathryn G. Humphrey
       ASSOCIATE


                                                    Kathryn Humphrey is a skilled and dedicated trial attorney.
                                                    Kathryn has spent her career advocating for others in the
                                                    courtroom. She brings her extensive courtroom and advocacy
                                                    experience to Cameron/McEvoy’s litigation practice.

                                                    Prior to joining the firm, Kathryn was a prosecutor in both Fairfax
                                                    County, Virginia and Anne Arundel County, Maryland. Kathryn
                                                    managed a high-volume felony caseload with a focus on adult and
                                                    child sexual abuse. Kathryn’s trial experience includes over two
                                                    hundred bench trials and eighteen jury trials. Additionally, Kathryn
                                                    served as a law clerk for the Honorable H. James West on the Circuit
            703-460-9359
             Email                                  Court of Charles County, Maryland. While clerking, Kathryn
        (mailto:khumphrey@cameronmcevoy.com)       learned how judges evaluate a case during motions and trial, a
                                                    powerful strategic skill.
       ////////////////////////

       Bar Admissions                               Kathryn attended Washington and Lee University, School of Law.
           Virginia                                While in law school, Kathryn clerked for the U.S. Attorney’s Office
           Maryland                                for the Western District of Virginia and for the Honorable Shirley M.
                                                    Watts, currently a justice on Maryland’s highest court. Prior to law
       ////////////////////////
                                                    school, Kathryn graduated cum laude from Bucknell University
       Professional Activities                      with a double major in international relations and geography and a
           Virginia State Bar Association          Spanish minor. She is admitted to practice in both Virginia and
           Fairfax Bar Association                 Maryland.
       ////////////////////////

       Education
           JD, Washington & Lee                        Practice Focus
            University School of Law
           BA, Bucknell University
                                                           Commercial Litigation

                                                           Banking & Debtor/Creditor
                                                            Litigation




https://www.cameronmcevoy.com/attorneys/kathryn-g-humphrey/
                                                                    158                                    Exhibit F - 028
                                                                                                                             1/1
8/17/2021 Case 2:21-cv-05832-GW-PD                      Document   11-4
                                                              Ithi H. Joshi - Filed 08/17/21
                                                                              Cameron/McEvoy PLLCPage 159 of 161 Page ID
                                                                    #:236




        Ithi H. Joshi
        ASSOCIATE


                                                        Ithi Joshi is an associate attorney with a specialization in
                                                        corporate, transactional, and employment law. She represents and
                                                        serves entrepreneurs and businesses in all phases of formation,
                                                        operations, and growth. Prior to joining Cameron McEvoy, Ms.
                                                        Joshi was an attorney with a national law firm specializing in M&A
                                                        transactions. She is multilingual and a Northern Virginia native.




                                                           Practice Focus


                                                              Corporate Law

                                                              Mergers & Acquisitions
            703-460-9357
             Email                                            Employment Law
         (mailto:ijoshi@cameronmcevoy.com)


        ////////////////////////

        Bar Admissions

        Virginia

        ////////////////////////

        Professional Activities
           Virginia Bar Association,
            Development Editor of Opening
            Statement (YLD Newsletter)
           Fairfax Bar Assocation
           South Asian Bar Association –
            DC

        ////////////////////////

        Education
           JD, Temple University
           BA, University of Virginia


https://www.cameronmcevoy.com/attorneys/ithi-h-joshi/
                                                                       159                                      Exhibit F - 029
                                                                                                                                  1/1
8/17/2021 Case 2:21-cv-05832-GW-PD                    Document
                                                           John 11-4
                                                                P. Dedon Filed  08/17/21PLLCPage 160 of 161 Page ID
                                                                         - Cameron/McEvoy
                                                                 #:237




       John P. Dedon
       OF COUNSEL


                                                      John P. Dedon is a tax lawyer with a talent for explaining the
                                                      complexities of tax law in lay terms. Working in the estate
                                                      planning, asset protection and business areas for more than 35
                                                      years, John helps clients preserve assets and plan for the future
                                                      with traditional planning tools, including Trusts (dynasty trusts,
                                                      intentionally defective trusts, grantor retained annuity trusts), LLC
                                                      and partnership entities, and cutting- edge concepts such as
                                                      cryonic preservation trusts. John also works extensively in the
                                                      charitable area, creating public and private charities, remainder
                                                      and lead trusts, supporting organizations, and churches.
           703-460-9351
            Email                                     John has been quoted extensively in newspapers throughout the
        (mailto:jdedon@cameronmcevoy.com)            country, including the Wall Street Journal, Washington Post, and
                                                      Chicago Tribune. He has written numerous articles for professional
       ////////////////////////
                                                      journals and publications on tax issues and speaks on tax matters
       Recognition                                    and wealth preservation issues for health care providers, certified
       Fellow of the American College of              public accountants, lawyers, financial planners, and the public. He
       Trust and Estate Counsel (ACTEC)               is also the author of the blog, Dedon on Estate Planning, a

       Martindale-Hubbell AV                          regularly updated discussion of estate planning topics affecting
       Rating/Top Rated Estate and                    Virginia residents and U.S. citizens.
       Taxation Lawyer
                                                      Visit John’s blog at DedonOnEstatePlanning.com
       Consecutive years named
       Washingtonian Best Lawyers;                    (http://DedonOnEstatePlanning.com)
       Best Lawyers in America® for                   .
       Trusts and Estates;
       Washingtonian Magazine’s Top
       Wealth/Financial Advisor; Top
       Lawyer and Top Financial
       Professional by Northern Virginia                  Practice Focus
       Magazine

                                                             Estate Planning                    Asset Protection

                                                             Tax Planning and                   Corporate and Business
                                                              Controversy                         Planning

                                                             Wealth Preservation
https://www.cameronmcevoy.com/attorneys/john-dedon/
                                                                      160                                      Exhibit F - 030
                                                                                                                                 1/2
8/17/2021 Case 2:21-cv-05832-GW-PD                    Document
                                                            John 11-4
                                                                 P. Dedon Filed  08/17/21PLLCPage 161 of 161 Page ID
                                                                          - Cameron/McEvoy
                                                                  #:238
                                                      Publications

                                                         Preserving Assets in Trusts for Clients Considering Cyronics,
                                                          Estate Planning magazine, August 2018

                                                         The “Simple” Private Foundation – Changing One Life at a Time,
       ////////////////////////
                                                          Estate Planning magazine, May 2018
       Bar Admissions
          Virginia                                      Cautionary Guidance for Operating a Private Foundation, Estate
          U.S. Tax Court                                 Planning magazine (2016)
          U.S. Claims Court
                                                         Integrating Income Taxes in Modern Estate Planning Decisions—
          U.S. District Court, Eastern
           District of Virginia                           A Case Study, Tax Management Estate, Gifts and Trusts
                                                          Journal (2016)
       ////////////////////////
                                                         Attorney Advises Medical Professionals on Estate Planning (2016)
       Professional Activities
          Fairfax Bar Association
          Virginia Bar Association                   Presentations
          Board, Member
                                                         Essentials of Estate Planning: Is There a Paradigm Shift, Loudoun
       ////////////////////////                           County Bar, Oct. 2017

       Education                                         Which Dragon Do We Slay? The Interplay of Income Tax planning
          LL.M., Taxation, Georgetown                    and Drafting Wills and Trusts, Virginia Bar Association, July 2017
           University Law Center
          J.D., New England School of                   Estate Planning Issues and Concerns, Fairfax County Bar, May
           Law (Cum Laude)                                2017
          B.A., The George Washington
           University, with Honors                       Estate Planning Issues and Solutions, Cypress International, July
                                                          2016




https://www.cameronmcevoy.com/attorneys/john-dedon/
                                                                     161                                      Exhibit F - 031
                                                                                                                                2/2
